                   Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.51 Page 1 of 182




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                        Jarod Bona, David Codell, Aaron Gott,
                      8 Luke Hasskamp, and Luis Blanquez
                      9                                  UNITED STATES DISTRICT COURT
                     10                             SOUTHERN DISTRICT OF CALIFORNIA
                     11
                     12 BRIAN P. MANOOKIAN,                               Case No. 21CV0562 WQH BLM
                     13                     Plaintiff,                    REQUEST FOR JUDICIAL
                                                                          NOTICE IN SUPPORT OF
                     14            vs.                                    DEFENDANTS’ MOTION TO
                                                                          DISMISS
                     15 BONA LAW P.C., JAROD BONA,
                        DAVID CODELL, AARON GOTT,                         FED RULES CIV. P. R. 12(b)(6)
                     16 LUKE HAASKAMP, AND LUIZ
                        BLANQUEZ;
                     17                                                   Date: July 19, 2021
                                           Defendants.                    Hon. Judge William Q. Hayes
                     18
                                                                          “NO ORAL ARGUMENT UNLESS
                     19                                                   REQUESTED BY THE COURT”
                     20
                     21            TO THE HONORABLE COURT, PLAINTIFFS HEREIN, AND THEIR
                     22 RESPECTIVE COUNSEL OF RECORD:
                     23            PLEASE TAKE NOTICE that pursuant to Fed. R. Evid. 201, Defendants
                     24 BONA LAW P.C., JAROD BONA, DAVID CODELL, AARON GOTT, LUKE
                     25 HASSKAMP, AND LUIS BLANQUEZ (“Defendants”) hereby request that the Court
                     26 take judicial notice of the following documents, attached as Exhibits 1 through 17, in
                     27 support of Defendant’s Motion to Dismiss:

LEWIS                28 /4824-7373-1310.1
                           //
BRISBOIS
BISGAARD                                                              1                  Case No. 21CV0562 WQH BLM
& SMITH LLP                        REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
ATTORNEYS AT LAW
                   Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.52 Page 2 of 182




                      1                              EXHIBITS FOR JUDICIAL NOTICE
                      2            1.        Attorney Disciplinary History by Tennessee Supreme Court Board of
                      3                      Professional Responsibility for attorney Brian Manookian
                      4                      BPR No. 0264553
                      5            2.        Order of Temporary Suspension filed Sept. 21, 2018
                      6                      Tennessee Supreme Court No. M2018-01711-SC-BAR-BP
                      7            3.        Order Denying First Verified Petition dated Nov. 21, 2018,
                      8                      Tennessee Supreme Court No. M2018-01711-SC-BAR-BP
                      9                      Published Report and Recommendation dated Nov. 21, 2018
                     10            4.        Order Denying Second Petition filed Feb. 27, 2019
                     11                      Tennessee Supreme Court No. M2018-01711-SC-BAR-BP
                     12            5.        Order Dissolving Temporary Suspension dated May 17, 2019
                     13                      Tennessee Supreme Court No. M2019-00630-SC-BAR-BP
                     14            6.        Order of Temporary Suspension filed Oct. 11, 2019
                     15                      Tennessee Supreme Court No. M2019-00630-SC-BAR-BP
                     16            7.        Order of Temporary Suspension filed Oct. 17, 2019
                     17                      Tennessee Supreme Court No. M2018-00630-SC-BAR-BP
                     18            8.        Manookian’s Complaint against Tennessee State Bar filed by Bona
                     19                      Law on April 29, 2019
                     20                      Case No. 3:19-cv-00350 (M.D. Tenn.)
                     21            9.        Manookian’s Complaint against Bona Law filed March 30, 2021
                     22                      Case No. 3:21-cv-00562 (S.D. Calif.)
                     23            10.       Manookian’s Opposition to the Motion to Dismiss filed by Bona Law
                     24                      Case No. 3:19-cv-00350 (M.D. Tenn.)
                     25            11.       Federal District Court Order filed February 28, 2020 with
                     26                      Memorandum, Case No. 3:19-cv-00350 (M.D. Tenn.)
                     27            12.       Federal District Court Order filed September 4, 2020

LEWIS                28                      Case No. 3:19-cv-00350 (M.D. Tenn.)
BRISBOIS
BISGAARD
                          4824-7373-1310.1                               2                Case No. 21CV0562 WQH BLM
& SMITH LLP                         REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
ATTORNEYS AT LAW
                   Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.53 Page 3 of 182




                      1            13.       Manookian’s Motion for Entry of Judgment filed by Bona Law on
                      2                      March 30, 2020, Case No. 3:19-cv-00350 (M.D. Tenn.)
                      3            14.       United States Court of Appeals for the Sixth Circuit
                      4                      Order filed September 10, 2020, Case No. 20-5979 (6th Cir.)
                      5            15.       Manookian’s Response to Order to Show Cause filed by Bona Law on
                      6                      October 1, 2020, Case No. 20-5979 (6th Cir.)
                      7            16.       United States Court of Appeals Order filed January 5, 2021
                      8                      Case No. 20-5979 (6th Cir.)
                      9            17.       Select Actions, Court of Appeals for Sixth Circuit, Case No. 20-5979
                     10                      (6th Cir.)
                     11                      Docket Entries, United States District Court,
                     12                      Middle District of Tennessee, Case No. 3:19-cv-00350 (M.D. Tenn.)
                     13
                     14
                     15 DATED: June 14, 2021                        LEWIS BRISBOIS BISGAARD & SMITH LLP
                     16
                     17
                                                                    By:          /s/ Brian Slome
                     18
                                                                           Brian Slome
                     19                                                    Kenneth C. Feldman
                     20                                                    Attorneys for Defendants, Bona Law P.C.,
                                                                           Jarod Bona, David Codell, Aaron Gott,
                     21                                                    Luke Hasskamp, And Luis Blanquez
                     22
                     23
                     24
                     25
                     26
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LEWIS                28
BRISBOIS
BISGAARD
                          4824-7373-1310.1                                 3              Case No. 21CV0562 WQH BLM
& SMITH LLP                         REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
ATTORNEYS AT LAW
Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.54 Page 4 of 182




                            EXHIBIT “1”
Board of Professional Responsibility                                                                                                                         Ex. 1
                    Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.55 Page 5 of 182
                                                                                                                                                               001
                                                                                                                                                        ATTORNEY LOGIN 


                              Board of Professional Responsibility
                              of the Supreme Court of Tennessee
                                                                                                                               Search
                                                                                                                               Search



                              ABOUT THE BOARD               FOR THE PUBLIC                   FOR LEGAL PROFESSIONALS                  NEWS & PUBLICATIONS



              Attorney Details
              Name:
              Manookian, Brian Philip

              Address:
              PO Box 150229
              Nashville, TN 37215-0229

              BPR Number:
              026455

              Status:
              Suspended (10/11/2019)

              Office County:
              Davidson

              Licensed in TN Since:
              2007

              Law School:
              Vanderbilt University - Vanderbilt Law School


              Public Information:
              No Public Information Available


              Informational Releases for Public Discipline:
              Date                                                                            Title

              08/06/2020                                                                      Third Supplemental Petition for Discipline filed - #2017-2805-5-WM

              10/11/2019                                                                      Order Reinstating Temporary Suspension

              10/11/2019                                                                      Davidson County Lawyer Temporarily Suspended

              05/24/2019                                                                      Second Supplemental Petition for Discipline filed - #2107-2805-5-WM

              05/17/2019                                                                      Reinstated

              05/17/2019                                                                      Davidson County Lawyer Reinstated

              11/21/2018                                                                      Davidson County Lawyer Remains On Temporary Suspension

              09/21/2018                                                                      Order of Temporary Suspension

              09/21/2018                                                                      Davidson County Lawyer Temporarily Suspended

              03/22/2018                                                                      Supplemental Petition for Discipline filed - #2107-2805-5-WM

              12/18/2017                                                                      Petition for Discipline filed - #2017-2805-5-WM



              Names Used:



https://www.tbpr.org/attorneys/B8BDE691-45B2-E411-80D5-0050568F14C6[6/14/2021 10:26:17 AM]
Board of Professional Responsibility
                    Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.56 Page 6 of 182
                                                                                                                                                                 Ex. 1
              Name                                                                                                                                              002
              Brian Philip Manookian



              * Information accurate as of Monday, June 14, 2021 12:00 PM UTC




              ABOUT THE BOARD                             Mission Statement
              FOR THE PUBLIC
                                                          To assist the Court in protecting the public from harm from unethical lawyers by administering the disciplinary
              FOR LEGAL                                   process; to assist the public by providing information about the judicial system and the disciplinary system for
              PROFESSIONALS                               lawyers; and, to assist lawyers by interpreting and applying the Court's disciplinary rules.

              NEWS & PUBLICATIONS

              LINKS OF INTERESTS




              © 2021 Board of Professional Responsibility of the Supreme Court of Tennessee.                                                            PRIVACY STATEMENT
                                                                                                                                                                    DISCLAIMER




https://www.tbpr.org/attorneys/B8BDE691-45B2-E411-80D5-0050568F14C6[6/14/2021 10:26:17 AM]
Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.57 Page 7 of 182




                            EXHIBIT “2”
Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.58 Page 8 of 182
                                                                                    Ex. 2
                                                                                    003
                                                                                         FILED
                                                                                        09/21/2018
                  IN THE SUPREME COURT OF TENNESSEE                                       Clerk of the

                             AT NASHVILLE                                               Appellate Courts




              IN RE: BRIAN PHILLIP MANOOKIAN, BPR #026455
                   An Attorney Licensed to Practice Law in Tennessee
                                  (Davidson County)
                              ______________________

                             No. M2018-01711-SC-BAR-BP
                            BOPR No. 2018-2914-5-WM-12.3
                               ______________________

                      ORDER OF TEMPORARY SUSPENSION

        This matter is before the Court on a Petition of the Board of Professional
 Responsibility of the Supreme Court of Tennessee, by and through Disciplinary Counsel,
 for the temporary suspension of Brian Phillip Manookian from the practice of law,
 pursuant to Tenn. Sup. Ct. R. 9, § 12.3. The Petition has been authorized by the Chair of
 the Board of Professional Responsibility and is supported by the exhibits attached
 thereto.

        Based upon the Petition and the supporting exhibits, the Court finds that Brian
 Phillip Manookian, Respondent, poses a threat of substantial harm to the public as
 detailed by the exhibits to the Petition.

     IT IS THEREFORE, CONSIDERED,                    ORDERED,       ADJUDGED        AND
 DECREED BY THE COURT THAT:

        1.      Brian Phillip Manookian is hereby temporarily suspended from the
 practice of law as provided in Tenn. Sup. Ct. R. 9, § 12.3.

        2.      Brian Phillip Manookian shall comply with Tenn. Sup. Ct. R. 9 in all
 respects and particularly as provided in Tenn. Sup. Ct. R. 9, § 28, regarding the
 responsibilities of suspended attorneys.

       3.      Brian Phillip Manookian may make application for dissolution or
 modification of this Order as provided in Tenn. Sup. Ct. R. 9, § 12.3.

        4.    The Board of Professional Responsibility shall cause notice of this
 suspension of Brian Phillip Manookian to be published as required by Tenn. Sup. Ct. R.
 9, § 28.11.

                                             PER CURIAM

                                        Exhibit 2                         EXHIBIT 1
    Case 3:19-cv-00350 Document 24-1 Filed 06/11/19 Page 1 of 1 PageID #: 168
Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.59 Page 9 of 182




                            EXHIBIT “3”
Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.60 Page 10Ex.  3
                                                                         of 182
                                                                                     004
                                                                                          FILED
                                                                                         11/21/2018
                   IN THE SUPREME COURT OF TENNESSEE                                       Clerk of the

                              AT NASHVILLE                                               Appellate Courts




               IN RE: BRIAN PHILLIP MANOOKIAN, BPR #026455
                    An Attorney Licensed to Practice Law in Tennessee
                                   (Davidson County)
                               ______________________

                             No. M2018-01711-SC-BAR-BP
                             BOPR No. 2018-2914-5-WM-12.3
                                 ______________________

         ORDER DENYING VERIFIED PETITION FOR DISSOLUTION OR
           AMENDMENT OF ORDER OF TEMPORARY SUSPENSION

         On September 21, 2018, this Court entered an Order of Temporary Suspension
  pursuant to Tenn. Sup. Ct. R. 9, § 12.3, suspending the law license of Brian Phillip
  Manookian for posing a threat of substantial harm to the public. On September 28, 2018,
  Mr. Manookian filed a Verified Petition for Dissolution or Amendment of Order of
  Temporary Suspension. On October 2, 2018, Mr. Manookian filed his Petition-Motion
  for Instanter Ruling Regarding the Procedural Defects of the Tennessee Board of
  Professional Responsibility’s Petition for Temporary Suspension. On October 4, 2018,
  the Board filed a Response to Petition for Dissolution. On October 5, 2018, Mr.
  Manookian filed his Reply to Petitioner’s Response to Respondent’s Petition for
  Dissolution or Amendment of Order of Temporary Suspension. On October 5, 2018, the
  Board filed its Response to Petition-Motion for Instanter Ruling and Hearing and the
  Declaration of Phillip North. On October 16, 2018, Mr. Manookian filed his Amended
  and Restated Petition-Motion, and Memorandum of Law in Support thereof, for Instanter
  Ruling Pursuant to Tennessee Rule of Appellate Procedure 22(b) and the Declaration of
  John P. Konvalinka. On October 17, 2018, this Court entered its Order directing the
  Board to file a supplemental declaration under penalty of perjury and staying the thirty-
  day requirement imposed pursuant to Tenn. Sup. Ct. R. 9, § 12.3(c). On October 23,
  2018, the Board filed its Response to Amended and Restated Petition-Motion for
  Instanter Ruling and the Supplemental Declaration of Phillip North. On October 31,
  2018, Mr. Manookian filed his Reply to the Board of Professional Responsibility’s
  Response to Amended and Restated Petition-Motion for Instanter Ruling. On November
  1, 2018, this Court entered an Order denying Mr. Manookian’s Amended Motion for
  Instanter Ruling and the Board’s request to lift the stay entered on October 17, 2018. On
  October 11 and 19, 2018, a hearing was held before a three-member panel of the Board of
  Professional Responsibility. On November 7, 2018, the Panel entered its Report and
  Recommendation finding Mr. Manookian failed to establish good cause to dissolve the
  temporary suspension. A copy of the Report and Recommendation is attached hereto and
  incorporated herein by reference.

                                           Exhibit 3                       EXHIBIT 5
    Case 3:19-cv-00350 Document 24-5 Filed 06/11/19 Page 1 of 14 PageID #: 213
Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.61 Page 11 of 182
                                                                                      Ex. 3
                                                                                     005


      IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED BY THE
  COURT THAT:

         1.     The Report and Recommendation of the panel is approved as the Court’s
  Order, and the Verified Petition for Dissolution or Amendment of Order of Temporary
  Suspension filed on September 21, 2018, is denied.

         2.     Mr. Manookian shall remain temporarily suspended from the practice of
  law as provided in Tenn. Sup. Ct. R. 9, § 12.3.

         3.      The stay of the thirty-day requirement imposed pursuant to Tenn. Sup. Ct.
  R. 9, § 12.3(c), contained in this Court’s Order of October 17, 2018, is dissolved and,
  effective ten days after entry of this Order, Mr. Manookian shall cease representing
  existing clients.

         4.      Mr. Manookian shall comply with Tenn. Sup. Ct. R. 9 in all respects and
  particularly as provided in Tenn. Sup. Ct. R. 9, § 28.

           5.   Pursuant to Tenn. Sup. Ct. R. 9, § 28.1, this Order shall be effective upon
  entry.

         6.   Taxing of costs pursuant to Tenn. Sup. Ct. R. 9, § 31.3(d), is reserved
  pending submission of a Panel Judgment on the Board’s Application for Assessment of
  Costs.

         7.      The Board of Professional Responsibility shall cause notice of this
  discipline to be published as required by Tenn. Sup. Ct. R. 9, § 28.11.



                                              PER CURIAM




                                         Exhibit 3

    Case 3:19-cv-00350 Document 24-5 Filed 06/11/19 Page 2 of 14 PageID #: 214
Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.62 Page 12Ex. 3
                                                                         of 182
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                                                                                                         , FILED
                                                                                                           11/21/2018

                          IN THE SUPREME COURT OF TENNESSEE
                                     AT NASHVILLE
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    IN RE: BRIAN PHILLIP MANOOKIAN
           BPR #026455
           An Attorney Licensed to
                                                   M2018-0l 71 l-SC-BAR-BP .. . .
                                                   BOPR No. 2018-2914-5-WM-12.3
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           Practice Law in Te nnessee
           (Davidson County)


                            REPORT AND RECOMMENDATION

         This matter came to be heard on October 11 and October 19, 2018
   before a panel designated by the Board of Professional Responsibility to hear
   the Petition of Brian Phillip Manookian for dissolution or amendment of an Order
   of Temporary Suspension. The panel members were Dana Dye, John Kitch, and
   Joe Looney.
                                    Procedural History
         Disciplinary Coun sel for the Board of Professional Responsibility filed a
   Petition for Temporary Suspension of Mr. Manookian's license to practice law on
   September 19, 20 18 with ten ( 10) attached exhibits. Based on the Petition and
   attachments, the Supreme Court entered an Order temporarily suspending Mr.
   Manookian from the practice of law on September 21, 2018. Mr. Manookian's
   Petition for dissolution or amendment of the Order of Temporary Suspension was
   filed on September 28, 2018 and a Response was filed by the Board on October
   4, 2018. Mr. Manookian filed a Reply to the Response on October 5, 2018 and
   on October 16, 2018 filed an Amended Petition for Dissolution. On October 17,
   2018, the Supreme Court entered an Order requiring the Board to file a
   supplementa l declaration under penalty of perjury in compliance with Supreme
   Court Rule 9, Section 12.3(a) and stayed the thirty-day ~equirement imposed
   upon Mr. Manookian pursuant to Rule 9, Section 12.3 (c) as it pertains to existing
   clients, pending further orders of the Court.



                                             1


                                                                  Exhibit A
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                                                                                         Ex. 3
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                                                                                    007


                          Supreme Court Rule 9, Section l 2.3(d)


           The procedu re for hearing a Petition for dissolution or amendm ent is set
    out in Section 12.3 (d) of Rule 9.

           (d} The attorney may for good cause request dissolution or amendment of
          any such order of temporary suspension by filing in the Nashville office of
          the Clerk of the Supreme Court and serving on Disciplinary Counsel a
          Petition for Dissolution or Amendm ent. Such petition for dissolution shall be
          set for immedia te hearing before the Board or a panel. The Board or
          panel shall hear such petition forthwith and file its report and
          recomm endatio n to the Supreme Court with the utmost speed consistent
          with due process. There shall be no petition for rehearing. Upon receipt
          of the foregoin g report, the Court may modify its order if appropr iate or
          continue such provision of the order as may be appropr iate until final
          disposition of all pending disciplinary charges against said attorney,
          (emphasis added)

           The parame ters of the panel's authorit y are contain ed in subsection (d).
   In his original Petition for Dissolution or Amendm ent, Mr. Manook ian raised a
   number of procedu ral issues and sought to present proof that the Order of
   Temporary Suspension was fmprovidently granted and should be set aside.
   Respectfully, the panel has no authorit y to go behind the Order of Temporary
   Suspension either to determi ne whether the granting of the Order violated
   procedu ral due process or to re-exam ine whether Mr. Manook ian posed a
   "threat of substantial harm to the public" at the time the Order was granted .
   These are issues entirely within the purview of the Supreme Court. The role of this
   panel is not to second-guess the Court's determi nation.
        Rather, the panel's role is limited to assessing whether Mr. Manook ian has
   shown good cause for dissolution or amendm ent of the Order of Temporary
   Suspension. Thus, the burden of proof is on Mr. Manook ian to demons trate that
   he does not now pose a threat of substantial harm to the public and to show
   good cause why the Panel should recomm end that the Order be dissolved or



                                            2


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                                                                                    008
                                                                                    Ex. 3


    modified . At a Section 12.3(d) hearing, the burden is not on the Board to prove
    that the Order should stand.


                               Proof Elicited at the Hearings


          On Octobe r 11, 2018, the panel heard sworn testimony from Brian
    Manook ian, Davidson County Circuit Judge Hamilton Gayden , and Phillip North.
    Fourteen ( 14) exhibits were admitte d into the hearing record.


          Mr. Manook ian testified that he was licensed to practice law in Tennessee
   in 2007. He is half of a two-atto rney firm which employs two paralegals. His
   cases are primarily plaintiff medica l malprac tice and most are taken on a
   conting ency fee basis. (TR Vol. l: 38-40) Mr. Manook ian has had disciplinary
   complai nts in the past which were dismissed and currently has two active
   Petitions for Discipline pending . (TR Vol. 1: 41, 80-81)


        Addressing the allegations contain ed in the Petition for Temporary
   Suspension, with regard to the Chase case referenc ed in the Board's Petition
   (Exhibit 1 to the Petition), Mr. Manook ian maintains that he did nothing wrong,
   that prior BPR complaints related to the case were dismissed, and that he will be
   appeali ng the final order in that case which was entered in Septem ber after
   affidavits for attorneys' fees were submitted. (TR Vol. 1: 47-48) He disputes that
   Judge Binkley's findings regarding "a knowing, willful, and intentional course of
   conduc t to deceive and defraud this Court... and to gain personal advanta ge"
   should be considered in determining whether he poses a threat of substantial
   harm to the public. (TR Vol.1: 93-94)


         With regard to his zealous pursuit of a Motion for Default in the Shao case
   on the day tl,at his opposing counsel died (Exhibit 2 to the Petition), Mr.


                                            3



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                                                                                     009
                                                                                      Ex. 3

    Manookia n disputes and dismisses out of hand the reprimand of the trial judge,
    pointing out that another trial judge in a separate case involving the same
   attorney had declined to reprimand him for the same conduct, i.e. actively
   seeking a default judgmen t on the day of opposing counsel's death. (TR Vol. 1:
   111, 127)


       Mr. Manookia n testified that he had no problems with anger or with anger
   managem ent. He admitted that there were times when he had lost his temper
   but he felt that such losses of temper were justified by the circums1'ances. (TR
   Vol. 1:55) With regard to his email to opposing counsel, C.J. Gideon, (Exhibit 3 to
   the Petition), Mr. Manookian testified that he was only trying to be supportive of
   Mr. Gideon's daughter in her new job. He testified that he did not recall the
   substance of the trial judge's ruling in imposing sanctions related to the email
   communi cation other than 1 do recall him calling me a gangster." (TR Vol. l:
                               11




   66) [In fact, the trial court went to some pains to explain the threat and
   intimidation implicit in revealing to an opposing attorney unsolicited detailed
   personal information about the attorney's family members.] Upon cross-
   examination, Mr. Manookia n admitted that parts of the email might be
   inapprop riate but contende d that the email as a whole could not reasonably
   be considered threatening. (TR Vol. 1: 81-82) The email communi cation is as
   follows:


         Clarence,

         I hear [Mr. Gideon's daughter ] is working at [name of company ]. What a
         fantastic opportuni ty; particular ly given her history of academi c failure
         and alcohol and substanc e abuse.

         I happen to have some very close friends at (name of company ).

         I will make it a point to see what I can do regarding her prospects there.



                                            4



    Case 3:19-cv-00350 Document 24-5 Filed 06/11/19 Page 6 of 14 PageID #: 218
Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.66 Page 16 of 182
                                                                                     010
                                                                                      Ex. 3


             I am reminded that it is good for us to keep apprised of each other's lives
             and the things we can do to influence them.

         It is unclear why, if Mr. Manookian's communi cation was intended as a
   gesture of good will, he would begin by referencing the daughter 's alleged
   "history of academi c failure and alcohol and substance abuse.n However, Mr.
   Manookia n produced a copy of an email to his partner (Hearing Exhibit 13) in
   support of his claim that he was simply trying to be of assistance to the Gideon
   family.


         Similarly, Mr. Manookian testified that his email to opposing counsel, Phillip
   North, (Exhibit 4 to the Petition) was simply an effort to get Mr. North to respond
   to Mr. Manookian's prior email. The communi cation to Mr. North, which Mr.
   Manookia n copied to nineteen (19) other individuals (TR Vol. 1:60), is as follows:


         Phillip,

         I see that my email and attachme nts are being repeated ly opened at the
         IP address associate d with the consume r Comcast cable account for 109
         Menees Lane, Madison, Tennessee.

         That address is the residentia l property where you have consisten tly lived
         with your parents (other than for a brief period of time from 1984-1986
         where you rented unit 602 at the Capitol Towers on Gay Street) until the
         North Family Trust essentially gifted you the property for $10.00. Upon
         investigat ion, this gifted piece of property in North Nashville, given to you
         for $10 by your parents, represents the sole piece of real property you own
         at 68 years of age.

         Further confirmin g that you have read my email, records additiona lly
         reflect' that Mona Dale Cornwell North-th e woman for whom you left
         your wife and two minor daughter s (Nicki and Neely)-h as registered a
         Jeep Grand Cherokee {VIN 1C4RJFLG4JC274818, TN License Plate E66307}
         at the same address your parents gave you and where my email is being
         viewed.

         Please simply reply and confirm your brother Steve North's voice.

                                              5



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                                                                                     011
                                                                                     Ex. 3



          Mr. Manookian testified that he was simply trying to get Mr. North to
    respond to a prior email. He testified that he is able to identify the location from
   which an email is viewed and that he regularly uses a people-find computer
    software program which provides detailed public information about an
   individual such as the information he included in his email to Mr. North. (TR Vol.
    l: 51-52, 62-63) He testified that he and Mr. North have a very contentious
   relationship and that Mr. North had filed scurrilous personal information about
   him in the Shao case. (TR Vol. l: 73) He stated that he did not intend for the
   communication to be threatening and could not see how a reasonable person
   could construe it as threatening. He did acknowledge that parts of the email
   were inappropriate and that it probably should not have been sent. (TR Vol.
    l :84-85) In support of his claim that the email was not construed as threatening,
   Mr. Manookian testified that he and Mr. North had appeared for depositions
   and been in court together since the allegedly offending email. (TR Vol. l: 72)
   He asserted that he posed no physical threat to Phillip North.


          With regard to the court sanctions imposed against him in the Diamond
   Consortium case (Exhibit 5 to the Petition), Mr. Manookian testified that the case
   had settled favorably to his client and that the BPR Petition for Discipline related
   to his conduct in that case had been pending for more than a year. (TR Vol. l:
   79) He further testified that his prior counsel had withdrawn and that he had
   been given sixty (60) days within which to hire new counsel. He objected to the
   trial judge's characterization of his conduct as fraudulent, in bad faith, and 11 0n
   abuse of the judicial process" and took the position that such ruling was
   irrelevant to the matters at hand.


          Mr. Manookian testified that the 2013 case of Semanchik & Nashville
   Armory v. Manookian (Exhibits 6 and 7 to the Petition) was simply a falling out
   between business partners and emphasized that the BPR complaint that arose
                                             6



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                                                                                      012
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    out of the case had been dismissed. He testified that he had not opposed the
    permanent injunction entered against him and that he had not violated the
    injunction. He considered the injunction to be irrelevant to whether he posed a
    substantial threat of harm to the public. (TR Vol. 1:69-70)


          With regard to the 2012 finding of the divorce court that he had physically
    assaulted his wife (Exhibit 8 to the Petition), Mr. Manookian denied both that an
    assault had occurred and denied that it was relevant to these proceedings. He
    produced as evidence an expunction order (Hearing Exhibit 7) with regard to a
    companion criminal domestic assault charge that was dismissed. (TR Vol. 1: 43)


          Mr. Manookian testified that his 2004 altercation with David Binkley, a
    college friend, (Exhibit 9 to the Petition) was simply a fight, that he and Mr.
    Binkley were now friends, and that, in fact, he had represented Mr. Binkley since
    the 2004 incident. (TR Vol. 1: 42} He disputed the relevance of the fight to these
    proceedings.


          Mr. Manookian admitted that he had been sanctioned by the federal
    district court in the Diamond case, by Judge Brothers in the Shao case, and by
    Judge Binkley in the King case. He acknowledged that Judge Ashe had
    suspended him from practicing in the Davidson County Circuit Court for a
    period of sixty (60) days. He pointed out that no court had sanctioned him more
    than once.


          Throughout his testimony, Mr. Manookian 's position was that he had done
    no wrong. His good cause for dissolution of the Supreme Court's Order of
   Suspension is that the Order never should have been granted.




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          The Honorable Hamilton Gayden testified telephonically. Judge Gayden
    confirmed that he had served as a Davidson County trial judge for forty-four (44)
    years. (TR Vol. 1:97) He testified that he had known of Mr. Manookian for 7-8
    years but had only known him well for approximat ely three (3) years. Judge
    Gayden testified that Mr. Manookian is intelligent and a good lawyer,
    sometimes a little overly aggressive but not offensively so. In Judge Gayden's
    opinion, Mr. Manookian was an asset to the bar and posed no threat to the
    public. (TR Vol. 1: 98) On cross-examination, Judge Gayden testified that he
    recuses himself from Mr. Manookian ' s cases because Mr. Manookian is
    representing his daughter in a custody matter in Texas. (TR Vol. 1:100)


          Also testifying was Phillip North, who confirmed that he had been
    admitted to the bar in 1975 and was in private practice in Davidson County. (TR
    Vol. 1: 108) Mr. North testified that he had several cases in which the Manookian
    law firm was involved. Both he and Mr. Manookian are involved in the Shao
    case, representing opposing clients. Mr. North testified that he perceived Mr.
    Manookian' s 8/4/18 email as a threat, particularly in light of Judge Brothers' prior
    admonition to Mr. Manookian after the C.J. Gideon 8/19/17 email, of which Mr.
    North was aware. (TR Vol. 1: l 09) Mr. North testified that he was concerned
    both for himself and for his family. (TR Vol. l: 117) In response to the email, Mr.
    North hired a security company to upgrade his home security system, gave
    photograph s of Mr. Manookian to the security guards at the building where he
    works, alerted his neighbors and family members, encouraged his wife to take a
   gun safety course and get a permit to carry a gun, and took a refresher gun
   course on his own. (TR Vol. 1: 120-121) He also cancelled social events so that his
   wife would not be at home by herself. (TR Vol. 1:134) On cross-examination, Mr.
   North admitted that he had only recently filed a police report regarding the
   email and admitted that he had been present for two depositions involving Mr.
   Manooklan since receipt of the email. He explained thai' both depositions were


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   in secure facilities with other people present and that Mr. Manookian's behavior
   during the depositions had been "okay." (TR Vol. l: 132-133)


          Mr. North acknowledged that his and Mr. Manookian's relationship had
   been contentious for a while. He testified that he had filed multiple Motions for
   sanctions against Mr. Manookian in the Shao case (including a Motion for
   sanctions based on the 8/4/18 email) to address what North described as Mr.
   Manookian's downward-spiraling conduct. (TR Vol. l: 111-116)


          Judge Brothers has recused himself from hearing Motions in the Shao case
   involving Mr. Manookian based on Mr, Manookian's Motion for recusal. The
   pending Motions were, therefore, heard by Judge Ashe, whose Order was
   entered on 9/28/18 (Hearing Exhibit 23). The Order details the litigation history of
   the Shao case and quotes Judge Brothers' prior reprimands with regard to Mr.
   Manookian's conduct. Judge Ashe's Order suspended Mr. Manookian from the
   practice of law in Davidson County Circuit Courts for sixty (60) days, required him
   to pay the attorneys' fees and expenses of Mr. North and Mr. Gideon, and
   further required him to complete a three (3) hour ethics course focusing on
    civility and professionalism. Noting that Mr. Manookian had failed to respond to
    prior reprimands and explicit orders from the Court, Judge Ashe concluded:


          His [Mr. Manookian 's] actions not only damage his reputation as a
          professional, but also blemish the legal profession and the integrity of the
          Court. It is this Court1s hope Mr. Manookian will rethink his tactics and
          consider the great honor, and corresponding responsibility, attached to a
          law degree.


                               Report and Recommendations


          As referenced earlier, Mr. Manookian raises numerous due process issues
    including the following:
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       A. His law license was suspended without notice and a hearing.
       B. His Petition for Dissolution or Amendment of the- Order of Temporary
          Suspension was not heard immediately but was heard nine (9) full business
          days after his Petition was filed.
       C. The Board's failure to support its original Petition for Temporary Suspension
          by sworn affidavit is fatal and cannot be cured by the Court's l 0/17 /18
          Order, requiring the Petition to be summarily dismissed.
       D. The agreement of BPR counsel to extend the deadline for Mr.
          Manookian's response to a pending Petition for Discipline essentially
          estops the Board from taking any disciplinary action against him during
          the extension.
       E. The Supreme Court's consideration of the orders and findings of the
          various trial courts amounts to impermissible 11 judicial notice" of such
          findings.
       F. The Board of Professional Responsibility's dismissal of certain complaints
          against Mr. Manookian in the past acts as an estoppel to prevent the
          Board from including such past conduct as part of its complaint that Mr.
          Manookian poses a substantial risk of harm to the public.
       G. The Board has presented no proof that Mr. Manookian poses a physical
          threat to any individual.


          The panel does not find that it has authority under Rule 12.3 (d) to rule on
    either the due process claims of Mr. Manookian nor does its purview extend to
    ruling on the merits of the pending Petitions for Discipline against Mr. Manookian.


          The panel must determine whether Mr. Manookian has shown good cause
    why the Order of Temporary Suspension should be dissolved or amended. The
    panel finds that Mr. Manookian has not shown good cause. Beyond a general



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    denial of all wrong-doing, Mr Manookian has not addressed his conduct in any
   substantive way.


          It is Mr. Manookian's position that speech alone, even rude and insulting
    speech, cannot present a substantial threat of harm to the public. This position is
   wrong, particularly with regard to an attorney's speech. Mr. Manookian's words,
    however, go beyond being merely rude and insulting and cross the line into
   threatening and intimidating. The practice of law, by its nature, involves conflict
    and contention. That is why the Rules of Professional Conduct for practitioners
   of the law require that an attorney's conduct be circumscribed within the
    boundaries of civility, decorum, and respect for both the process and the
    person. Keeping within the boundaries of professional conduct is critical for the
    proper functioning of the judicial system.


          Mr. Manookian has had these boundaries pointed out to him repeatedly
    by multiple trial court judges to no avail. The importance of the trial court orders
    that were exhibited to the Petition for Temporary Suspension and were entered
   into the hearing record is that they clearly establish that Mr. Manookian was on
    notice as to what is and is not acceptable conduct. The efforts of the trial
    courts have ranged from constructive criticism to injunctions and costly
    sanctions, but none have deterred Mr. Manookian's behavior.


          The argument that Mr. Manookian's emails to Mr. Gideon and to Mr. North
   were not designed to be threatening to the families of the recipients nor
   intimidating to the recipients themselves is simply not believable. There is no
    other reason for the defamatory, insulting and creepily personal information
    about the attorneys' family members to be included in professional
    communication between colleagues. An attorney often accepts a degree of



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                                                                                             017
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    hostility in contentious litigation but he or she should not have to accept that
    spouses or children will be subject to insult and threat.


          Mr. Manookian has not acknowledged that there is anything wrong With
    his conduct. Consequently, he has taken no steps to assure the panel that the
    conduct will not be repeated. He did not indicate that he intends to take any
    steps to address what he considers to be minimally inappropriate behavior-
    admittedly rude and insulting but, according to Mr. Manookian, not threatening
    to the public or to the judicial system which serves the public.


          Absent any showing of aqknowledgment, contrition, responsibility, or
    remediation, the recommendation of the hearing panel is that the Order of
    Temporary Suspension not be dissolved or amended.

                             .
          Respectfully submitted this
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                             EXHIBIT “4”
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                                                                                  Ex. 4
                                                                                    018
                                                                                          FILED
                                                                                       02/27/2019
                  IN THE SUPREME COURT OF TENNESSEE                                       Clerk of the

                             AT NASHVILLE                                              Appellate Courts




              IN RE: BRIAN PHILLIP MANOOKIAN, BPR #026455
                    An Attorney Licensed to Practice Law in Tennessee
                                   (Davidson County)
                               ______________________

                            No. M2018-01711-SC-BAR-BP
                            BOPR No. 2018-2914-5-WM-12.3
                                ______________________


                 ORDER DENYING PETITION FOR DISSOLUTION
                   OF ORDER OF TEMPORARY SUSPENSION

         On September 21, 2018, this Court entered an Order of Temporary Suspension
  pursuant to Tenn. Sup. Ct. R. 9, § 12.3, suspending the law license of Brian Phillip
  Manookian for posing a threat of substantial harm to the public. On September 28, 2018,
  Mr. Manookian filed a Verified Petition for Dissolution or Amendment of Order of
  Temporary Suspension. On November 21, 2018, this Court entered its Order Denying
  Verified Petition for Dissolution or Amendment of Order of Temporary Suspension. On
  January 22, 2019, Mr. Manookian filed a second Petition for Dissolution of Order of
  Temporary Suspension. On January 30, 2019, a hearing was held before a three-member
  panel of the Board of Professional Responsibility. On February 15, 2019, the Panel
  entered its Hearing Panel Recommendation on Second Petition for Dissolution and the
  Hearing Panel Report finding Mr. Manookian failed to establish good cause to dissolve
  the temporary suspension.

      IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED BY THE
  COURT THAT:

        1.      The Hearing Panel Recommendation on Second Petition for Dissolution
  and the Hearing Panel Report are approved as the Court’s Order, and the Petition for
  Dissolution of Order of Temporary Suspension filed on January 22, 2019, is denied.

         2.     Mr. Manookian shall remain temporarily suspended from the practice of
  law as provided in Tenn. Sup. Ct. R. 9, § 12.3.

         3.      Mr. Manookian shall comply with Tenn. Sup. Ct. R. 9 in all respects and
  particularly as provided in Tenn. Sup. Ct. R. 9, § 28.

                                                                        EXHIBIT 8
                                        Exhibit 4
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                                                                                   Ex. 4
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                                                                                     019


           4.   Pursuant to Tenn. Sup. Ct. R. 9, § 28.1, this Order shall be effective upon
  entry.

         5.   Assessment of the Board’s costs pursuant to Tenn. Sup. Ct. R. 9, § 31.3, is
  reserved pending submission of a Panel Judgment on the Board’s Application for
  Assessment of Costs.

         6.      The Board of Professional Responsibility shall cause notice of this
  discipline to be published as required by Tenn. Sup. Ct. R. 9, § 28.11.

         7.    Because this Court is denying Mr. Manookian’s Petition, his February 20,
  2019 “Motion for Extension of Time in Which to File Objection and Brief on the Hearing
  Panel’s Report and Recommendation” is denied as moot.


                                              PER CURIAM




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                             EXHIBIT “5”
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                                                                                        FILED
                                                                                       05/17/2019
                  IN THE SUPREME COURT OF TENNESSEE                                      Clerk of the

                             AT NASHVILLE                                              Appellate Courts




              IN RE: BRIAN PHILLIP MANOOKIAN, BPR #026455
                    An Attorney Licensed to Practice Law in Tennessee
                                   (Davidson County)
                               ______________________

                            No. M2019-00630-SC-BAR-BP
                            BOPR No. 2018-2914-5-WM-12.3
                                ______________________

                ORDER GRANTING PETITION FOR DISSOLUTION
                   OF ORDER OF TEMPORARY SUSPENSION

         On September 21, 2018, this Court entered an Order of Temporary Suspension
  pursuant to Tenn. Sup. Ct. R. 9, § 12.3, suspending the law license of Brian Phillip
  Manookian for posing a threat of substantial harm to the public. On September 28, 2018,
  Mr. Manookian filed a Verified Petition for Dissolution or Amendment of Order of
  Temporary Suspension. On November 21, 2018, this Court entered its Order Denying
  Verified Petition for Dissolution or Amendment of Order of Temporary Suspension. On
  January 22, 2019, Mr. Manookian filed a Petition for Dissolution of Order of Temporary
  Suspension. On February 27, 2019, this Court entered its Order Denying Petition for
  Dissolution of Order of Temporary Suspension. On April 9, 2019, Mr. Manookian filed a
  Petition for Dissolution of Order of Temporary Suspension. On April 26, 2019, a hearing
  was held before a three-member panel of the Board of Professional Responsibility. On
  May 6, 2019, the Panel entered its Report and Recommendations on Third Petition for
  Dissolution of Order of Temporary Suspension recommending the dissolution of Mr.
  Manookian’s temporary suspension with conditions. A copy of the Report and
  Recommendations on Third Petition for Dissolution of Order of Temporary Suspension is
  attached hereto under seal, and incorporated herein by reference.

          From all of which the Court approves the panel’s Report and Recommendations
  on Third Petition for Dissolution of Order of Temporary Suspension and adopts the same
  as this Court’s Order.

      IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED BY THE
  COURT THAT:

        1.    The Report and Recommendations on Third Petition for Dissolution of
  Order of Temporary Suspension is approved as the Court’s Order, and the Order of
  Temporary Suspension entered September 21, 2018, is hereby dissolved subject to Mr.
  Manookian’s ongoing compliance with the conditions set forth in the Report and

                                                                        EXHIBIT 11
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  Recommendations on Third Petition for Dissolution of Order of Temporary Suspension
  until further orders of the Court.

           2.   Pursuant to Tenn. Sup. Ct. R. 9, § 28.1, this Order shall be effective upon
  entry.

          3.    Assessment of the Board's costs pursuant to Tenn. Sup. Ct. R. 9, § 31.3, is
  reserved pending submission of a Panel Judgment on the Board’s Application for
  Assessment of Costs. Mr. Manookian shall pay to the Clerk of this Court the costs
  incurred herein, for all of which execution shall issue if necessary.

        4.     The Board of Professional Responsibility shall cause notice of this Order to
  be published as required by Tenn. Sup. Ct. R. 9, § 28.11.


                                              PER CURIAM




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                             EXHIBIT “6”
    Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.81 Page 31 of 182
                                                                                                       022
                     BOARD OF PROFESSIONAL RESPONSIBILITY                                              Ex. 6
                                                       OF THE
                              SUPREME COURT OF TENNESSEE
                                               10 CADILLAC DRIVE, SUITE 220
                                               BRENTWOOD, TENNESSEE 37027
                                               TELEPHONE: (615) 361-7500
                                                             (800) 486-5714
                                                       FAX: (615) 367-2480
                                                    E-MAIL: ethics@tbpr.org
                                                    Website: www.tbpr.org




                                                                           RELEASE OF INFORMATION
                                                            RE: BRIAN PHILLIP MANOOKIAN, BPR #026455
                                                                           CONTACT: RUSSELL WILLIS
                                                             BOARD OF PROFESSIONAL RESPONSIBILITY
                                                                                         615-361-7500

October 11, 2019

                      DAVIDSON COUNTY LAWYER TEMPORARILY SUSPENDED

         On October 11, 2019, the Supreme Court of Tennessee reinstated the temporary suspension of Brian
Phillip Manookian from the practice oflaw upon finding that Mr. Manookian poses a threat of substantial harm
to the public. Section 12.3 of Supreme Court Rule 9 provides for the immediate summary suspension of an
attorney's license to practice law if an attorney poses a threat of substantial harm to the public.

         Mr. Manookian is immediately precluded from accepting any new cases, and he must cease representing
existing clients by November 10, 2019. After November 10, 2019, Mr. Manookian shall not use any indicia of
lawyer, legal assistant, or law clerk nor maintain a presence where the practice oflaw is conducted.

         Mr. Manookian must notify all clients being represented in pending matters, as well as co-counsel and
opposing counsel of the Supreme Court's Order suspending his law license. Mr. Manookian is required to
deliver to all clients any papers or property to which they are entitled.

         This suspension remains in effect until dissolution or modification by the Supreme Court. Mr.
Manookian may for good cause request dissolution or modification of the suspension by petition to the Supreme
Court.

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                                                                                          023


                                                                                           FILED
                                                                                           10/11/2019
                    IN THE SUPREME COURT OF TENNESSEE                                        Clerk of the
                               AT NASHVILLE                                                Appellate Courts



                IN RE: BRIAN PHILLIP MANOOKIAN, BPR #026455
                      An Attorney Licensed to Practice Law in Tennessee
                                     (Davidson County)


                               No. M2019-00630-SC-BAR-BP
                              BOPR No. 2018-2914-5-WM-12.3



                 ORDER REINSTATING TEMPORARY SUSPENSION

          This matter is before the Court on a Petition of the Board of Professional
   Responsibility of the Supreme Court of Tennessee, by and through Disciplinary Counsel,
   for reinstatement of the temporary suspension of Brian Phillip Manookian from the
   practice of law, pursuant to Tenn. Sup. Ct. R. 9, § 12.3. The Petition was authorized by
   the Chair of the Board of Professional Responsibility and is supported by the affidavit of
   attorney Thomas Wiseman.

           On September 21, 2018, Mr. Manookian was temporarily suspended from the
   practice of law by this Court, pursuant to Tenn. Sup. Ct. R. 9, § 12.3, based on a finding
   that he posed a threat of substantial harm to the public. Mr. Manookian sought dissolution
   of the temporary suspension by filing a Verified Petition for Dissolution or Amendment
   of Order of Temporary Suspension; on November 21, 2018, this Court entered an Order
   denying Mr. Manookian's petition. Mr. Manookian filed a second request for the same
   relief by filing a Petition for Dissolution of Order of Temporary Suspension; on February
   2 7, 2019, this Court entered an Order denying this petition as well.

          On April 9, 2019, Mr. Manookian filed a Petition for Dissolution of Order of
   Temporary Suspension. On May 17, 2019, this Court entered an Order granting Mr.
   Manookian's petition, dissolving the temporary suspension of Mr. Manookian's law
   license. The May 17, 2019 order dissolved the temporary suspension subject to Mr.
   Manookian's ongoing compliance with conditions set forth in the panel's Report and
   Recommendations on Third Petition for Dissolution of Order of Temporary Suspension.

          On June 24, 2019, the Board filed the instant petition for reinstatement of the
   temporary suspension of Mr. Manookian's law license. On July 19, 2019, this Court
   referred the matter to a panel for a formal hearing on whether the Court should reinstate
   Mr. Manookian's temporary suspension. The matter was specifically referred to the Panel
   that had heard Mr. Manookian's second and third petitions for dissolution on January 30,
   2019, and April 26, 2019, respectively. The Comi also ordered the Board to submit to
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   this Court by August 18, 2019, the Panel's report and recommendation as to whether the
   temporary suspension should be reinstated.

           On August 6, 2019, the Board filed a supplemental petition to reinstate the
   temporary suspension of Mr. Manookian's law license, along with an accompanying
   exhibit. By order entered by this Court on August 15, 2019, this supplemental petition
   was referred to the same Panel for review and formal hearing. Also on August 15, 2019,
   this Court granted the Panel's request for an extension of time until August 30, 2019, for
   filing its report and recommendation, because the hearing could not be set until August
   23, 2019. On August 23, 2019, this Court granted the Panel's second request for
   extension for filing its report and recommendation until September 20, 2019, due to a
   medical emergency of one of the Panel members. On September 18, 2019, this Court
   granted the Panel's third request for extension for filing its report and recommendation
   until October 15, 2019, because Mr. Manookian claimed he had suffered a medical
   emergency.

         The Panel conducted its hearing on reinstatement of the temporary suspension on
   September 26, 2019. The Panel filed its report and recommendation on October 7, 2019. 1

          On October 4, 2019, Mr. Manookian filed a "Motion to Dismiss Supplemental
   Petition to Reinstate Temporary Suspension and Objection to Report and
   Recommendation."      Mr. Manookian argues that the petition and report and
   recommendation fail to provide a sufficient factual basis to reinstate a temporary
   suspension pursuant to Rule 9, section 12.3. He also argues that two members of the
   Panel should have recused themselves because they are defendants in a federal lawsuit
   that Mr. Manookian has filed against them.

          On October 9, 2019, Mr. Manookian filed a supplement to his motion to dismiss in
   which he reiterates his argument of bias of the Panel members. Additionally, he argues
   that Rule 9, section 12.3, is unconstitutional on its face and as applied to Mr. Manookian
   as depriving him of his due process rights under the 14th Amendment. Upon review of
   Mr. Manookian' s motion and attached exhibits, as well as the supplement to his motion,
   the Court respectfully DENIES the motion.

          On October 4, 2019, Mr. Manookian also filed a motion to place under seal the
   Panel's report and recommendation. The motion states that the Panel does not oppose the
   motion. Mr. Manookian filed a supplemental motion as well, asking the Court to also
   place under seal page 19 of his October 4, 2019 "Motion to Dismiss ... " and the last page
   of Exhibit A to that motion.

           1
               Although the report and recommendation was filed with this Court on October 7, 2019, the
   report states that it was signed and submitted on October 3, 2019. It appears that Mr. Manookian received
   the report and recommendation shortly thereafter, based on the three responsive motions he filed on
   October 4, 2019.
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          Upon review, the Court GRANTS Mr. Manookian's request to place under seal
   page 19 of his October 4, 2019 "Motion to Dismiss ... " and the final page of Exhibit A to
   that motion. The Court DENIES without prejudice Mr. Manookian's motion to place the
   Panel's report and recommendation under seal, based on the lack of specificity in the
   motion. Mr. Manookian has ten days from the filing of this Order in which to file a
   motion seeking redaction of the Panel's report and recommendation, specifying exactly
   what parts he contends should be redacted, along with the ground and legal basis for each
   redaction sought.

          In its Report and Recommendation, the Panel outlined testimony at the hearing,
   including testimony by Mr. Manookian, regarding two incidents. In the first incident, the
   Panel found that Mr. Manookian improperly communicated directly with the client of
   opposing counsel by sending the client an email designed to intimidate the client and
   undermine the client's relationship with the client's attorney. In the second incident, the
   Panel found that Mr. Manookian intentionally sent another opposing counsel an email
   that contained a photograph of the opposing counsel's wife, personal information
   regarding his wife, and a photograph of opposing counsel's home, causing opposing
   counsel to be fearful for the safety of his family. The Panel rejected Mr. Manookian's
   explanations for these incidents and noted that Mr. Manookian has previously been
   disciplined for sending threatening and coercive emails regarding the families of
   opposing counsel. The Panel concluded that Mr. Manookian had violated a condition of
   the Order granting his Petition for Dissolution of Order of Temporary Suspension.

         Based upon the Court's review of the Board's petition to reinstate temporary
   suspension, the Board's supplemental petition to reinstate temporary suspension, and the
   supporting affidavit and exhibits for both petitions, as well as the Panel's report and
   recommendation, the Court adopts the Panel's finding that Brian Phillip Manookian,
   Respondent, has violated a condition of the Order Granting Petition for Dissolution of
   Order of Temporary Suspension.

          The Court finds as well that Mr. Manookian poses a threat of substantial harm to
   the public.

         For these reasons, the Court determines that it should reinstate the temporary
   suspension of Mr. Manookian's law license.

          IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

          1.    The temporary suspension of Brian Phillip Manookian from the practice of
   law as provided in Tenn. Sup. Ct. R. 9, § 12.3, is hereby reinstated.




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          2.      Brian Phillip Manookian shall comply with Tenn. Sup. Ct. R. 9 in all
   respects and particularly as provided in Tenn. Sup. Ct. R. 9, § 28, regarding the
   responsibilities of suspended attorneys.

         3.      Brian Phillip Manookian may make application for dissolution or
   modification of this Order as provided in Tenn. Sup. Ct. R. 9, § 12.3.

         4.     The Board of Professional Responsibility shall cause notice of this
   suspension of Brian Phillip Manookian to be published as required by Tenn. Sup. Ct. R.
   9,§28.11.


                                              PERCURIAM




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                             EXHIBIT “7”
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                                                                                      027
                                                                                           FILED
                                                                                          10/17/2019
                   IN THE SUPREME COURT OF TENNESSEE                                         Clerk of the

                              AT NASHVILLE                                                Appellate Courts




               IN RE: BRIAN PHILLIP MANOOKIAN, BPR #026455
                    An Attorney Licensed to Practice Law in Tennessee
                                   (Davidson County)
                               ______________________

                             No. M2018-00630-SC-BAR-BP
                             BOPR No. 2018-2914-5-WM-12.3
                                 ______________________


                 ORDER DENYING PETITION FOR DISSOLUTION
                   OF ORDER OF TEMPORARY SUSPENSION

         On October 11, 2019, this Court entered an Order Reinstating Temporary
  Suspension pursuant to Tennessee Supreme Court Rule 9, section 12.3, suspending the
  law license of Brian Phillip Manookian. That same day, Mr. Manookian, pro se, filed a
  petition for dissolution of his temporary suspension. On October 15, 2019, the Board
  filed an answer to Mr. Manookian’s petition, arguing that the petition failed to establish
  good cause for dissolution pursuant to Tennessee Supreme Court Rule 9, section 12.3(d).
  Mr. Manookian then filed a supplemental petition for dissolution on October 15, 2019,
  stating that he does not meet any of the bases for temporary suspension under Tennessee
  Supreme Court Rule 9, section 12.3(a).

         In consideration of this petition, the Court notes the number of hearings that Mr.
  Manookian has had regarding temporary suspension of his law license. The original
  temporary suspension of Mr. Manookian’s law license was imposed on September 21,
  2018. He sought dissolution of it a week later, on September 28, 2018. A panel held a
  hearing on the petition for dissolution on October 11 and 19, 2018, and filed its report
  and recommendation; thereafter this Court entered an Order denying Mr. Manookian’s
  petition. Mr. Manookian filed a second petition for dissolution on January 22, 2019, and
  the matter was heard by a panel on January 30, 2019. Following submission of the
  panel’s report and recommendation to the Court, this Court denied the second petition for
  dissolution as well.

         On April 9, 2019, Mr. Manookian filed a third petition for dissolution. A panel
  held a hearing on this petition on April 26, 2019, and filed its report and recommending
  reinstatement subject to compliance with certain conditions. On May 17, 2019, this
  Court granted Mr. Manookian’s petition, dissolving the temporary suspension of his law
  license, subject to Mr. Manookian’s ongoing compliance with conditions set forth in the
  panel’s report and recommendation.


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         The next month, on June 24, 2019, the Board filed a petition for reinstatement of
  the temporary suspension of Mr. Manookian’s law license. This petition asserted that,
  not long after reinstatement of his law license, Mr. Manookian again engaged in conduct
  threatening to third parties and opposing counsel.

         Despite the concerning nature of the allegations in the Board’s petition, instead of
  immediately reinstating the temporary suspension of Mr. Manookian’s law license, this
  Court exercised its discretion to refer the matter to a panel for a formal hearing. The
  Panel conducted its hearing on September 26, 2019, and filed its report and
  recommendation on October 7, 2019. On October 11, 2019, this Court entered an order
  reinstating the temporary suspension of Mr. Manookian’s law license. In the order, the
  Court adopted the panel’s finding that Mr. Manookian violated a condition of his
  dissolution of temporary suspension. The Court also determined that Mr. Manookian
  poses a threat of substantial harm to the public.

         After reviewing the instant petition for dissolution filed by Mr. Manookian,
  including the supplemental petition filed on October 15, 2019, the Court finds that Mr.
  Manookian has not provided any factual basis demonstrating good cause for dissolution
  of his temporary suspension. Mr. Manookian received multiple hearings in connection
  with the original temporary suspension, was granted reinstatement with conditions, and
  received a formal evidentiary hearing in advance of reinstatement of the temporary
  suspension of his law license. The most recent hearing demonstrated ample basis for
  determining that Mr. Manookian poses a threat of substantial harm to the public and for
  reinstatement of his temporary suspension. Therefore, Mr. Manookian’s petition for
  dissolution is summarily DENIED.

         Mr. Manookian shall remain temporarily suspended from the practice of law as
  provided in Tenn. Sup. Ct. R. 9, § 12.3. Mr. Manookian shall comply with Tenn. Sup.
  Ct. R. 9 in all respects and particularly as provided in Tenn. Sup. Ct. R. 9, § 28.

         Both Mr. Manookian and the Board shall proceed with all due speed toward
  ultimate resolution of the petition for discipline currently pending before the Board.

         IT IS SO ORDERED.


                                               PER CURIAM




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                             EXHIBIT “8”
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION


   BRIAN P. MANOOKIAN,

                           Plaintiff,
                vs.
                                                Civil Action No. __________
   FLOYD FLIPPIN, in his official and           JURY DEMAND
   individual capacities; DANA DYE, in her
   official and individual capacities; JOHN
   KITCH, in his official and individual
   capacities; JOE LOONEY, in his official
   and individual capacities; ODELL
   HORTON, JR., in his official and
   individual capacities; RUTH ELLIS, in
   her official and individual capacities;
   JODY PICKENS, in her official and
   individual capacities; BRIDGET J.
   WILLHITE, in her official and individual
   capacities; and JIMMIE MILLER, in her
   official and individual capacities,

                           Defendants.


                                         COMPLAINT


        For his complaint, Plaintiff Brian P. Manookian alleges the following upon

  actual knowledge with respect to himself and his own acts, and upon information and

  belief as to all other matters:

                               NATURE OF THE ACTION

        The Tennessee Board of Professional Responsibility (BPR)—a quasi-public,

  quasi-private entity that regulates the practice of law in Tennessee—violated both


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  federal antitrust laws and the United States Constitution when it “temporarily” and

  indefinitely suspended Plaintiff Brian Manookian from practicing law more than

  seven months ago. The central, stated impetus for Mr. Manookian’s suspension was

  his constitutionally protected out-of-court speech—an email to another lawyer—that

  the BPR claims it “took to be threatening” despite candidly acknowledging that it was

  not a true threat.

        At the time the BPR sought Mr. Manookian’s suspension, the BPR had been

  aware of his purportedly offending speech for approximately a month and a half. It

  had also opened a routine disciplinary investigation regarding that speech and

  afforded Mr. Manookian 60 days to respond. Suddenly, however—on September 19,

  2018, just days before Mr. Manookian was to respond and almost immediately after

  Mr. Manookian sued a state court judge for defamation—the BPR changed course by

  seeking and securing an emergency temporary suspension through an ex parte

  proceeding without Mr. Manookian’s involvement. Mr. Manookian’s “temporary”

  suspension has since remained in effect for approximately seven months, and given

  its indefinite nature, it amounts to a de facto disbarment. Critically, Mr. Manookian’s

  suspension was also approved and maintained by Mr. Manookian’s active market

  competitors in the medical malpractice industry—including an attorney who was

  opposing counsel in a pending case from which Mr. Manookian was required

  to withdraw.




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        Since “temporarily” suspending Mr. Manookian from the practice of law, the

  BPR has taken extreme measures to keep Mr. Manookian’s suspension in place.

  During the seven months that his suspension has been in effect, the BPR has also

  refused even to initiate a disciplinary petition against him alleging that he violated

  any underlying Rule of Professional Conduct. The BPR additionally rejected a

  conclusion from an approved referral of its own Tennessee Lawyers Assistance

  Program that Mr. Manookian is a highly skilled and successful lawyer who is fit for

  duty and poses no threat to the public. Instead, the BPR contends that Mr.

  Manookian can only show good cause to dissolve his suspension by admitting the

  BPR’s legally baseless accusations—none of which has prompted an underlying

  petition for discipline—and submitting to the board for mercy. That is, the BPR

  continues to maintain Mr. Manookian’s suspension even though no underlying

  petition for discipline has been filed against him and even though the BPR’s own

  fitness for duty evaluation determined that Mr. Manookian poses no threat of

  substantial harm to the public.

        In sum: The defendants sanctioned Mr. Manookian for his constitutionally

  protected, out-of-court speech and retaliated against him for exercising his First

  Amendment right to petition the government for the redress of grievances. The

  defendants further deprived Mr. Manookian of due process and equal protection

  under the law by violating their own procedures, abusing facially unconstitutional

  procedures, and suspending him in an ex parte proceeding in which he was neither



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  entitled to participate nor permitted to submit admissible evidence. Most

  prominently, though, defendants’ conduct violated the Sherman Act. Defendants

  agreed to undertake a course of conduct designed to exclude a horizontal competitor

  from the market for legal services and from the medical malpractice industry in

  particular. Mr. Manookian’s exclusion—unlike most professional suspensions—had

  an appreciable anticompetitive effect because he is one of approximately twenty

  competitors in the market for medical malpractice victim representation in

  Tennessee. That market has significant barriers to entry, and Mr. Manookian was

  one of the industry’s top performers until he was suspended. Accordingly, Mr.

  Manookian’s suspension significantly harms competition in the medical malpractice

  industry due to his outsized role among a tiny field of competitors in a

  constrained market.

        Based on the foregoing, Mr. Manookian requests that this Court declare: (1)

  that defendants’ conduct and the procedures they abused to retaliate against him for

  his protected speech are unconstitutional, and (2) that defendants’ conduct violates

  the Sherman Act. Thereafter, this Court should enjoin the defendants from

  continuing their unlawful acts; it should order the defendants to vacate Mr.

  Manookian’s temporary suspension; and Mr. Manookian should be awarded

  compensatory and punitive damages, his reasonable attorneys’ fees, and costs.




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                            JURISDICTION AND VENUE

        1.     The Court has primary subject matter jurisdiction under 28 U.S.C.

  §§ 1331, 1337, 1343, 1367, 2201, and Sections 4 and 16 of the Clayton Act, 15 U.S.C.

  §§ 15, 26, because this action arises under the U.S. Constitution and the antitrust

  laws of the United States.

        2.     The Court has personal jurisdiction over each of the defendants because

  each defendant resides in Tennessee and has substantial, continuous contacts with

  Tennessee and in this district.

        3.     Venue is proper in this Court under 28 U.S.C. § 1391 because a

  substantial part of the events or omissions giving rise to this action occurred in this

  district, and because defendants Dye, Kitch, and Looney reside within the Middle

  District of Tennessee. Venue is also proper under 15 U.S.C. § 15 and 22 because at

  least one defendant can be found in this district.

                                        PARTIES

        4.     Plaintiff Brian Manookian is a U.S. citizen and resident of the State of

  Tennessee. Before the unlawful conduct alleged in this complaint, Mr. Manookian

  held an unrestricted license to practice law in the State of Tennessee. He is one of the

  state’s most successful plaintiff’s-side medical malpractice lawyers, having obtained

  collective recoveries for his clients worth more than $20 million in the year before

  defendants unlawfully suspended him from the practice of law.




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        5.     Defendant Floyd Flippin is the Chair of the Tennessee Board of

  Professional Responsibility and is responsible for its operations. He is sued in his

  individual capacity for compensatory and punitive damages and in his official

  capacity for prospective injunctive and declaratory relief. He may be served with

  process at his place of business, 1302 East Main Street, Humboldt, Tennessee 38343,

  or wherever he may be found.

        6.     Defendant Dana Dye is a member of the Tennessee Board of

  Professional Responsibility. Defendant Dye served as the Chairperson of Hearing

  Panels I and II where she voted to deny the reinstatement of Mr. Manookian’s law

  license. She is sued in her individual capacity for compensatory and punitive damages

  and in her official capacity for prospective injunctive and declaratory relief. She may

  be served with process at her place of business, 105 West End Avenue, Centerville,

  Tennessee 37033, or wherever she may be found.

        7.     Defendant John Kitch is a member of the Tennessee Board of

  Professional Responsibility. Defendant Kitch served on Hearing Panel I where he

  voted to deny the reinstatement of Plaintiff’s law license. He is sued in his individual

  capacity for compensatory and punitive damages and in his official capacity for

  prospective injunctive and declaratory relief. He may be served with process at his

  place of business, 511 Union Street, Suite 1500, Nashville, Tennessee 37219, or

  wherever he may be found.




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        8.     Defendant Joe Looney is a member of the Tennessee Board of

  Professional Responsibility. Defendant Looney served on Hearing Panels I and II

  where he voted to deny the reinstatement of Plaintiff’s law license. He is sued in his

  individual capacity for compensatory and punitive damages and in his official

  capacity for prospective injunctive and declaratory relief. He may be served with

  process at his place of business, 156 Rector Avenue, Crossville, Tennessee 38555, or

  wherever he may be found.

        9.     Defendant Jimmie Miller is the immediate past chairperson of

  Tennessee Board of Professional Responsibility and was responsible for its operations

  at the time of the illegal suspension of Plaintiff’s law license. She is sued in her

  individual capacity for compensatory and punitive damages and her official capacity

  for prospective injunctive and declaratory relief. She may be served with process at

  her place of business, 1212 North Eastman Road, Kingsport, Tennessee 37664, or

  wherever she may be found.

        10.    Defendant Odell Horton, Jr. is a member of the Tennessee Board of

  Professional Responsibility. He is sued in his individual capacity for compensatory

  and punitive damages and in his official capacity for prospective injunctive and

  declaratory relief. He may be served with process at his place of business, 6070 Poplar

  Avenue, Suite 300, Memphis, Tennessee 38119, or wherever he may be found.

        11.    Defendant Ruth Ellis is a member of the Tennessee Board of

  Professional Responsibility. She is sued in her individual capacity for compensatory



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  and punitive damages and in her official capacity for prospective injunctive and

  declaratory relief. She may be served with process at her place of business 550 Main

  Street, Suite 750, Knoxville, Tennessee 37902, or wherever she may be found.

        12.   Defendant Jody Pickens is a member of the Tennessee Board of

  Professional Responsibility. She is sued in her individual capacity for compensatory

  and punitive damages and in her official capacity for prospective injunctive and

  declaratory relief. She may be served with process at her place of business 226 Anne

  Dallas Dudley Blvd., Suite 800, Nashville, Tennessee 37243, or wherever she may

  be found.

        13.   Defendant Bridget J. Willhite is a member of the Tennessee Board of

  Professional Responsibility. She is sued in her individual capacity for compensatory

  and punitive damages and in her official capacity for prospective injunctive and

  declaratory relief. She may be served with process at her place of business 1 W

  Madison Avenue, Athens, Tennessee 37303, or wherever she may be found.

        14.   By prior agreement, each of the defendants may also be served, in their

  individual capacities, through Rita Webb, the Executive Secretary of the Tennessee

  Board of Professional Responsibility, and, in their official capacities, through the

  Office of the Tennessee Attorney General.

        15.   Each defendant acted as the principal of or agent for each other

  defendant as to the acts, violations, and common course of conduct alleged in

  this complaint.



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        16.    Defendants and their agents participated personally in the unlawful

  conduct challenged in this complaint and, to the extent they did not personally

  participate, they authorized, acquiesced, set in motion, or otherwise failed to take

  necessary steps to prevent the acts complained of in this complaint.

                           SUBSTANTIVE ALLEGATIONS

                           Mr. Manookian’s Law Practice

        17.    Mr. Manookian is a highly skilled and successful lawyer who has

  practiced law in Tennessee for over a decade. He graduated with honors from

  Vanderbilt Law School on scholarship in 2007.

        18.    Mr. Manookian applied for admission to the Tennessee bar after

  graduating from law school, he passed the bar examination, and he cleared a

  thorough character and fitness investigation. The Tennessee Board of Law

  Examiners certified that Mr. Manookian was “a person of good moral character, of

  proper age, and well versed in the law and its practice,” and based on that conclusion,

  it issued Mr. Manookian an unrestricted license to practice law in the State

  of Tennessee.

        19.    Upon his admission to the bar, Mr. Manookian was employed by a law

  firm specializing in the defense of healthcare providers. He gained substantial

  experience at the intersection of law and medicine, representing hospitals,

  physicians, and healthcare systems in complex and high-stakes cases in Tennessee

  and throughout the nation.



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        20.    In 2015, Mr. Manookian co-founded the law firm Cummings Manookian

  PLC. Since that time, Mr. Manookian’s law practice has focused on representing

  plaintiffs in complex and catastrophic injury cases, particularly in cases of healthcare

  liability and medical malpractice. The overwhelming majority of his medical

  malpractice matters are taken on a contingency fee basis, meaning that he is

  compensated only if he prevails on behalf of his client.

        21.    By any objective measure, Mr. Manookian has been enormously

  successful in his practice of law as a plaintiff’s-side medical malpractice attorney. He

  makes up much of the volume of complex medical malpractice claims in the State of

  Tennessee. Since 2015, Mr. Manookian has secured tens of millions of dollars in

  actual, paid recoveries for his clients. He has done so in a uniquely difficult area of

  law, representing victims without financial resources against institutional and large

  corporate defendants in cases where the outcome is the ultimate indicator of

  capability. Thus, as one of the most successful lawyers among only approximately

  twenty existing participants in the market for plaintiffs’ medical malpractice

  representation in the State of Tennessee, Mr. Manookian’s suspension has a genuine,

  significant, and appreciable negative impact on competition.

        22.    Mr. Manookian’s practice and skill have been recognized within the

  industry and by the public. He has been selected for myriad merit-based awards by

  publications such as Super Lawyers and the National Law Journal. He is peer-review

  rated AV Preeminent by Martindale-Hubbell for his legal ability and high ethical



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  standards. In 2016, Mr. Manookian served as the invited Key Note Speaker for

  Harvard Law School’s annual symposium on legislation. He is frequently cited and

  quoted by the media as an authority in the area of health care litigation.

        23.    Mr. Manookian’s success has been the result of hard work, skill, and

  substantial investment in perfecting his trade and business. He has committed years

  of education, tens of thousands of hours, and millions of dollars toward that end. His

  livelihood is the practice of law, and he has a protected property right in both his

  license to practice law and his right to earn a living.

        24.    As of September 18, 2018, Mr. Manookian held an unrestricted license

  to practice law. He had never been the subject of public discipline for his conduct as

  a lawyer. Nor had Mr. Manookian had a single formal or informal disciplinary

  complaint lodged against him by a client. Mr. Manookian’s law practice was

  generating millions of dollars in annual revenue at a firm he founded for the purpose

  of representing victims of wrongful conduct. His livelihood as an attorney was

  lucrative, professionally rewarding, and personally satisfying.

               The Tennessee Board of Professional Responsibility

        25.    The BPR is an administrative agency of the judicial branch of the State

  of Tennessee that is tasked with regulating the legal profession in the State of

  Tennessee. Among other things, it investigates and adjudicates lawyer disciplinary

  matters. The BPR is composed of twelve members who are nominated in a private,

  opaque process and appointed by the Tennessee Supreme Court. Under Tennessee



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  Supreme Court rules, nine BPR members must be engaged in the active practice of

  law in the State of Tennessee. Three other “public” members—only one of whom is

  required to be a non-lawyer—are appointed as well. Rule 9, § 4.1.

        26.    The BPR is dominated by active market participants in the legal

  industry who conduct official government business in almost uniformly private

  “executive sessions” without accountability to either the public or the professionals

  they regulate. The BPR is neither a judicial system nor a judicial entity. Its members

  are not state employees, judicial officers, state prosecutors, or legislators.

  Nevertheless, the BPR and its members are empowered to take adverse disciplinary

  action against their peers—other lawyers who compete against them—under color of

  state law.

        27.    Each defendant is a member of the BPR and a Tennessee-licensed

  lawyer engaged in the for-profit, private practice of law. Mr. Flippin is the current

  chairperson of the BPR, and Ms. Miller is the immediate past chairperson of the BPR.

  Each lawyer member of the board is a direct competitor of Mr. Manookian, and both

  Mr. Flippin and Ms. Miller are malpractice defense lawyers. Critically, Mr. Flippin

  also had active cases as opposing counsel to Mr. Manookian until Mr. Flippin

  and his colleagues forced Mr. Manookian to withdraw from those cases as a result of

  his temporary suspension. Thus, Mr. Flippin and Ms. Miller—in addition to their

  status as market participants and competitors—have a direct and immediate




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  pecuniary interest in Mr. Manookian’s suspension, posing a serious actual conflict of

  interest and the appearance of one.

        28.    Many of the BPR’s activities are not actively supervised by the State of

  Tennessee, as sovereign. The defendants and their agents, in their sole discretion,

  choose whom to investigate, charge, and discipline for what conduct. Some of the

  BPR’s decisions are reviewed by the Tennessee Supreme Court based upon a

  deferential standard in favor of the BPR and its recommendations after a public,

  adversarial hearing process and review by a lower judicial tribunal. Other BPR

  decisions—like Mr. Manookian’s temporary suspension—are affirmed directly by the

  Tennessee Supreme Court and in their entirety on a summary basis without any

  review of the underlying hearing record or any prior judicial review.

                    Summary of the Board’s Unlawful Conduct

        29.    On September 18, 2018, Mr. Manookian filed and served a defamation

  lawsuit against Judge Michael Binkley for making false and defamatory remarks

  about Mr. Manookian at a public hearing in a case not involving Mr. Manookian. Mr.

  Manookian issued a lawful subpoena to the BPR on the same day.

        30.    The next day, September 19, 2018, the BPR filed a petition for

  emergency temporary suspension claiming that Mr. Manookian represents a

  substantial threat to the public. Such a suspension can be obtained on an ex parte

  basis without providing the respondent due process of law, but it must be supported

  by an affidavit attesting to personal knowledge of the facts alleged.



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        31.    According to BPR disciplinary counsel William Moody, the central

  impetus for Mr. Manookian’s temporary suspension was an email that Mr.

  Manookian had sent to another lawyer that the BPR “took to be threatening.” Apart

  from being protected, out-of-court speech, the BPR had been aware of the email since

  before it originally opened a complaint into the matter August 8, 2019. In fact, the

  BPR allowed Mr. Manookian until at least September 21, 2018 to respond. The Board

  did not consider the email an emergency at the time.

        32.    The BPR was actually aware that Phillip North—the recipient of the

  purportedly threatening email—had voluntarily met with Mr. Manookian several

  times since he received the email that the BPR claims it “took to be threatening.” For

  example, North voluntarily attended a deposition where he was not counsel, a party,

  or witness and where he knew Mr. Manookian would be present.

        33.    That is, just a single day after Mr. Manookian sued a judge and issued

  the BPR a lawful subpoena, the defendants initiated an emergency temporary

  suspension against Mr. Manookian based on conduct that it was already

  investigating in the normal course on a non-emergency basis—only to short circuit

  its normal process and petition for an emergency suspension of Mr. Manookian’s

  license to practice law before Mr. Manookian’s response was due.

        34.    The BPR was aware of the optics that would reflect its unlawful motives.

  It was also aware that Mr. Manookian’s out-of-court speech was entitled to full First

  Amendment protection. As a result, it attempted to trump up its petition by including



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  years-old and in some cases decades-old examples of alleged misconduct dredged up

  from, for example, police records about an altercation between Mr. Manookian and a

  friend from 2004—years before he was deemed to have good moral character and

  fitness for the bar—and from Mr. Manookian’s divorce records.

          The Sham Impetus: Mr. Manookian’s Email to Phillip North

        35.    On June 20, 2018, Mr. Manookian was taking a deposition in a medical

  malpractice case, Shao v. Smith, in Tennessee state court, in which he represented

  the plaintiff. The defendant, a physician, was represented by lawyer Phillip North.

  During the deposition, Mr. Manookian received a voicemail from Phillip North’s

  brother, who is a retired county judge, Steve North. The voicemail stated:

        Brian, this is Steve North. I read with interest the article in the
        Nashville Post with regard to your controversy with Judge Brothers. I
        have some information that be of some help to you, and if you would give
        me a call at [number] I would be happy to discuss it with you.
        Thank you.

        36.    Judge North was referring to an article about Mr. Manookian’s motion

  for recusal of a current county judge, Judge Thomas Brothers, who was presiding over

  the Shao case. Mr. Manookian returned Judge North’s call the same day. Judge North

  provided Mr. Manookian concerning information about Judge Brothers that bore on

  Mr. Manookian’s motion for recusal.

        37.    Mr. Manookian—who had never met Judge North—did not want to

  proceed based on the information provided to him without first authenticating its




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  source. As a result, Mr. Manookian sent the voicemail to Phillip North and asked him

  to confirm that the voice in the recording was his brother, Judge North.

        38.    As a business practice at his law firm, Mr. Manookian uses software that

  determines when emails and attachments have been opened by recipients. Phillip

  North did not respond to Mr. Manookian’s email, but he opened the email and the

  attached recording repeatedly. Accordingly, Mr. Manookian emailed Phillip North

  again and asked him a second time to confirm whether Judge North was, in fact, the

  speaker in the voicemail.

        39.    Again, Phillip North did not respond. However, Judge North did. Judge

  North stated that he had seen Mr. Manookian’s characterizations of what Judge

  North had said and believed that those characterizations were not accurate.

        40.    Mr. Manookian was unsure what to think: Judge North—someone he

  did not know personally—had contacted him to provide information implicating

  another judge as having engaged in improprieties bearing directly on a pending

  motion for recusal. Now, however, Judge North appeared to be retracting his claims.

        41.    Mr. Manookian replied by recounting details of what Judge North had

  said, and he copied members of the press in the hopes of either compelling an honest

  response or relying on the fourth estate to ferret out the accuracy of his statements

  and vindicate the public interest. He wrote:




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        Phillip,

        I see that my email and attachments are being repeatedly opened at the
        IP address associated with the consumer Comcast cable account for
        [address], Madison, Tennessee.

        That address is the residential property where you have consistently
        lived with your parents (other than for a brief period of time from 1984-
        1986 where you rented unit [number] at [address]) until the North
        Family Trust essentially gifted you the property for $10.00. Upon
        investigation, this gifted piece of property in North Nashville, given to
        you for $10 by your parents, represents the sole piece of real property
        you own at 68 years of age.

        Further confirming that you have read my email, records additionally
        reflect that Mona Dale Cornwell North -- the woman for whom you left
        your wife and two minor daughters (Nicki and Neely) -- has registered a
        Jeep Grand Cherokee ([VIN], TN License Plate [number]) at the same
        address your parents gave you and where my email is being viewed.

        Please simply reply and confirm your brother Steve North’s voice.

        42.    Thereafter, on August 7, 2018, Phillip North’s counsel forwarded the

  email to the BPR. An investigation was opened in the normal course. A month and a

  half later, however—nearly immediately after Mr. Manookian filed a defamation

  lawsuit against a judge and issued the BPR a lawful subpoena regarding that

  lawsuit—the BPR abruptly stated that Mr. Manookian’s emails to the Norths

  constituted a substantial harm to the public warranting an emergency suspension.

              BPR’s Attempt to Falsely Paint Manookian as Violent

        43.    To shore up its allegations, the BPR’s petition included various other

  examples of older, unrelated allegations about Mr. Manookian’s conduct that were

  designed to paint a wildly inaccurate picture of Mr. Manookian. Among them, the




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  BPR dredged up abandoned allegations made by Mr. Manookian’s ex-wife in divorce

  proceedings several years before; a fight that Mr. Manookian had with a friend in

  college approximately a decade and a half ago; and a separate email sent to a different

  colleague, which the BPR had had in its possession for more than a year. Nonetheless,

  the BPR stated that the central, claimed basis for Mr. Manookian’s temporary

  suspension was the above-described email correspondence with Phillip North.

        44.    The BPR failed to disclose that the bulk of its allegations had occurred

  either before Mr. Manookian was a lawyer; had been known to the BPR for months

  or years without prompting any action; or were otherwise unproven, withdrawn,

  dismissed, expunged, or wholly unsubstantiated.

        45.    For example, in one case relating to a restraining order in a business

  dispute, the BPR itself had reviewed the matter and specifically found that “much of

  the alleged conduct, if proven to be true, would not constitute a violation of the Rules

  of Professional Conduct.” Thus, despite previously clearing Mr. Manookian regarding

  that matter, it used the same claims against him to retaliate against him for

  protected speech.

        46.    The BPR even went so far as to assert that a 2004 altercation between

  Mr. Manookian and a friend—while undergraduates—demonstrated that Mr.

  Manookian has a history of violence. The person with whom Mr. Manookian fought

  was and is a close personal friend and is now his client. More importantly, the BPR

  was aware of the incident when Mr. Manookian applied for admission to the bar, and



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  it determined that Mr. Manookian was of good moral character and fit for duty as

  a lawyer.

        47.    Not a single one of the allegations that the BPR made in its petition for

  temporary suspension involved a complaint by one of Mr. Manookian’s clients. Nor

  did a single one of the BPR’s allegations evidence any harm to one of Mr. Manookian’s

  clients. To the contrary, only the BPR’s suspension has harmed Mr. Manookian’s

  clients by forcing him to withdraw from their cases and find new counsel.

                   The BPR’s Suspect Conduct and Motivations

        48.    As explained above, the BPR changed course and sought an emergency

  suspension of Mr. Manookian’s license to practice law just a single day after Mr.

  Manookian sued a judge and issued the BPR a lawful subpoena. Its allegations were

  also based on existing disciplinary complaints that had been proceeding normally and

  that the BPR had conceded by its own actions were neither emergent nor exigent.

        49.    The two defendants who ratified, authorized, and continue to authorize

  the BPR’s course of action—Mr. Flippin and Ms. Miller—are competitors in the same

  narrow service market as Mr. Manookian. Critically, Mr. Flippin was also opposing

  counsel to Mr. Manookian in one or more active cases at the time the BPR suspended

  Mr. Manookian.

        50.    Mr. Flippin materially benefitted from Mr. Manookian’s temporary

  suspension, because it forced the withdrawal of one of his most formidable

  adversaries from pending and future cases.



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        51.    Since securing Mr. Manookian’s “temporary” suspension, the BPR has

  repeatedly defended the suspension from Mr. Manookian’s motions to dissolve it. Yet

  more than seven months later, it has not even initiated an underlying disciplinary

  complaint    regarding    the   supposed     violations   that   necessitated    Mr.

  Manookian’s suspension.

        52.    There is abundant evidence that the “substantial harm to the public”

  that the BPR has alleged to justify Mr. Manookian’s suspension does not exist. At the

  request of the BPR, Mr. Manookian underwent an exhaustive fitness for duty

  evaluation approved by the Tennessee Lawyers Assistance Program (TLAP). Mr.

  Manookian was cleared; it found he is a successful and skilled attorney who does not

  suffer from any form of major mental illness and that there is no objective evidence

  that he represents a danger to the public. The BPR was thus unwilling to accept the

  conclusions of the TLAP program to which they themselves refer lawyers. Instead, it

  demanded the underlying confidential and privileged reports, falsely claimed that

  Mr. Manookian objected to their production because he wanted to conceal negative

  aspects of the reports, and baselessly rejected the judgment of trained medical

  professionals on the basis that TLAP had not been able to review the underlying

  doctors’ reports.

        53.    Months after the panel raised questions about the report’s findings,

  TLAP’s executive director testified under oath at a dissolution hearing that it had




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  read both doctors’ reports and that its conclusions remained the same: Mr.

  Manookian does not pose a threat of harm to the public.

        54.    Despite the fact that Mr. Manookian has been declared fit for duty, the

  BPR concluded that Mr. Manookian had the duty to show good cause for dissolution

  of the suspension, and that his fitness for duty is insufficient to meet that burden. In

  effect, it determined that in order to establish good cause for dissolution, Mr.

  Manookian would first have to agree with and submit to the BPR’s findings that his

  suspension was justified.

        55.    The BPR’s central, claimed basis for its temporary suspension under the

  Tennessee Rules of Professional Conduct is that Mr. Manookian poses a “substantial

  harm to the public” because he poses a threat of physical violence to Phillip North

  and his family. However, the BPR has not identified a single rule of professional

  conduct that Mr. Manookian violated, nor has it articulated any legitimate threat to

  the public. Even if the BPR had demonstrated a true threat to Phillip North—and

  it did not—such a claim would not have been sufficient to justify a temporary

  suspension. The BPR’s purported basis for temporarily suspending Mr. Manookian’s

  law license for seven months and counting is a sham.

        56.    A temporary suspension is a drastic measure designed for severe and

  imminent threats to the public. It is an extraordinary remedy reserved for

  extraordinary circumstances; indeed, it must be, because it dispenses with traditional




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  due process protections for an accused lawyer—such as notice and a pre-deprivation

  hearing—in order to protect the public from imminent harm.

        57.    Temporary suspensions cannot be used to circumvent the process of a

  routine disciplinary case and cannot be used to punish—only to protect. A temporary

  suspension can endure only as long as necessary to safeguard the public from an

  actual, existing danger, and a hearing on the underlying conduct must proceed

  expeditiously once the temporary suspension has been granted.

        58.    The BPR has not even initiated a specific charge against Mr. Manookian

  in the underlying disciplinary investigations.

        59.    The types of conduct that justify a temporary suspension invariably

  involve direct, ongoing harm to the lawyer’s clients or felony criminal conduct.

  Examples include the following:

                  a. A lawyer’s indictment on charges of theft by unlawful taking and

                     theft by failure to make required disposition, and FBI received

                     numerous other complaints against him after his arrest justified

                     a temporary suspension. Inquiry Comm’n v. Butler, 514 S.W.3d

                     535 (Ky. 2017).

                  b. Lawyer convicted of felony sale of controlled substances within a

                     correctional   facility   was   temporarily   suspended   pending

                     resolution of appeal pending conviction and sentence. Miss. Bar

                     v. Jackson, 904 So. 2d 109 (Miss. 2004).



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                   c. Lawyer who pled guilty to second-degree theft by deception was

                      temporarily suspended pending final resolution of ethics

                      proceedings against her. In re Dade, 609 A.2d 431 (N.J. 1992).

                   d. Lawyer convicted of manslaughter and assault who had become

                      addicted to drugs and other opiates and also neglected his law

                      practice was temporarily suspended. In re Strick, 34 Cal. 3d

                      891 (1983).

                   e. Lawyer convicted of receipt of child pornography committed

                      sufficiently serious crime to warrant interim suspension pending

                      final disposition of disciplinary proceedings. In re Briggs, 984

                      N.Y.S. 2d 172 (3d Dep’t 2014).

        60.    In Tennessee, with the sole exception of Mr. Manookian’s suspension,

  temporary suspensions have uniformly involved a clearly articulated, imminent

  threat to the public. Specifically:

                   a. A lawyer was temporarily suspended March 3, 2017 for theft of

                      client funds to fund a gambling addiction. He was reinstated

                      March 22, 2017.

                   b. A lawyer was temporarily suspended August 16, 2018 because he

                      misappropriated client funds and thus posed a threat of

                      substantial harm to the public.




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                  c. A lawyer was temporarily suspended January 16, 2018 because

                     he failed to appear in court, his legal skills had “declined,” and he

                     had been abusing drugs.

                  d. A lawyer was temporarily suspended April 6, 2017 because he

                     exchanged legal services for sex and was the subject of an ongoing

                     federal corruption investigation.

                  e. A lawyer was temporarily suspended July 12, 2017 because his

                     behavior and appearance in court gave a reasonable belief that

                     his fitness to practice was impaired by drug abuse.

        61.    None of these cases involved a temporarily suspended lawyer as a

  consequence of his or her out-of-court speech.

        62.    The BPR has temporarily suspended Mr. Manookian for seven months

  and counting, and his “temporary” suspension remains one of indefinite duration.

  Because Mr. Manookian will not agree that his out-of-court, protected speech did not

  enjoy First Amendment protection, and because the BPR will not initiate a

  disciplinary petition regarding any supposed violation underlying his suspension, Mr.

  Manookian has been de facto disbarred from the practice of law in Tennessee.

        63.    Mr. Manookian has exhausted all administrative remedies, including by

  filing multiple petitions for dissolution of his temporary suspension, which to date

  have all been denied.




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        64.    The BPR takes the position that all previously determined matters may

  not be relitigated even under changed circumstances, foreclosing meaningful review.

        65.    The BPR’s administrative process does not allow Mr. Manookian to

  avert irreparable harm.

        66.    The BPR’s administrative process is inadequate and futile.

        67.    The BPR is unable to grant an effective remedy or consider the

  issues presented.

        68.    The BPR’s administrative remedies are plagued by systemic failures as

  a consequence of their procedural unconstitutionality.

        69.    Mr. Manookian’s challenge to the BPR’s administrative procedures

  themselves are not subject to exhaustion.

        70.    The BPR’s administrative process is tainted by unlawful agency bias

  and actual conflicts of interest.

                      The BPR’s Suspension Is Anticompetitive

        71.    Defendants’ plan and agreement to exclude Mr. Manookian is a

  horizontal group boycott: an agreement among competitors—in this case, lawyers—

  to exclude another horizontal competitor from the market. This is per se illegal

  conduct under Sherman Act, Section 1. Mr. Manookian’s exclusion—unlike other

  exclusions of a single competitor—appreciably harms competition because he is one

  of only approximately 20 participants in the market for plaintiffs’ medical

  malpractice representation in the State of Tennessee.



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        72.     Mr. Manookian is among the most successful of plaintiff-side medical

  malpractice lawyers and makes up much of the volume of complex medical

  malpractice claims. That is, Mr. Manookian’s involuntary removal from the market

  for plaintiff-side medical malpractice cases in Tennessee negatively affected

  competition itself because: (1) Mr. Manookian makes up a substantial part of this

  market, (2) Mr. Manookian is one of the highest-quality providers; and (3) there are

  significant barriers to entry into this market. Thus, plaintiff-side medical malpractice

  parties     now   have   fewer     and   lower    quality    options   following    Mr.

  Manookian’s suspension.

        73.     Defendants’ exclusion exceeded their authority under the rules of

  professional conduct, and the Tennessee Supreme Court did not actively supervise

  defendants’ conduct such that it actually considered its anticompetitive character and

  effects. Indeed, defendants failed to disclose their conflicts of interest and the

  anticompetitive nature of their conduct to the Tennessee Supreme Court.

  Accordingly, defendants’ conduct is not exempt from the antitrust laws under the

  state-action immunity.

                                   The Relevant Market

        74.     There are two possible relevant service markets. The first service

  market is the market for legal services. Any duly licensed Tennessee lawyer is

  authorized to provide legal representation on any type of matter within the State of

  Tennessee, provided that the lawyer is competent to do so.



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        75.    The second service market, and the one most relevant here, is the

  market for plaintiff-side medical malpractice representation. Plaintiffs’ medical

  malpractice representation in Tennessee has distinctive characteristics that separate

  it from other sectors of law practice.

        76.    The prosecution of medical malpractice cases requires highly specialized

  knowledge and experience, as well as massive labor and capital investments beyond

  that of typical litigation matters. Over the past decade, the Tennessee General

  Assembly has enacted increasingly high hurdles for plaintiffs seeking to bring claims

  against health care providers; requirements that range from mandatory pre-suit

  expert review to proof of localized standards of care and myriad other heightened

  evidentiary burdens. In practice, these additional statutory obligations ensure that

  even the most clear-cut cases of medical malpractice are subjected to vigorous,

  lengthy, and highly-technical defenses based upon both the law and the

  particularized medical care at issue.

        77.    As a result of Tennessee’s statutory scheme, both defendants and

  plaintiffs require counsel who are experienced malpractice lawyers to adequately

  represent their interests. Victims of medical malpractice, in particular, are almost

  universally unable to afford even the incidental costs associated with initiating and

  maintaining a suit—expenses such as hiring physician experts to review and opine

  on their care—much less pay out-of-pocket for an attorney to represent them.

  Attorneys considering taking on such matters must be prepared to do so a contingent



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  basis, advancing enormous expenses, with no guarantee of ultimately being

  compensated for their work.

        78.    The market for attorneys specializing in the prosecution of medical

  malpractice actions is minuscule. At the time of the acts giving rise to this Complaint,

  Mr. Manookian was one of approximately twenty lawyers in the entire State of

  Tennessee whose practice of law was dedicated primarily to the representation of

  victims of medical malpractice—a number that represents less than one-tenth of one

  percent (.1%) of all Tennessee-licensed attorneys.

        79.    Medical malpractice representation thus does not have any close

  substitutes, and there is limited cross-elasticity of demand for other types of

  representation. Although a lawyer with a general litigation practice could represent

  parties in a medical malpractice case, they are unlikely to be capable of doing so with

  sufficient efficiency and effectiveness.

        80.    The barriers to entry to the relevant market are insurmountably high

  for the overwhelming majority of lawyers. Detailed knowledge of both the

  substantive, specialized law and of highly localized standards of medical care across

  a vast number of specialties and procedures is necessary, but not sufficient. Lawyers

  seeking to represent plaintiffs in medical malpractice actions must also be willing to

  invest thousands of hours and risk hundreds of thousands of dollars in cases that can

  drag on for years—investments they may never recoup.




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        81.    The relevant geographic market is the State of Tennessee. Mr.

  Manookian is a Tennessee-licensed lawyer with a Tennessee-based practice. Law

  licenses are state specific; a lawyer licensed in one state cannot freely practice in

  another state, and to do so requires a different lawyer licensed in that state to serve,

  at a minimum, as local counsel.

        82.    There is little substitutability or cross-elasticity of demand for services

  of lawyers outside the jurisdiction. Although lawyers are allowed to practice in other

  jurisdictions if they are sponsored by local counsel, lawyers in other jurisdictions

  would be particularly disadvantaged in Tennessee medical malpractice cases, which

  proceed according to a detailed, Tennessee-specific statutory scheme, and there would

  be additional costs, such as the necessity of local counsel. Thus, consumers seeking

  medical malpractice representation in the State of Tennessee typically do not hire

  lawyers outside the State of Tennessee. From a practical perspective, it is vanishingly

  rare for a non-Tennessee lawyer to lead a plaintiff-side case in this market. Indeed,

  because of the particularly stringent requirements and disadvantages for plaintiff-

  side medical malpractice plaintiffs, there is little incentive for out-of-state attorneys

  to come into Tennessee and develop this specialty, even with local counsel.

                          Harm to Plaintiff and Competition

        83.    Defendants’ conduct has harmed and continues to harm Mr. Manookian:

  In September 19, 2018, the BPR “temporarily” but indefinitely suspended him from

  practicing law in the State of Tennessee. Since then, Mr. Manookian has been harmed



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  and will continue to be harmed by significant economic and financial loss, the loss of

  current and future business, and reputational damage.

        84.    Defendants additionally harmed Mr. Manookian by punishing him for

  his constitutionally protected, out-of-court speech and retaliating against him for

  exercising his First Amendment right to petition the government for the redress of

  grievances. Defendants deprived Mr. Manookian of due process and equal protection

  under the law by abusing facially unconstitutional procedures that allowed them to

  suspend him in a procedurally defective ex parte proceeding and despite their actual

  and perceived conflicts of interests regarding his suspension.

        85.    Defendants’ conduct has also harmed market competition. Unlike most

  exclusions of a single competitor, Mr. Manookian’s exclusion appreciably harms

  competition in the medical malpractice industry because he is one of only

  approximately twenty participants in the market for plaintiff-side medical

  malpractice representation in Tennessee and because he is among the most successful

  of those lawyers and makes up much of the volume of complex medical malpractice

  claims. His suspension has a genuine and significant negative impact on competition.

        86.    Thus, Mr. Manookian has suffered antitrust injury that flows from the

  defendants’ harm to the market.

                       State Action Immunity Does Not Apply

        87.    The BPR is not a sovereign state entity within the federal system, but

  instead is a quasi-public, quasi-private entity that is primarily composed of practicing



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  lawyers who compete with Mr. Manookian. Defendants are participants in the

  relevant markets, and some of them fiercely compete with Mr. Manookian in medical

  malpractice cases. Indeed, they have obtained direct and immediate competitive

  advantages as a result of Mr. Manookian’s exclusion.

        88.     Defendants        cannot   invoke    state-action      immunity   for        their

  anticompetitive conduct because their conduct was not clearly articulated and

  affirmatively expressed as state policy, and it is not sufficiently supervised by the

  State of Tennessee as sovereign. To the contrary, defendants violated their own rules

  in excluding Mr. Manookian from the market and withheld critical, relevant

  information     from      the     Tennessee       Supreme    Court       regarding         their

  anticompetitive behavior.

        89.     The Tennessee Supreme Court’s summary approval of the BPR’s

  petition for dissolution and recommendations against dissolution do not constitute

  active supervision. Under U.S. Supreme Court case law, a state supervisor must

  have—and must actually exercise—the power to review the challenged decision and

  must analyze its anticompetitive effect. Here, even if the Tennessee Supreme Court

  wanted to conduct such a review, it would not have been able to do so because

  defendants failed to disclose critical material facts to the court, including, among

  other things: (1) that the current and former chairs of the board—the position that

  authorizes    temporary    suspension     petitions—are     direct    competitors     of    Mr.

  Manookian; (2) that one of them directly benefitted competitively and monetarily



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  from Mr. Manookian’s suspension; and (3) that Mr. Manookian is one of only

  approximately 20 plaintiff-side medical malpractice lawyers in the state, and among

  the most competitively successful.

                                   FIRST CLAIM
                   42 U.S.C. § 1983 – First Amendment Violation

        90.    Plaintiff repeats each and every allegation contained in the paragraphs

  above and incorporates by reference each preceding paragraph as if fully set forth at

  length herein.

        91.    The First Amendment provides that Congress “shall make no law . . .

  abridging the freedom of speech, or of the press; or the right of the people peaceably

  to assemble, and to petition the Government for redress of grievances.” The First

  Amendment is incorporated and binding against the states under the Fourteenth

  Amendment’s Privileges and Immunities Clause.

        92.    The U.S. Supreme Court has held that

        disciplinary rules governing the legal profession cannot punish activity
        protected by the First Amendment, and that First Amendment
        protection survives even when the attorney violates a disciplinary rule
        he swore to obey when admitted to the practice of law.

  Gentile v. State Bar of Nevada, 501 U.S. 1030, 1054 (1991).

        93.    It has also said that state entities may only act to punish

        “true threats” [which] encompass those statements where the speaker
        means to communicate a serious expression of an intent to commit an
        act of unlawful violence to a particular individual or group
        of individuals.

  Virginia v. Black, 538 U.S. 343, 359 (2003).


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        94.    Defendants’ conduct has unlawfully restrained and punished Mr.

  Manookian’s freedom of speech. The BPR’s petition for temporary suspension, and its

  communications and actions relating to its enforcement, deprived Mr. Manookian of

  his protected property and liberty interests based on the content of his out-of-

  court speech.

        95.    The speech in question is Mr. Manookian’s email to Phillip North. The

  BPR claims that it “took it as threatening,” but it failed to distinguish a true threat

  from constitutionally protected speech.

        96.    Defendants cannot, as a matter of law, establish that Mr. Manookian’s

  speech was a true threat that was unequivocal, unconditional, immediate, and

  specific as to the person threatened and conveyed a gravity of purpose and the

  imminent prospect of execution. It cannot establish that Mr. Manookian

  communicated any serious expression of an intent to commit an act of unlawful

  violence to a particular individual or group of individuals.

        97.    Defendants drew inferences from Mr. Manookian’s speech that are not

  permissible under the true threat doctrine. Mr. Manookian’s speech, viewed in its

  context, does not establish that Mr. Manookian intended to commit violence against

  Phillip North, his family, or anyone else.

        98.    Mr. Manookian and Phillip North voluntarily attended depositions and

  other events without controversy after Mr. Manookian’s purported threat. Mr. North




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  and Mr. Manookian have been in the same room on at least four occasions since

  the email.

        99.    Moreover, defendants sought Mr. Manookian’s suspension under

  pretext. The actual purpose of defendants’ conduct was to retaliate against Mr.

  Manookian for exercising his First Amendment rights and remove him from the

  competitive market for legal services. More specifically, defendants retaliated against

  Mr. Manookian for exercising his right to petition the government by suing Judge

  Binkley for defamation and issuing the BPR a lawful subpoena.

        100.   Defendants’ actions cannot survive strict scrutiny. They had no

  compelling government interest in seeking a temporary suspension against Mr.

  Manookian. Moreover, temporarily suspending Mr. Manookian from the practice of

  law without due process or any meaningful adversarial hearing was not the least

  restrictive means of accomplishing any legitimate governmental objective.

        101.   Mr. Manookian has suffered significant damages as a result of

  defendants’ conduct, including direct economic losses of millions of dollars and

  additional damage to his reputation which, before defendants’ conduct, was a

  reputation for being one of the state’s most skilled and effective medical

  malpractice litigators.

        102.   Mr. Manookian requests that the Court enter an order declaring

  defendants’ conduct to be unlawful and that it enjoin defendants, in their official

  capacities, from continuing their retaliatory and unconstitutional course of conduct.



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  Moreover, Mr. Manookian requests compensatory damages against defendants sued

  in their individual capacities.

        103.   Defendants’ actions were intended to have, have had, and continue to

  have a chilling effect on Mr. Manookian’s constitutionally protected speech; harming

  both Mr. Manookian and undermining recipients’ right to hear and receive

  information. Unless defendants are enjoined, Mr. Manookian will suffer irreparable

  harm because he cannot exercise his constitutionally protected First Amendment

  rights without credible fear of continued and future reprisal.

                                   SECOND CLAIM
                       42 U.S.C. § 1983 – Due Process Violation

        104.   Plaintiff repeats each and every allegation contained in the paragraphs

  above and incorporates by reference each preceding paragraph as if fully set forth at

  length herein.

        105.   Lawyers have a protected property right in their law license such that

  attempts to restrict it require significant due process protections. See Barry v. Barchi,

  443 U.S. 55, 64 (1979); Mackey v. Montrym, 443 U.S. 1, 10 n.7 (1979).

        106.   In Tennessee, the right to earn a living is a fundamental right and a

  property right.

        107.   Tennessee     Rule   of   Professional   Conduct    Rule   9,   §   12.3   is

  unconstitutional on its face and as applied because it deprives Mr. Manookian and

  others to whom it is applied of their property rights without due process of law.




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        108.   As applied here, defendants deprived Mr. Manookian of his property

  right to practice law without a constitutionally adequate process, without presenting

  admissible evidence, and without meeting an adequate burden of proof.

        109.   Defendants and the BPR violated their own rules when petitioning for

  and approving Mr. Manookian’s suspension, because the BPR failed to support the

  petition with an affidavit attesting to personal knowledge of each of the facts alleged.

        110.   Defendants relied on unauthenticated documents and hearsay devoid of

  context and circumstances that would disprove the BPR’s self-serving narrative.

        111.   Defendants deprived Mr. Manookian of due process by suspending his

  license with the participation and leadership of BPR members who had a clear

  conflict-of-interest in that they and their clients directly benefited from Mr.

  Manookian’s suspension.

        112.   More than seven months have passed since defendants “temporarily”

  suspended Mr. Manookian’s law license. In that time, defendants have not proceeded

  with the underlying disciplinary proceedings that they claim formed the basis for Mr.

  Manookian’s temporary suspension.

        113.   Defendants have twice rejected Mr. Manookian’s petitions for

  dissolution by shifting the burden of proof for “good cause” to dissolve the suspension

  upon him.

        114.   The evidence presented by Mr. Manookian demonstrated that the basis

  for his suspension is not supportable.



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        115.    There is no emergent threat to the public justifying Mr. Manookian’s

  drastic, indefinite suspension.

        116.    Tennessee    Rule   of   Professional    Conduct      Rule   9,   §   12.3

  unconstitutionally requires a temporary suspension to remain in place until such

  time as the BPR exercises its unfettered discretion to dissolve the suspension or until

  such time as the aggrieved lawyer meets a burden to show “good cause” for dissolution

  of the suspension.

        117.    Tennessee Rule of Professional Conduct Rule 9, § 12.3 provides no

  meaningful opportunity to be heard, and it contains no requirement that the

  underlying charges be prosecuted.

        118.    Thus, as occurred here, Tennessee Rule of Professional Conduct Rule 9,

  § 12.3 allows defendants to deprive any lawyer of his or her property interest

  indefinitely without ever having to meet their evidentiary burden in an adversarial

  proceeding.

        119.    Tennessee Rule of Professional Conduct Rule 9, § 12.3 is facially

  unconstitutional because there is no set of circumstances where the rule would

  provide adequate due process protections. It is also unconstitutional as applied to Mr.

  Manookian based on the defendants’ failure to adhere to its own published processes

  and the actual and perceived conflicts of interest regarding him.

        120.    Mr. Manookian has suffered significant damages as a result of

  defendants’ conduct, including direct economic losses of millions of dollars.



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        121.      Mr. Manookian requests that the Court enter an order declaring that

  Rule 9, § 12.3 is unconstitutional both facially and as applied. He further requests

  that the Court enjoin defendants from utilizing the “good cause” standard of § 12.3 or

  otherwise placing the burden of proof on Mr. Manookian or others; enjoin defendants

  from taking emergent action against his law license without substantial, sworn

  evidence; enjoin defendants from violating their own procedural rules; and enjoin the

  defendants from suspending Mr. Manookian’s law license based upon any evidence

  that is not admissible under the rules of evidence.

                                      THIRD CLAIM
                      42 U.S.C. § 1983 – Equal Protection Violation

        122.      Plaintiff repeats each and every allegation contained in the paragraphs

  above and incorporates by reference each preceding paragraph as if fully set forth at

  length herein.

        123.      The Fourteenth Amendment to the United States Constitution provides

  that a State shall not “deny to any person within its jurisdiction the equal protection

  of the laws.”

        124.      Defendants “temporarily” but indefinitely suspended Mr. Manookian

  from practicing law, claiming that he represented a substantial threat of harm to

  the public.

        125.      Defendants’ real purpose in suspending Mr. Manookian’s law license

  was: (1) to retaliate against Mr. Manookian for exercising his constitutionally

  protected rights to free speech and to petition the government for the redress of


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  grievances; and (2) to retaliate against Mr. Manookian to exclude one of the state’s

  most successful medical malpractice lawyers from the market to the direct

  competitive and pecuniary benefit of the current and former chairpersons of the BPR.

        126.   By doing so, defendants intentionally singled Mr. Manookian out for

  disparate treatment. Defendants’ intentional disparate treatment of Mr. Manookian

  was not rationally based on any legitimate government interest.

        127.   Defendants’ conduct was driven by animus and ill will.

        128.   Mr. Manookian has suffered significant damages as a result of

  defendants’ conduct, including direct economic losses of millions of dollars and

  damage to his reputation.

        129.   Mr. Manookian requests that the Court enter an order declaring

  Defendants’ conduct to be unlawful and enjoin defendants, in their official capacities,

  from unconstitutionally retaliating against Mr. Manookian.

        130.   Mr. Manookian requests compensatory damages against defendants

  sued in their individual capacities.

                                   FOURTH CLAIM
                    15 U.S.C. § 1 – Conspiracy to Restrain Trade

        131.   Plaintiff repeats each and every allegation contained in the paragraphs

  above and incorporates by reference each preceding paragraph as if fully set forth at

  length herein.

        132.   Defendants’ conduct violates Section 1 of the Sherman Act, 15 U.S.C.

  § 1, because the BPR, along with individual market-participant defendants, entered


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  into an agreement to exclude one of the state’s most competitively successful medical

  malpractice lawyers, Mr. Manookian, from the market.

        133.   This agreement afforded direct competitive and pecuniary benefits to

  the current and former chairpersons of the BPR.

        134.   Defendants’ agreement included their decision to sanction and punish

  Mr. Manookian with a “temporary” but indefinite suspension that excluded him from

  the market; to actively publicize that decision to the media; and to resist all efforts

  by Mr. Manookian to petition for dissolution of the suspension.

        135.   Defendants—Mr.      Manookian’s     market    competitors—reached      an

  agreement to engage and did in fact engage in multiple overt acts to remove a fierce

  competitor from the market for pretextual reasons.

        136.   Defendants’ conduct is a per se illegal violation of Section 1 of the

  Sherman Act because it involves a horizontal agreement among competitors to

  allocate markets and boycott and exclude a competitor, Mr. Manookian.

        137.   Alternatively, defendants’ conduct is unlawful under the rule of reason

  or quick-look analysis.

        138.   Defendants have sufficient market and monopoly power over the

  relevant service markets to appreciably restrain free competition in these markets.

  In fact, they have that power as a matter of law. Defendants’ exercise of that power

  did, in fact, significantly restrain one or more markets, which harmed competition in

  a way that was not otherwise correctable because of significant entry barriers.



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        139.   Defendants’ conduct and agreements harm competition in the relevant

  markets by excluding Mr. Manookian from competing with them.

        140.   Defendants’ conduct and agreements have and will increase prices—

  including by decreasing settlement values—and decrease the quality and quantity of

  services in the relevant service markets.

        141.   As a result of defendants’ anticompetitive conduct, Mr. Manookian has

  and will continue to be injured through significant economic and financial loss, the

  loss of current and future business, reputational damage, and the inability or

  difficulty to obtain funds already earned. Thus, Mr. Manookian has suffered antitrust

  injury that flows from the defendants’ harm to the market.

        142.   Defendants’ conduct and agreements were intended to and did

  substantially harm interstate commerce. Although the geographic market is local—

  plaintiff medical malpractice lawyers in Tennessee—defendants’ anticompetitive

  conduct affects interstate commerce as many of the players affected by this market

  are national, or at least interstate, companies including hospitals and insurance

  companies. Health care markets themselves involve interstate commerce.

        143.   Defendants’ agreements and conduct do not qualify for state-action

  immunity, nor are they reasonably related to any efficiencies or other benefits

  sufficient to justify their harmful effects on competition in the relevant markets.

        144.   The anticompetitive harm from defendants’ conduct substantially

  outweighs any efficiency and competitive benefits.



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        145.   Plaintiff is entitled to recover treble damages under 15 U.S.C. § 15 and

  injunctive relief under 15 U.S.C. § 26.

                                REQUEST FOR RELIEF

        WHEREFORE, Mr. Manookian requests that this Court:

               A.     Enter judgment against defendants;

               B.     Declare that Tennessee Rule of Professional Conduct 9, § 12.3 is

            unconstitutional facially and as applied;

               C.     Declare that defendants’ conduct violates 15 U.S.C. § 1;

               D.     Enjoin defendants from continuing their unlawful acts;

               E.     Order defendants to dissolve Mr. Manookian’s suspension;

               F.     Award     Mr.   Manookian    damages    for   violations   of    his

            constitutional rights, including, but not limited to, actual damages and

            punitive damages;

               G.     Award Mr. Manookian trebled damages under 15 U.S.C. § 15.

               H.     Award Mr. Manookian his costs and expenses of this action,

            including his reasonable attorneys’ fees necessarily incurred in bringing

            and pressing this case, as provided in 15 U.S.C. §§ 15, 26 and 42 U.S.C. §

            1988;

               I.     Award Mr. Manookian pre- and post-judgment interest at the

        applicable rates on all amounts awarded; and

               J.     Order any other such relief as the Court deems appropriate.



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                           DEMAND FOR JURY TRIAL

           Plaintiff hereby demands a trial by jury on all claims.

  DATED: April 29, 2019                      By:

                                             /s/ Daniel Horwitz


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                                              aaron.gott@bonalawpc.com

                                              Counsel for Plaintiff




  1.    Any attorney’s fee awarded to Mr. Manookian and earned by Mr. Horwitz shall
  be donated to the First Amendment Center.


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                                                                                  Ex. 9
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   11
         Lead Counsel for Plaintiff
   12

   13                  IN THE UNITED STATES DISTRICT COURT
   14               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   15    BRIAN P. MANOOKIAN,                     Case No.: '21CV0562 WQHBLM
   16                Plaintiff,
   17          v.                                COMPLAINT FOR (1) LEGAL
   18    BONA LAW P.C., JAROD BONA,              NEGILIGENCE AND (2) BREACH
         DAVID CODELL, AARON GOTT,               OF FIDUCIARY DUTY
   19    LUKE HAASKAMP, AND LUIZ
         BLANQUEZ,                               JURY TRIAL DEMANDED
   20
                     Defendants.
   21

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               COMPLAINT FOR (1) LEGAL NEGILIGENCE AND (2) BREACH OF FIDUCIARY DUTY
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    1          For his complaint, Plaintiff Brian P. Manookian alleges the following upon
    2   actual knowledge with respect to himself and his own acts, and upon information
    3   and belief as to all other matters:
    4                             NATURE OF THE ACTION
    5          1.    The Defendants (collectively “the Bona Parties”) are lawyers and a
    6   law firm that hold themselves out to be specialists in the areas of anti-trust and
    7   appellate law. The Plaintiff is an individual that retained the Bona Parties to file a
    8   federal antitrust lawsuit (“the Antitrust Suit”) on his behalf which sought recovery
    9   of significant economic, non-economic, and punitive damages as a result of
   10   wrongful conduct perpetrated on Mr. Manookian by certain third parties.
   11          2.    The Antitrust Suit was well-founded in fact and law, and the Bona
   12   Parties repeatedly attested to the same by presenting and signing pleadings in the
   13   matter. The Antitrust Suit was ultimately dismissed by the United States Sixth
   14   Circuit Court of Appeals because the Bona Parties missed a mandatory filing
   15   deadline by over one hundred and twenty (120) days.
   16          3.    This lawsuit seeks compensatory and punitive damages against the
   17   Bona Parties. The Bona Parties failure to recognize and meet a mandatory filing
   18   deadline constitutes legal malpractice, legal negligence, and breach of fiduciary
   19   duties.
   20                            JURISDICTION AND VENUE
   21          4.    The Court has original jurisdiction over this matter pursuant to
   22   28 U.S. Code § 1332 because the amount in controversy exceeds seventy-five
   23   thousand dollars ($75,000) and is between citizens of different States.
   24          5.    Venue is proper in this Court under 28 U.S.C. § 1391 because a
   25   substantial part of the events or omissions giving rise to this action occurred in this
   26   district.
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    1                                       PARTIES
    2          6.    Plaintiff Brian Manookian is a U.S. citizen and resident of the State
    3   of Tennessee.
    4          7.    Defendant Bona Law P.C. (“Bona Law”) is a professional corporation
    5   licensed to do business in the State of California. Bona Law may be served with
    6   process at 4275 Executive Square, Suite 200, La Jolla, California, 92037 through
    7   its registered agent for service of process, Jarod Bona.
    8          8.    Defendant Jarod Bona is a United States citizen and resident of the
    9   State of California. Defendant Bona is an attorney licensed to practice law in the
   10   State of California. He may be served with process at 4275 Executive Square,
   11   Suite 200, La Jolla, California, 92037.
   12          9.    Defendant David Codell is a United States citizen and resident of the
   13   State of California. Defendant Codell is an attorney licensed to practice law in the
   14   State of California. He may be served with process at 145 South Orange Drive,
   15   Los Angeles, California, 90036.
   16          10.   Defendant Aaron Gott is a United States citizen and resident of the
   17   State of Minnesota. Defendant Gott is an attorney licensed to practice law in the
   18   State of Minnesota. Aaron Gott practices law in the United States Southern
   19   District of California. He may be served with process at 315 1st Avenue Northeast,
   20   Apartment 1951, Minneapolis, Minnesota, 55413.
   21          11.   Defendant Luke Haaskamp is a United States citizen and resident of
   22   the State of Minnesota. Defendant Haaskamp is an attorney licensed to practice
   23   law in the State of Minnesota. Luke Haaskamp practices law in the United States
   24   Southern District of California. He may be served with process at 5261 East
   25   Abbeyfield Street, Long Beach, CA 90815.
   26          12.   Defendant Luiz Blanquez is a United States citizen and resident of
   27   the State of California. Defendant Blanquez is an attorney licensed to practice law
   28   in the State of California. Luis Blanquez practices law in the United States
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    1   Southern District of California. He may be served with process at 4275 Executive
    2   Square, Suite 200, La Jolla, California, 92037.
    3          13.   Each Defendant (collectively “the Bona Parties”) acted as the
    4   principal of or agent for each other Defendant as to the acts, violations, and
    5   common course of conduct alleged in this complaint.
    6          14.   Defendants and their agents participated personally in the unlawful,
    7   negligent, and tortious conduct challenged in this complaint and, to the extent they
    8   did not personally participate, they authorized, acquiesced, set in motion, or
    9   otherwise failed to take necessary steps to prevent the acts complained of in this
   10   complaint.
   11                          SUBSTANTIVE ALLEGATIONS
   12          15.   Mr. Manookian is a highly skilled and successful lawyer who has
   13   practiced law in Tennessee for over a decade. He graduated with honors from
   14   Vanderbilt Law School on scholarship in 2007 where he served as an editor for the
   15   Vanderbilt Law Review.
   16          16.   Since approximately 2015, Mr. Manookian has focused his legal
   17   practice on the representation of plaintiffs injured by the medical malpractice of
   18   physicians, hospitals, and health care providers. His practice was highly lucrative.
   19   Mr. Manookian annually recovered tens of millions of dollars on behalf of his
   20   clients and was highly compensated as a result.
   21          17.   On March 20, 2019, Mr. Manookian retained the Bona Parties to
   22   represent him in the Antitrust Suit. The Antitrust Suit alleged, among other things,
   23   that Mr. Manookian’s competitors had acted to illegally exclude him from the
   24   market for legal services, thereby resulting in millions of dollars of damages to
   25   Mr. Manookian in the form of actual, demonstrable lost income as well as
   26   additional reputational damage.
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               COMPLAINT FOR (1) LEGAL NEGILIGENCE AND (2) BREACH OF FIDUCIARY DUTY
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    1          18.   In furtherance of their arrangement, Mr. Manookian and Defendant
    2   Jarod Bona executed an attorney-client engagement agreement, and Mr.
    3   Manookian paid a fee to the Bona Parties.
    4          19.   The Antitrust Suit was filed on April 29, 2019 in the United States
    5   District Court for the Middle District of Tennessee.         The case was styled
    6   Manookian v. Flippin, et al. and assigned Case No. 19-cv-00350. The Complaint
    7   in that matter accurately sets forth the claims the Bona Parties were retained to
    8   prosecute, and to which they certified had factual and legal merit.
    9          20.   The allegations in the Antitrust Suit were well-founded in fact and
   10   law. The Bona Parties undertook an investigation of the factual and legal bases
   11   for the Antitrust Suit prior to its filing and concluded that it had merit and was
   12   non-frivolous.
   13          21.   The Bona Parties repeatedly certified the merits of the Antitrust Suit;
   14   consistently expressing the same to Mr. Manookian. Toward that end, the Bona
   15   Parties issued a press release upon the filing of the Antitrust Suit publicly
   16   proclaiming its meritorious nature and further posted at least one article regarding
   17   the meritorious nature of the Antitrust Suit to the Bona Law website.
   18          22.   On February 28, 2020, the United States District Court for the Middle
   19   District of Tennessee issued an order (“the Negligently Appealed Order”), among
   20   other things, dismissing Mr. Manookian’s claims for damages in the Antitrust Suit.
   21          23.   Shortly after the issuance of the Negligently Appealed Order, the
   22   Bona Parties assured Mr. Manookian that the Order was legally unsound and
   23   should be appealed. The Bona Parties expressly stated to Mr. Manookian in at
   24   least two (2) phone calls that United States District Court Judges are frequently
   25   unfamiliar with the nuances of antitrust law and that the Negligently Appealed
   26   Order would, in the view of the Bona Parties, be overturned on appeal.
   27

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               COMPLAINT FOR (1) LEGAL NEGILIGENCE AND (2) BREACH OF FIDUCIARY DUTY
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    1          24.   The Bona Parties subsequently assured Mr. Manookian on multiple
    2   occasions that the Negligently Appealed Order was not final and therefore not
    3   subject to the thirty (30) day deadline for appeal.
    4          25.   As a result, the Bona Parties only filed a Notice of Appeal for the
    5   Negligently Appealed Order one hundred and seventy-seven (177) days later.
    6          26.   On January 5, 2021, the United States Court of Appeals for the Sixth
    7   Circuit issued an opinion finding that the Bona Parties, on behalf of Mr.
    8   Manookian, had missed the deadline for filing the Notice of Appeal by one
    9   hundred and seventy-seven (177) days.
   10          27.   As a result, Mr. Manookian’s substantial claims for damages (the
   11   merit of which the Bona Parties attested to in scores of emails, press releases,
   12   laudatory articles, and federally filed pleadings) have been forever waived, lost,
   13   and foregone.
   14          28.   Following the issuance of the Sixth Circuit’s opinion, David Codell
   15   and Jarod Bona wrote to Brian Manookian falsely and fraudulently characterizing
   16   the Sixth Circuit’s holding in an attempt to evade liability for their own negligence
   17   and gross recklessness. The Bona Parties additionally stated that any further
   18   attempts to appeal would be futile.
   19                                    FIRST CLAIM
   20                                    Legal Negligence
   21          29.   Plaintiff repeats each and every allegation contained in the paragraphs
   22   above and incorporates by reference each preceding paragraph as if fully set forth
   23   at length herein.
   24          30.   An attorney-client relationship existed between Brian Manookian and
   25   each of the Bona Parties.
   26          31.   As Brian Manookian’s legal counsel, the Bona Parties owed Mr.
   27   Manookian a duty of reasonable care for all matters on which the Bona Parties
   28   acted on Mr. Manookian’s behalf.
                                                  6
               COMPLAINT FOR (1) LEGAL NEGILIGENCE AND (2) BREACH OF FIDUCIARY DUTY
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    1          32.   The Bona Parties breached the applicable standard of care by
    2   committing the acts or omissions described above.
    3          33.   The negligence of the Bona Parties has directly and proximately
    4   caused damage to Brian Manookian in an amount to be determined at trial but not
    5   less than twenty million dollars ($20,000,000).
    6                                  SECOND CLAIM
    7                              Breach of Fiduciary Duty
    8          34.   Plaintiff repeats each and every allegation contained in the paragraphs
    9   above and incorporates by reference each preceding paragraph as if fully set forth
   10   at length herein.
   11          35.   The Bona Parties, as licensed legal professionals, owed a fiduciary
   12   duty to Brian Manookian under which they were required to represent him with
   13   the utmost care, diligence, honesty, and competency.
   14          36.   The Bona Parties breached their fiduciary duties to Brian Manookian
   15   by committing the acts described above.
   16          37.   As a direct and proximate cause of the breaches of fiduciary duties
   17   owed Brian Manookian, the Bona Parties have caused damages to Mr. Manookian
   18   in an amount to be determined at trial but not less than twenty million dollars
   19   ($20,000,000).
   20                              REQUEST FOR RELIEF
   21          WHEREFORE, Mr. Manookian requests that this Court:
   22          A.    Enter judgment against Defendants for direct and consequential
   23   damages not less than twenty million dollars ($20,000,000);
   24          B.    Enter judgment against Defendants for punitive damages;
   25          C.    Award Mr. Manookian pre- and post-judgment interest at the
   26   applicable rates on all amounts awarded; and
   27          D.    Order any other such relief as the Court deems appropriate.
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               COMPLAINT FOR (1) LEGAL NEGILIGENCE AND (2) BREACH OF FIDUCIARY DUTY
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    1                            DEMAND FOR JURY TRIAL
    2          Plaintiff hereby demands a trial by jury on all claims.
    3

    4    Dated: March 30, 2021                         JOHNSON FISTEL, LLP
    5                                            By: /s/ Frank J. Johnson
    6
                                                       FRANK J. JOHNSON

    7
                                                       KRISTEN O’CONNOR
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    8
                                                       San Diego, CA 92101
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   15                                                  Telephone: (615) 983-8900
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                                                       john@spragenslaw.com
   17
                                                       Lead Counsel for Plaintiff
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               COMPLAINT FOR (1) LEGAL NEGILIGENCE AND (2) BREACH OF FIDUCIARY DUTY
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                            EXHIBIT “10”
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                     IN THE UNITED STATES DISTRICT COURT

                 FOR THE MIDDLE DISTRICT OF TENNESSEE

                               NASHVILLE DIVISION


   BRIAN P. MANOOKIAN,
                                            Civil Action No. 3:19-cv-00350
                         Plaintiff,
                                            Judge William L. Campbell, Jr.
               vs.
                                            Magistrate Judge Alistair Newbern
   FLOYD FLIPPIN et al.,

                         Defendants.


      MEMORANDUM OF LAW IN OPPOSITION TO MOTION TO DISMISS




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                                                                                  081
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          Plaintiff Brian P. Manookian hereby responds to defendants’ motion to dismiss

  his complaint.

          Mr. Manookian’s complaint makes well-supported allegations that defendants

  violated Mr. Manookian’s clearly established First Amendment, equal protection, and

  due process rights. Critically, defendants’ motion to dismiss does not address

  the merits of those claims in any regard. Accordingly, defendants have waived,

  for purposes of their motion to dismiss, any arguments regarding the merits of Mr.

  Manookian’s constitutional claims.

          Defendants’ motion does seek, however, to have Mr. Manookian’s claims

  dismissed based on a series of immunity arguments. For the reasons provided below,

  each of those immunity arguments is unpersuasive.

          It is undisputed for purposes of defendants’ motion that Mr. Manookian is a

  highly successful and specialized Tennessee lawyer—one of only about twenty

  lawyers who compete as medical malpractice victim advocates in the state. See ¶ 78. 1

  Mr. Manookian has been one of the industry’s top practitioners in his field in

  Tennessee with a stellar reputation among his peers—in particular, for his work in a

  challenging area: representing victims without financial resources against large,

  institutional corporate defendants. See ¶¶ 21–24.

          Defendants are all members of the Tennessee Board of Professional

  Responsibility (BPR)—a quasi-public, quasi-private entity that regulates the practice

  of law by attorneys in Tennessee. See ¶¶ 5–16. The members of the BPR are



  1.      Paragraph references are to the complaint filed April 29, 2019.


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  themselves attorneys who compete for business with the professionals they also

  regulate. Id. In particular, two of the defendant BPR members are malpractice

  defense attorneys, and one was opposing counsel against Mr. Manookian in pending

  cases at times relevant to the allegations in the complaint. See ¶ 27.

        As the complaint alleges in detail, in 2018, the BPR took the astonishing step

  of petitioning the Tennessee Supreme Court on an ex parte basis to temporarily

  suspend Mr. Manookian from the practice of law on a supposedly “emergency” basis

  just one day after he filed a defamation lawsuit against a state-court judge and served

  a subpoena on the BPR related to that lawsuit. See ¶¶ 29–30. Among the purported

  bases of the suspension was a constitutionally protected email that Mr. Manookian

  sent to another lawyer. See ¶ 31. After Mr. Manookian filed this lawsuit, the

  suspension was lifted, with conditions. As detailed in the complaint, however, the

  BPR continues to take action against Mr. Manookian. ¶¶ 62–70.

        All of defendants’ arguments for dismissal of the complaint fail. First,

  defendants assert, with respect to Mr. Manookian’s antitrust claims, that the order

  suspending Mr. Manookian was an act of a sovereign entitled to state-action

  immunity under Parker v. Brown, 317 U.S. 341 (1943). Defendants fail to

  demonstrate entitlement to that limited form of immunity because, among other

  reasons, the role of the Tennessee Supreme Court in the actions that Mr. Manookian

  challenges was too routine to satisfy Parker’s active supervision requirement, and

  material information was withheld from that court. Moreover, the complaint includes

  antitrust claims against defendants in their individual capacities, not simply their




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  official capacities, and alleges that defendants violated the antitrust laws not merely

  because of the BPR’s actions, but also in their roles as competitors and prospective

  competitors who used their unique positions on the BPR as a means to help them

  restrain trade.

        Second, defendants assert that Eleventh Amendment sovereign immunity bars

  damages suits against BPR members in their official capacities—an argument that

  overlooks the fact that Mr. Manookian’s complaint seeks damages against them in

  their individual capacities. See ¶¶ 5–13.

        Third, defendants contend that they are protected against all claims in both

  their individual and official capacities by absolute quasi-prosecutorial and quasi-

  judicial immunity. Under governing case law, however, absolute immunity of the sort

  defendants invoke depends on the existence of adequate due process protections that

  were utterly lacking here, while actual bias and conflicts of interests were present.

        Fourth, defendants argue that qualified immunity bars damages claims

  against them in their individual capacities. It is defendants’ burden to demonstrate

  qualified immunity. Yet defendants cannot cite to any authority (because none exists)

  that the doctrine of qualified immunity applies to antitrust claims, and defendants

  do not make any qualified immunity argument whatsoever about Mr. Manookian’s

  constitutional claims.

        Fifth, defendants invoke Younger v. Harris abstention as a purported ground

  to bar this federal court from adjudicating Mr. Manookian’s claims. Among the

  numerous reasons why defendants’ appeals to Younger abstention fail are that




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  Younger abstention does not apply to antitrust claims because federal courts have

  exclusive jurisdiction over such claims and no state tribunal or body can afford

  effective relief; Mr. Manookian has credibly alleged that defendants are financially

  biased, which case law makes clear precludes applicability of Younger abstention; Mr.

  Manookian’s claims include claims that the individual defendants violated antitrust

  law in their capacities as competitors, not simply as BPR members; and Younger

  abstention cannot apply to Mr. Manookian’s claims for either damages or prospective

  relief. See ¶¶ 49–51, 71–73.

           Sixth, and finally, defendants unsuccessfully call upon another doctrine—the

  Rooker-Feldman doctrine—to contend that this federal court must dismiss Mr.

  Manookian’s complaint. But the complaint includes challenges to defendants’ actions

  and seeks forms of relief (including a constitutional challenge to Tennessee Supreme

  Court Rule 9) that are not related to the types of completed state-court judicial actions

  to which the Rooker-Feldman doctrine is limited.

           For all these reasons, as explained below, this Court should deny defendants’

  motion and permit all of Mr. Manookian’s claims to proceed on the merits.

   I.      LEGAL STANDARD

           Under Federal Rule of Civil Procedure 8(a)(2), a complaint must contain “a

  short and plain statement of the claim showing that the pleader is entitled to relief”

  and “will survive a motion to dismiss if the plaintiff alleges facts that ‘state a claim

  to relief that is plausible on its face’ and that, if accepted as true, are sufficient to

  ‘raise a right to relief above the speculative level.’ ” Handy-Clay v. City of Memphis,

  695 F.3d 531, 538 (6th Cir. 2012) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,


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   555, 570 (2007)). “In reviewing a complaint, [a court] construe[s] it in the light most

   favorable to the plaintiff, accept[s] its allegations as true, and draw[s] all reasonable

   inferences in favor of the plaintiff.” Mills v. Barnard, 869 F.3d 473, 479 (6th Cir. 2017)

   (citation and internal quotation marks omitted). Dismissal is appropriate only if “it

   appears beyond doubt that the plaintiff can prove no set of facts in support of his

   claim which would entitle him to relief.” Guzman v. U.S. Dep’t of Homeland Sec., 679

   F.3d 425, 429 (6th Cir. 2012) (citation omitted).

  II.      DEFENDANTS DO NOT MEET THEIR BURDEN TO SHOW THAT
           THEY ARE EXEMPT FROM THE SHERMAN ACT

           The bulk of defendants’ antitrust arguments focuses on the Tennessee

   Supreme Court’s role in routinely approving temporary suspensions, often without

   modification or apparent meaningful review. Defendants appear to argue that

   because the temporary suspension for which they petitioned was entered by the

   Tennessee Supreme Court, they either are not liable or are entitled to the ipso facto

   state-action immunity that a state supreme court would be entitled to under certain

   circumstances. That proposition is wholly unsupported by precedent, however, as

   only the state itself is ipso facto exempt from the operation of the Sherman Act. Other

   actors must meet the state-action immunity test, and defendants do not.

           Defendants’ alternative argument is that the Tennessee Supreme Court’s act

   of granting the petition for temporary suspension satisfies the active supervision

   requirement. But that court action does not meet the “constant requirements” for

   active supervision: the supervisor must actually exercise its independent authority

   to review the non-sovereign’s decision for its specific anticompetitive effects. N.C.



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  State Bd. of Dental Exam’rs v. FTC, 135 S. Ct. 1101, 1107 (2015). The complaint

  credibly alleges that the Tennessee Supreme Court did not do so. See ¶¶ 87–89. 2

        Defendants notably fail to address the other requirement for state action

  immunity—clear articulation—an essential element for which defendants bear the

  burden. Because defendants failed even to attempt to meet their burden, this Court

  should deny their motion to dismiss.

        A.     State-Action Immunity Is Limited and Disfavored

        The federal antitrust laws are the “central safeguard for the Nation’s free

  market structures” and have been for more than a century. N.C. Dental, 135 S. Ct. at

  1109. They “guarantee[] each and every business, no matter how small, . . . the

  freedom to compete.” United States v. Topco Assocs., 405 U.S. 596, 610 (1972). This

  “national policy in favor of competition,” Cal. Retail Liquor Dealers Ass’n v. Midcal

  Aluminum, Inc., 445 U.S. 97, 106 (1980), is so important to the national interest that

  Congress trusts its adjudication to the federal courts alone.

        States do not have the power to set aside the well-settled judgment of Congress,

  but they do have the residual power to regulate under the Tenth Amendment. So the

  Court carved out a narrow exemption for state action: the Sherman Act does not “bar

  States from imposing market restraints ‘as an act of government.’ ” FTC v. Phoebe



  2.     There is abundant evidence to support this allegation. For instance, the BPR’s
  desired temporary suspension order was entered verbatim and in acknowledged
  violation of the Tennessee Supreme Court’s own rules requiring that the underlying
  allegations be supported by affidavit, and subsequent hearing panel
  recommendations were approved verbatim by the Tennessee Supreme Court before
  the hearing record was reviewed or even could have been reviewed by the Justices
  who approved them.


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   Putney Health Sys, Inc., 568 U.S. 216, 224–25 (2013) (quoting Parker, 317 U.S. at

   350, 352). Established in Parker, this narrow exemption is now referred to as the

   state-action immunity, although it is technically an exemption from liability and not

   an immunity from suit. Id.

         Like all antitrust exemptions, state-action immunity is strictly limited,

   narrowly circumscribed, and “disfavored.” Phoebe Putney, 568 U.S. at 225 (quoting

   FTC v. Ticor Title Ins. Co., 504 U.S. 621, 636 (1992)); see also Shames v. Cal. Travel

   & Tourism Comm’n, 626 F.3d 1079, 1084 (9th Cir. 2010) (“The state-action immunity

   doctrine is ‘disfavored,’ and is to be interpreted narrowly, as ‘a broad interpretation

   of the doctrine may inadvertently extend immunity to anticompetitive activity which

   the states did not intend to sanction.’ ”) (citations omitted). Its sole purpose is to

   protect the sovereign states’ interests to regulate. Ticor Title, 504 U.S. at 635–36.

         A defendant “may not invoke Parker immunity unless the actions in question

   are an exercise of the State’s sovereign power.” N.C. Dental, 135 S. Ct. at 1110. Thus,

   a defendant invoking Parker immunity must prove this affirmative defense by

   showing that the defendant (1) acted pursuant to a clearly articulated state policy to

   displace competition, and (2) was actively supervised by the state. Midcal, 445 U.S.

   at 105.

         B.     The BPR Is Not Entitled to Ipso Facto State Action Immunity

         Defendants argue that Mr. Manookian’s exclusion was an act of the Tennessee

   Supreme Court—not them—and that state-action immunity bars Mr. Manookian’s

   claim because the Tennessee Supreme Court is “sovereign.”




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         As an initial matter, because Mr. Manookian did not sue the Tennessee

   Supreme Court, the question whether that court is entitled to ipso facto state-action

   immunity as a sovereign arm of the state is not at issue here because only that court

   could claim it. Furthermore, a state supreme court is ipso facto immune only when

   acting in a legislative capacity, which was not the case here. N.C. Dental, 135 S.

   Ct. at 1110 (“State legislation and ‘decisions of a state supreme court, acting

   legislatively rather than judicially,’ . . . ‘ipso facto are exempt from the operation of

   the antitrust laws’ because they are an undoubted exercise of state sovereign

   authority.”) (quoting Hoover v. Ronwin, 466 U.S. 558, 567–68 (1984)).

         In any event, defendants’ argument attempts to sidestep the complaint’s

   allegations—which must be taken as true for purposes of this motion—that

   defendants were market competitors who undertook a course of conduct that was

   designed to exclude Mr. Manookian from the industry. Defendants initiated the

   “emergency” proceedings to suspend Mr. Manookian to short-circuit the typical,

   adversarial process with procedural safeguards and substantive review by the

   judiciary. ¶¶ 30–34. They wrote the recommendation. ¶ 28. They sought a temporary

   suspension that amounted to a de facto temporary disbarment based on non-

   emergency, pretextual allegations and concealed material facts to achieve their ends.

   ¶¶ 43–47. And they did this because they know such emergency petitions are

   routinely immediately approved by the Tennessee Supreme Court on a summary

   basis without conducting any hearing, without affording an opportunity to respond,

   and without prior judicial review. ¶ 28.




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         A group boycott, by definition, involves joint efforts by competitors to

   disadvantage another competitor by “either directly denying or persuading or

   coercing” others to “cut off access to a supply, facility, or market necessary to enable

   the boycotted [competitor] to compete.” N.W. Wholesale Stationers, Inc. v. P.

   Stationery & Printing Co., 472 U.S. 284, 294 (1985) (emphasis added). Defendants’

   use of third parties to effect their scheme is irrelevant to their liability. The extent of

   the defendants’ involvement forms the basis for their antitrust liability.

         C.     The BPR’s Members Are Market Participants

         There is no doubt that the BPR’s members are market participants for state

   action purposes. In a footnote, defendants suggest otherwise, including because two

   defendants defend malpractice actions while Mr. Manookian represents plaintiffs.

   Mem. in Supp. of Mot. to Dismiss Compl. (“Mem.”) at 5 n.2. But the Federal Trade

   Commission has rejected similar arguments made by professional licensing boards:

         The Board’s argument is very similar to one that we explicitly rejected
         in N.C. Dental. That case involved a rule issued by the State Board of
         Dental Examiners that barred non-dentists from performing teeth
         whitening services; in opposing summary decision, the board argued
         that Complaint Counsel had ‘presented no evidence that the individual
         dentist members of the Board . . . derived substantial revenues in their
         private practice from teeth whitening services.’ N.C. Dental, 151 F.T.C.
         [607,] 627 [(2011)]. We rejected this argument, holding that ‘the
         determinative factor in requiring supervision is not the extent to which
         individual members may benefit from the challenged restraint, but
         rather the fact that the Board is controlled by participants in the dental
         market.’ Id. . . . In affirming our decision, the Supreme Court likewise
         did not focus on the degree to which dental board members actually
         provided teeth whitening services. Rather, its decision turned on the fact
         that the dental board members participated in ‘the occupation the board
         regulates’ . . . . N.C. Dental, 135 S. Ct. at 1114.




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   In re La. Real Estate Appraisers Bd., 2018 WL 1836646, at *18 (F.T.C. Apr. 10, 2018).

   For active supervision purposes, a broader occupational market—for instance,

   lawyers or dentists—controls the inquiry even though the relevant service market

   may be much narrower, such as plaintiffs’ medical malpractice lawyers or teeth

   whitening service providers. Id. Active market participants need not be shown to have

   an individual pecuniary motive.

         D.     Defendants Do Not Assert That They Acted Pursuant to a
                Clearly Articulated State Policy to Displace Competition

         Defendants flatly ignore the first element that they have the burden to

   establish in order to be entitled to state action immunity: that they acted pursuant

   to a clearly articulated state policy to displace competition. For this reason alone, the

   Court should deny defendants’ motion.

         E.     Active Supervision Requires Procedures Absent Here

         To establish state action immunity, defendants must establish active state

   supervision. Defendants argue that the Tennessee Supreme Court’s routine,

   deferential approval of defendants’ decision to impose a temporary suspension on Mr.

   Manookian is sufficient to meet this requirement. But the law requires procedures

   sufficient to provide an assurance that the conduct at issue can fairly be attributed

   to the state, as sovereign. Defendants do not meet that requirement.

         The active supervision requirement “stems from the recognition that ‘where a

   private party is engaging in anticompetitive activity, there is a real danger that he is

   acting to further his own interests, rather than the governmental interests of the

   State.’ ” Patrick v. Burget, 486 U.S. 94, 100 (1988) (citation omitted). That danger is



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   at its zenith where state agencies are controlled by active market participants, “who

   possess singularly strong private interests” and thus “pose the very risk of self-

   dealing [that the active] supervision requirement was created to address.” N.C.

   Dental, 135 S. Ct. at 1114. Simply put, “active market participants cannot be allowed

   to regulate their own markets free from antitrust accountability.” Id. at 1111.

         In Ticor Title, the Supreme Court rejected a formulation of the active

   supervision requirement similar to what defendants advocate for here—that is, a

   formulation under which the requirement could be met simply by showing “some

   basic level of [state] activity directed towards seeing that the private actors carry out

   the state’s policy and not simply their own policy.” 504 U.S. at 637. The Supreme

   Court held that such a formulation was “insufficient to establish the requisite level

   of active supervision”; instead, the Court held, where anticompetitive conduct is

   engaged in “as an initial matter by private parties, subject only to a veto if the State

   chooses to exercise it, the party claiming the immunity must show that state officials

   have undertaken the necessary steps to determine the specifics of the

   [anticompetitive] scheme.” Id. at 637–38.

         The Supreme Court since has further expanded on the basic prerequisites for

   active supervision. While it remains a “flexible and context-dependent” inquiry, and

   supervision “need not entail day-to-day involvement in an agency’s operations or

   micromanagement of its every decision,” the supervision mechanisms must “provide

   realistic assurance that a nonsovereign actor’s anticompetitive conduct promotes

   state policy, rather than merely the party’s individual interests.” N.C. Dental, 135 S.




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   Ct. at 1116 (internal quotation marks omitted). The Supreme Court mandates several

   “constant requirements” for active supervision to ensure actual state involvement.

   First, “[t]he supervisor must review the substance of the anticompetitive decision, not

   merely the procedures followed to produce it.” Second, “the supervisor must have the

   power to veto or modify particular decisions to ensure they accord with state policy.”

   Third, “the ‘mere potential for state supervision is not an adequate substitute for a

   decision by the State.’ ” Id.

          In the professional licensing board context, the Federal Trade Commission has

   identified three elements to be considered in the active supervision analysis: “(1) the

   development of an adequate factual record, including notice and an opportunity to be

   heard; (2) a written decision on the merits; and (3) a specific assessment—both

   quantitative and qualitative—of how the private action comports with the

   substantive standard established by the legislature.” La. Real Est. Appraisers, 2018

   WL 1836646, at *9. While “no single one of these elements is necessarily a

   prerequisite for active supervision, . . . the absence of all of the factors would support

   a conclusion that the state had not adequately supervised the private actors’ activity.”

   Id. (citations and internal quotation marks omitted).

          None of these elements is met here. The factual allegations of the complaint—

   which control on a motion to dismiss—include allegations that the Tennessee

   Supreme Court’s routine role in approving Mr. Manookian’s temporary suspension

   was insufficient for active supervision under controlling law. ¶¶ 88–89. Instead, the

   court summarily approved the suspension based on a deferential standard on an




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   incomplete record without notice or an opportunity to respond. Id. Further, because

   defendants concealed material facts that had substantial bearing on the petition to

   temporarily suspend Mr. Manookian, the Tennessee Supreme Court could not have

   conducted the required active supervision even if it had wanted to do so. Id.

         Defendants attempt to circumvent the specifics of this case—and the four

   corners of the complaint—by citation to other instances in which temporary

   suspensions were modified by that court. As a threshold matter, all materials outside

   the four corners of the complaint must be disregarded at this juncture. Further, the

   question is not whether active supervision has ever occurred, but whether active

   supervision occurred here. The complaint alleges it did not. The Supreme Court’s

   active supervision jurisprudence makes clear that the supervisor “must review the

   substance of the anticompetitive decision” at issue; “the mere potential for state

   supervision is not an adequate substitute for a decision by the state.” N.C. Dental,

   125 S. Ct. at 1116 (citations omitted).

         F.     Damages Are Authorized by the Clayton Act

         Defendants also argue that even if state-action immunity does not apply to

   them, “Mr. Manookian can point to no authority where individual liability for money

   damages for violations of the antitrust laws has been imposed on members of a state

   professional regulatory board.” Mem. at 5 n.2.

         That authority, however, is the Clayton Act, 15 U.S.C. § 15(a), which provides:

         Except as provided in subsection (b) [which limits relief to “actual
         damages” against foreign states and their instrumentalities], any
         person who shall be injured in his business or property by reason of
         anything forbidden in the antitrust laws may sue therefor in any district
         court of the United States in the district in which the defendant resides


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         or is found or has an agent, without respect to the amount in
         controversy, and shall recover threefold the damages by him sustained,
         and the cost of suit, including a reasonable attorney’s fee.

         Defendants provide no authority for the proposition that persons sued in their

   individual capacities for violations of Sherman Act, Section 1 are immune from money

   damages. The Supreme Court has never recognized such an immunity, and

   immunities and exemptions are disfavored in antitrust law. See City of Lafayette v.

   La. Power & Light Co., 435 U.S. 389, 399 (1978) (stating immunities, exemptions,

   and repeals by implication are not presumed because “the antitrust laws establish

   overarching and fundamental policies” and noting that only Noerr-Pennington and

   state-action immunity are “sufficiently weighty” to apply).

         And while the Supreme Court has recognized in dicta that “agency officials,

   including board members, may, under some circumstances enjoy immunity from

   damages liability,” it has yet to find any such circumstances. N.C. Dental, 135 S. Ct.

   at 1115 (emphasis added). Instead, the Court has suggested that if states want to

   allow active market participants the authority to regulate their competitors, they

   should either actually provide the active supervision required or “provide for the

   defense and indemnification of agency members in the event of litigation.” Id.

         Any other result would conflict with longstanding Congressional antitrust

   enforcement policy. The Clayton Act does “not merely . . . provide private relief, but

   [serves] the high purpose of enforcing the antitrust laws.” Zenith Radio Corp. v.

   Hazeltine Research, Inc., 395 U.S. 100, 130–31 (1969). The Act expresses a policy that

   “private antitrust litigation is one of the surest weapons for effective enforcement of

   the antitrust laws.” Minn. Mining & Mfg. Co. v. N.J. Wood Finishing Co., 381 U.S.


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   311, 318 (1965). The policy is most effective where private antitrust litigation is “an

   ever-present threat to deter” anticompetitive acts. Perma Life Mufflers, Inc. v. Int’l

   Parts Corp., 392 U.S. 134, 139 (1968), overruled on other grounds by Copperweld

   Corp. v. Indep. Tube Corp., 467 U.S. 752 (1984).

  III.      THE CLAIMS AGAINST DEFENDANTS ARE NOT BARRED BY
            OTHER IMMUNITIES

            A.    Sovereign Immunity Does Not Justify Dismissal

            Defendants make much of the point that Eleventh Amendment sovereign

   immunity bars suits for damages against defendants in their official capacities. See

   Mem. at 11. But the complaint seeks damages against defendants in their

   individual capacities and injunctive relief against defendants in their

   official capacities, ¶¶ 5–13, which the Eleventh Amendment does not bar.

            Defendants do not, and could not, contend that any broad doctrine of sovereign

   immunity holds that officials in their individual capacities cannot be sued for

   damages. And Ex parte Young, 209 U.S. 123 (1908), and its progeny have long made

   plain that state officials—to the extent that these defendants are even properly

   regarded as state officials given that they are also sued in their capacity as private

   lawyers—can be sued for injunctive relief. See, e.g., Edelman v. Jordan, 415 U.S. 651,

   664 (1974) (Ex parte Young authorizes prospective relief against state officials sued

   in their official capacities.). Thus, no broad, general doctrine of Eleventh Amendment

   sovereign immunity bars Mr. Manookian’s complaint.




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         B.     Neither Absolute Quasi-Prosecutorial nor Quasi-Judicial
                Immunity Warrants Dismissal of the Complaint

         There is no merit to defendants’ arguments that they are entitled to absolute

   quasi-prosecutorial or quasi-judicial immunity from suit for all claims. Defendants

   themselves admit that the case law that they rely upon for such arguments

   presupposes “procedural safeguards [that] protect the due-process rights of persons

   subject to a board’s jurisdiction.” Mem. at 12. As explained above in the context of the

   Sherman Act, however, there are no adequate due process rights involved in a process

   in which the Tennessee Supreme Court ratifies the defendants’ decisions without

   modification and without even reviewing the underlying hearing record.

         Footnote 6 of defendants’ memorandum is telling on this point. In that

   footnote, defendants concede that due process typically mandates a hearing before

   deprivation of a property right or a liberty interest. Defendants cite, however, to a

   Sixth Circuit opinion explaining that the failure to provide a pre-deprivation hearing

   passes constitutional muster “where a government official reasonably believed that

   immediate action was necessary to eliminate an emergency situation and the

   government provided adequate post-deprivation process.” United Pet Supply, Inc. v.

   City of Chattanooga, 768 F.3d 464, 486 (6th Cir. 2014). Here, however, Mr.

   Manookian’s license was suspended over a matter that defendants themselves did not

   regard as an “emergency” situation until Mr. Manookian sued a state judge and

   issued the BPR a subpoena, ¶¶ 29–34, and the Tennessee Supreme Court’s role in

   routinely reviewing the actions of the BPR—often without modification and on a




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   summary basis—regarding temporary suspension proceedings cannot be deemed

   adequate post-deprivation process.

         Finally, defendants’ argument for absolute immunity—whether quasi-judicial

   or quasi-prosecutorial—is further undermined by their assertion in footnote 7 of their

   memorandum that “[i]n temporary suspension proceedings under Section 12.3 Board

   members have no meaningful involvement in the process leading to an initial

   Supreme Court ruling and no involvement in the decisional process.” If that is the

   case, then, as defendants themselves recognize, there is no need for an absolute

   immunity doctrine to protect them. See Mem. at 12 (conceding that those who enjoy

   absolute immunity are “members of licensing and disciplinary boards that perform

   investigatory, prosecutorial, or judicial functions”).

         C.     Defendants Cannot Show that the Complaint Should Be
                Dismissed Based on Qualified Immunity, and Qualified
                Immunity Does Not Apply to Antitrust Claims

         There is no merit to defendants’ arguments that they are entitled to qualified

   immunity against this suit for damages. The test for qualified immunity is objective,

   and “government officials performing discretionary functions generally are shielded

   from liability for civil damages [only] insofar as their conduct does not violate clearly

   established statutory or constitutional rights of which a reasonable person would

   have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). Further, “the burden is

   on the official claiming immunity to demonstrate his entitlement.” Dennis v. Sparks,

   449 U.S. 24, 29 (1980). Defendants cannot meet that burden.

         Qualified immunity arose primarily in the context of actions under 42 U.S.C.

   § 1983 and Bivens v. Six Unknown Named Agents of the Fed. Bureau of Narcotics,


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   403 U.S. 388 (1971), involving violations of individuals’ statutory or constitutional

   rights. Notably, defendants cite to no authority for the proposition that qualified

   immunity can apply to antitrust law. There are also good reasons why it does not.

         First, immunity from the antitrust laws is not lightly implied. See United

   States v. Philadelphia Nat’l Bank, 374 U.S. 321, 348 (1963) (“It is settled law that

   ‘immunity from the antitrust laws is not lightly implied.’ This canon of construction,

   which reflects the felt indispensable role of antitrust policy in the maintenance of a

   free economy, is controlling here.” (citations omitted)). Second, state action

   immunity is a disfavored exception accommodated only when necessitated by

   principles of federalism. See N.C. Dental, 135 S. Ct. at 1110 (“Given the fundamental

   national values of free enterprise and economic competition that are embodied in the

   federal antitrust laws, ‘state action immunity is disfavored, much as are repeals by

   implication.’ ”) (quoting Phoebe Putney, 568 U.S. at 225).

         In any event, defendants’ argument (Mem. at 15) that they did not act in

   violation of any clearly established right because they acted in accordance with

   Tennessee Supreme Court Rule 9 ignores the gravamen of Mr. Manookian’s claims—

   that defendants violated clearly established federal law. Qualified immunity

   protects reasonable mistakes by officials. It does not protect unreasonable defiance

   (or even ignorance) of federal antitrust law, particularly when tainted by unlawful

   bias and actual conflicts of interest based on a pecuniary motive.

         In evaluating defendants’ meritless assertion of qualified immunity, it is

   important to bear in mind that Mr. Manookian’s antitrust claims are against




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   defendants as competitors in the legal profession who have acted in restraint of trade.

   What makes their conduct a clear violation of the antitrust laws is not their status as

   BPR members, but their status as competitors. Defendants cannot reasonably claim

   that they did not know that a violation of antitrust law clearly contravenes statutory

   rights given that such a violation is a clearly defined federal felony. 15 U.S.C. § 1

   (“Every person who shall make any contract or engage in any combination or

   conspiracy hereby declared to be illegal shall be deemed guilty of a felony.”). Further,

   as the Supreme Court has made plain, “[e]very violation of the antitrust laws is a

   blow to the free-enterprise system envisaged by Congress.” Hawaii v. Standard Oil

   Co., 405 U.S. 251, 262 (1972) (citations omitted).

         Accordingly, as an objective matter, no reasonable person would fail to

   understand that defendants’ concerted efforts to reduce competition by suspending

   Mr. Manookian’s license without cause were impermissible, and defendants cannot

   show that the complaint should be dismissed based on qualified immunity.

   IV.   YOUNGER ABSTENTION DOES NOT APPLY HERE

         A.     Younger Abstention Does Not Apply to the Antitrust Claims
                Because of Exclusive Federal-Court Jurisdiction

         Defendants’ Younger abstention argument similarly suffers from a fatal flaw:

   Younger does not apply to federal antitrust claims because federal courts have

   exclusive jurisdiction over them. 15 U.S.C. § 15; Miller v. Granados, 529 F.2d 393,

   395 (5th Cir. 1976) (holding that “it is obvious” that Younger abstention cannot apply

   to a federal antitrust claim because federal antitrust relief “cannot be obtained in




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   state court”); accord Metro. Hosp. v. Thornburgh, 667 F. Supp. 208, 214 (E.D. Pa.

   1987); Gutstein v. McDermott, 554 F. Supp. 966, 970–71 (M.D. Pa. 1983).

          A requirement for Younger abstention is that “the state court has broad and

   comprehensive concurrent jurisdiction to adjudicate the claims asserted in the federal

   action.” Andrea Theatres, Inc. v. Theatre Confections, Inc., 787 F.2d 59, 62 (2d Cir.

   1986). Thus, “abstention is clearly improper when a federal suit alleges claims within

   the exclusive jurisdiction of the federal courts.” Id.; see also Ticket Ctr., Inc. v. Banco

   Popular De Puerto Rico, 399 F. Supp. 2d 79, 85 (D. P.R. 2005) (“[F]ederal courts do

   not have discretion to abstain from deciding federal antitrust issues pending

   resolution of a state suit between the same parties and involving the same

   transactions.”); Arizona v. San Carlos Apache Tribe, 463 U.S. 545, 559–60 (1983)

   (explaining that abstention “would have been improper if there was no jurisdiction in

   the concurrent state actions to adjudicate the claims at issue in the federal suits”).

   Permitting abstention for exclusive federal claims would “run counter to Congress’

   determination . . . that federal courts should be the primary fora for handling such

   claims.” Andrea Theatres, 787 F.2d at 63. Thus, Younger does not apply to federal

   antitrust claims, which should be adjudicated in federal court.

          B.     Younger Abstention Does Not Apply to Any of Mr. Manookian’s
                 Claims Because the BPR Members Are Financially Biased

          Even if Younger abstention could apply to the federal antitrust claims, it would

   not apply to any of Mr. Manookian’s claims—constitutional or antitrust—because he

   alleges that defendants were biased in their dealings with him. ¶¶ 48–70; see Gibson

   v. Berryhill, 411 U.S. 564, 575–77 (1973) (holding Younger abstention inapplicable



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   where state proceeding involves review of licensing determination by biased board

   members). In such a case, the “predicate for a Younger v. Harris dismissal [is]

   lacking,” regardless of whether “judicial review, de novo or otherwise, is forthcoming

   at the conclusion of the administrative proceedings.” Gibson, 411 U.S. at 577; see also

   Simopoulos v. Virginia State Bd. of Med., 644 F.2d 321, 326 (4th Cir. 1981) (Younger

   abstention precluded where board is biased, which denies “plaintiff a fair state

   administrative tribunal”). The Supreme Court stated in Gibson that “those with

   substantial pecuniary interest in legal proceedings should not adjudicate these

   disputes.” 411 U.S. at 579. The complaint alleges that defendants were competitors

   or potential competitors with pecuniary interests to exclude Mr. Manookian. ¶¶ 48–

   70. Regardless of any denial of bias that defendants may offer in their reply brief, the

   complaint’s allegations control for purposes of the motion to dismiss. See Erickson v.

   Pardus, 551 U.S. 89, 93–94 (2007).

         C.     Younger Does Not Apply to the Individual Defendants

         Even if Younger could apply, its scope would be limited because the complaint

   alleges claims against lawyers in their individual capacities as competitors, in

   addition to claims in their official capacity. ¶¶ 5–13. The complaint alleges that

   individual BPR members violated the antitrust laws not merely because of the BPR’s

   actions, but also in their roles as competitors and prospective competitors who used

   their unique positions on the BPR as a tool to help them restrain trade. Thus, even if

   Younger abstention could apply, the lawsuit against these individual BPR members,

   in their individual capacities, would survive.




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         D.     Younger Would Not Apply to Claims for Prospective Relief or
                Damages

         Younger abstention—even when it does apply—is limited in its scope to claims

   for certain injunctive and declaratory relief. Wooley v. Maynard, 430 U.S. 705, 710

   (1977) (Younger precludes federal courts from exercising certain “equitable

   jurisdiction to enjoin ongoing state prosecutions”); Simopoulos, 644 F.2d at 331. But

   the Supreme Court specifically held in Wooley that Younger abstention does not

   extend to federal requests for prospective equitable relief, for example, to “preclude

   further prosecution” that violates a plaintiff’s rights. Wooley, 430 U.S. at 711.

         Here, Mr. Manookian specifically seeks prospective relief unrelated to the

   proceedings that have already occurred. For example, he requests that the Court

   “enjoin defendants from utilizing the ‘good cause’ standard of § 12.3 or otherwise

   placing the burden of proof on Mr. Manookian or others; enjoin defendants from

   taking emergent action against his law license without substantial, sworn evidence;

   enjoin defendants from violating their own procedural rules; and enjoin defendants

   from suspending Mr. Manookian’s law license based upon any evidence that is not

   admissible under the rules of evidence.” ¶¶ 102, 121. In addition, Younger abstention

   is inappropriate with respect to Mr. Manookian’s antitrust damages claims against

   defendants in their individual capacities, as pursuit of those damages claims will not

   interfere with any state proceedings. See Carras v. Williams, 807 F.2d 1286, 1292

   (6th Cir. 1986).




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           E.    Younger Does Not Apply Where No Proceedings Are Ongoing

           Younger abstention also applies only to ongoing state court proceedings. At the

   time of the filing of the complaint, the temporary suspension had already been

   entered. That is, the proceedings concluded when the order was entered. Defendants

   concede this in their briefing. See Mem. at 17. Since the filing of the complaint, the

   Tennessee Supreme Court has dissolved Mr. Manookian’s temporary suspension.

   Because the temporary suspension was not brought in conjunction with any

   underlying disciplinary action, see ¶ 51, the proceedings regarding the now-dissolved

   suspension are not ongoing now.

   V.      ROOKER-FELDMAN DOES NOT WARRANT DISMISSAL

           Defendants inappositely contend (Mem. at 17) that the Rooker-Feldman

   doctrine requires this Court to dismiss Mr. Manookian’s complaint, without

   acknowledging that the complaint seeks multiple forms of relief for multiple harms—

   some past, some prospective, some under the exclusive jurisdiction of federal courts.

   The Rooker-Feldman doctrine is an extremely limited doctrine that simply recognizes

   that, within the federal court system, only the U.S. Supreme Court—not federal

   district courts—can exercise appellate review over final state-court judgments. See

   Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 292 (2005). Not every

   action challenged in the complaint can be deemed part of a completed state-court

   judicial action. 3 To the extent that the complaint seeks a declaration that Rule 9


   3.     The Tennessee Supreme Court itself has explained, “The Board simply is not
   a judicial system; thus, a Board member is not an officer of a judicial system.” Moncier
   v. Bd. of Prof’l Responsibility, 406 S.W.3d 139, 159 (Tenn. 2013); cf. Verizon Md., Inc.



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   (including Section 12.3) is unconstitutional and seeks to enjoin anticompetitive

   conduct forbidden by federal law over which federal courts have exclusive

   jurisdiction, Rooker-Feldman stands as no basis for dismissal.

   VI.   CONCLUSION

         For the foregoing reasons, Mr. Manookian respectfully requests that the Court

   deny defendants’ motion to dismiss the complaint. If the Court were to grant the

   motion in any respect, then Mr. Manookian respectfully requests an opportunity to

   file an amended complaint.

                                                 Respectfully submitted,

    Date: July 5, 2019                           /s/Aaron Gott
                                                 Aaron Gott

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                                                 Counsel for Plaintiff




   v. Pub. Serv. Comm’n, 535 U.S. 635, 644 n.3 (2002) (“The doctrine has no application
   to judicial review of executive action, including determinations made by a state
   administrative agency.”).

   4.    Any attorney’s fee awarded to Mr. Manookian and earned by Mr. Horwitz shall
   be donated to the First Amendment Center.


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                                 CERTIFICATE OF SERVICE


         On the 5th of July 2019, I hereby certify that I caused a true and correct copy

   of the Memorandum of Law in Opposition to Motion to Dismiss to be delivered

   via the Court’s electronic filing system to all counsel who have consented to receive

   notice of filings in the above-captioned matter.




                                                          Gabriela Hamilton




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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

    BRIAN P. MANOOKIAN,                           )
                                                  )
            Plaintiff,                            )
                                                  )      NO. 3:19-cv-00350
    v.                                            )
                                                  )      JUDGE CAMPBELL
    FLOYD FLIPPIN et al.,                         )
                                                  )
            Defendants.                           )

                                                 ORDER

           Before the Court is Defendants’ Motion to Dismiss. (Doc. No. 23). Plaintiff filed a

   Response (Doc. No. 28), Defendants filed a Reply (Doc. No. 31), and Plaintiff filed a Sur-Reply

   (Doc. No. 37-1). Also pending before the Court is Plaintiff’s Motion for Temporary Restraining

   Order and/or Preliminary Injunction. (Doc. No. 44). Defendants filed a Response (Doc. No. 49)

   and Plaintiff filed a Reply (Doc. No. 56). The Court previously denied Plaintiff’s motion for a

   temporary restraining order. (Doc. No. 47).

           For the reasons stated in the accompanying memorandum, Defendants’ Motion to Dismiss

   (Doc. No. 23) is GRANTED, in part. Plaintiff’s antitrust claim in Court IV is subject to Parker

   immunity and is DISMISSED WITH PREJUDICE. The claims for damages against Defendants

   under 42 U.S.C. § 1983 in Counts I, II, and III are barred by quasi-judicial immunity and are

   DISMISSED WITH PREJUDICE. The remaining claims for injunctive and declaratory relief

   are STAYED pursuant to Younger v. Harris, 401 U.S. 37 (1971). In light of the ruling on

   Defendants’ Motion to Dismiss, Plaintiff’s Motion for Preliminary Injunction (Doc. No. 44) is

   MOOT.




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                                                                                                   Ex. 11
          All claims having been stayed or dismissed, the Clerk is directed to administratively close

   the file, subject to reopening upon motion by either party. The parties shall notify the Court within

   30 days of the conclusion of the state proceedings.

          It is so ORDERED.



                                                         ____________________________________
                                                         WILLIAM L. CAMPBELL, JR.
                                                         UNITED STATES DISTRICT JUDGE




                                                         2

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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

    BRIAN P. MANOOKIAN,                           )
                                                  )
            Plaintiff,                            )
                                                  )       NO. 3:19-cv-00350
    v.                                            )
                                                  )       JUDGE CAMPBELL
    FLOYD FLIPPIN et al.,                         )
                                                  )
            Defendants.                           )

                                          MEMORANDUM

            Before the Court is Defendants’ Motion to Dismiss. (Doc. No. 23). Plaintiff filed a

   Response (Doc. No. 28), Defendants filed a Reply (Doc. No. 31), and Plaintiff filed a Sur-Reply

   (Doc. No. 37-1). Also pending before the Court is Plaintiff’s Motion for Temporary Restraining

   Order and/or Preliminary Injunction. (Doc. No. 44). Defendants filed a Response (Doc. No. 49)

   and Plaintiff filed a Reply (Doc. No. 56). The Court previously denied Plaintiff’s motion for a

   temporary restraining order (Doc. No. 47) and now considers the Motion for Preliminary

   Injunction.

            Plaintiff Brian Manookian is an attorney whose license to practice law in Tennessee was

   temporarily suspended on September 21, 2018, by the Supreme Court of Tennessee. The

   Tennessee Supreme Court found that Plaintiff represented a “substantial threat to the public.”

   Order of Temp. Suspension, In re: Brian Phillip Manookian, BPR #026455, No. M2018-01711-

   SC-BAR-BP (Tenn. Sept. 21, 2018) (Doc. No. 24-1).

            Plaintiff’s claims the Board of Professional Responsibility of the Supreme Court of

   Tennessee (“BPR”) filed the petition for temporary suspension in retaliation for Plaintiff’s suit

   against a state court judge filed one day earlier. In addition, he claims the temporary suspension




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   is a conspiracy by Defendants, who are individual members of the BPR, to restrain trade and

   exclude Plaintiff from the legal market in Tennessee. Plaintiff filed this case on April 29, 2019,

   asserting claims under 42 U.S.C. § 1983 for violation of his rights to free speech, due process, and

   equal protection, and a claim for conspiracy to restrain trade under the Sherman Act, 15 U.S.C. § 1.

                                I. PROCEDURAL BACKGROUND

          After filing this case, the disciplinary proceedings at the Tennessee Supreme Court and

   before the BPR have proceeded. 1 After the September 21, 2018 Order of Temporary Suspension,

   Plaintiff sought dissolution of the temporary suspension three times—on November 21, 2018,

   February 27, 2019, and April 9, 2019. At the direction of the Tennessee Supreme Court, a panel

   held hearings on Plaintiff’s petitions for dissolution and issued reports and recommendations. The

   Tennessee Supreme Court adopted the recommendations of the panels, denying the first two

   petitions, and granting the third petition on May 17, 2019, subject to Plaintiff’s “ongoing

   compliance with conditions set forth in the panel’s Report and Recommendation.” Shortly after

   the initial order of temporary suspension was dissolved, on June 24, 2019, the BPR filed a petition

   for reinstatement of the temporary suspension. The Tennessee Supreme Court referred the matter

   for a hearing to the panel that had heard Plaintiff’s second and third petitions for dissolution and

   ordered the panel to submit a report and recommendation on the petition for reinstatement of the

   temporary suspension. The BPR filed a supplemental petition on August 6, 2019. This petition

   was referred for hearing and report and recommendation to the same panel. After several delays,




   1
    The procedural background of the underlying disciplinary proceeding is summarized from the Tennessee
   Supreme Court’s October 11, 2019 Order Reinstating Temporary Suspension. In re Brian Phillip
   Manookian, BPR #026455, No. M2019-00630-SC-BAR-BP (Tenn. Oct. 11, 2019) (recounting procedural
   history) and from the Order Denying Petition for Dissolution of Order of Temporary Suspension, In re
   Brian Phillip Manookian, BPR #026455, No. M2019-00630-SC-BAR-BP (Tenn. Oct. 17, 2019). The
   details of the complaints in the disciplinary proceeding are not relevant to the Court’s opinion.
                                                        2

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   the panel conducted a hearing on September 26, 2019, and filed its report and recommendation on

   October 7, 2019.     Plaintiff filed a “Motion to Dismiss Supplemental Petition to Reinstate

   Temporary Suspension and Objection to the Report and Recommendation” and a supplement to

   the motion to dismiss. In these motions he argued that the petition does not provide a sufficient

   basis to reinstate the temporary suspension, that two members of the panel should have recused

   themselves because they are defendants in this action, and that Tennessee Supreme Court Rule 9,

   section 12.3, governing attorney disciplinary enforcement, is unconstitutional. The Tennessee

   Supreme Court denied Plaintiff’s motion to dismiss and adopted the panel’s finding that Plaintiff

   “violated a condition of the Order Granting Petition for Dissolution of Order of Temporary

   Suspension.” The court also found Plaintiff “poses a threat of substantial harm to the public” and

   determined that it “should reinstate the temporary suspension of [Plaintiff’s] law license.”

          The same day the Tennessee Supreme Court issued the Order reinstating Plaintiff’s

   temporary suspension, Plaintiff again petitioned that Court for dissolution of the temporary

   suspension, which the Court denied on October 17, 2019. In the October 17, 2019 Order, the

   Tennessee Supreme Court stated, “The most recent hearing demonstrated ample basis for

   determining that Mr. Manookian poses a threat of substantial harm to the public and for the

   reinstatement of his temporary suspension.” The Court acknowledged pending disciplinary

   charges and directed that “Mr. Manookian and the Board shall proceed with all due speed toward

   ultimate resolution of the petition for discipline currently pending before the Board.” Id.

          On October 26, 2019, Plaintiff filed with this Court a Motion for Temporary Restraining

   Order and/or Preliminary Injunction. (Doc. No. 44). Through that motion, Plaintiff asked the Court

   to restrain Defendants from “again ‘temporarily’ suspending Mr. Manookian’s law license without

   due process” and enjoin Defendants from “further retaliating against him for his protected First


                                                        3

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   Amendment activity.” (Id.) The Court denied Plaintiff’s motion for a temporary restraining order

   on grounds that Plaintiff did not show immediate irreparable harm. (Doc. No. 47).

           Plaintiff filed this case against the attorney members of the BPR in their official and

   individual capacities. He alleges the actions of the BPR constitute a violation of federal antitrust

   regulations, and violations of his rights to free speech, due process and equal protection. He alleges

   that the temporary suspension mechanism in Tennessee Supreme Court Rule 9, section 12.3 is

   unconstitutional on its face and as applied to him. Defendants’ moved to dismiss the complaint

   on grounds of sovereign immunity, Parker immunity, and quasi-judicial immunity, and argue that

   the Younger abstention doctrine bars involvement in ongoing attorney disciplinary proceedings.

                                     II. STANDARD OF REVIEW 2

           In deciding a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a court

   must take all the factual allegations in the complaint as true. Ashcroft v. Iqbal, 556 U.S. 662 (2009).

   To survive a motion to dismiss, a complaint must contain sufficient factual allegations, accepted

   as true, to state a claim for relief that is plausible on its face. Id. A claim has facial plausibility

   when the plaintiff pleads facts that allow the court to draw the reasonable inference that the

   defendant is liable for the misconduct alleged. Id. In reviewing a motion to dismiss, the Court

   construes the complaint in the light most favorable to the plaintiff, accepts its allegations as true,

   and draws all reasonable inferences in favor of the plaintiff. Directv, Inc. v. Treesh, 487 F.3d 471,

   476 (6th Cir. 2007).

           In considering a Rule 12(b)(6) motion, the Court may consider the complaint and any

   exhibits attached thereto, public records, items appearing in the record of the case and exhibits



   2
           Defendants’ Motion to Dismiss is filed pursuant to both Rule 12(b)(1) and 12(b)(6). The Court did
   not reach the sovereign immunity defense and accordingly decided the Motion under the standard
   prescribed by Rule 12(b)(6).
                                                          4

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   attached to Defendant’s motion to dismiss so long as they are referred to in the Complaint and are

   central to the claims. Bassett v. National Collegiate Athletic Assn., 528 F.3d 426, 430 (6th Cir.

   2008); Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007) (on a motion to

   dismiss the Court may consider documents referenced in a plaintiff’s complaint that are central to

   plaintiff’s claims, matters of which a court may take judicial notice, documents that are a matter

   of public record, and letters that constitute decisions of a government agency). The Court has

   considered the record of the disciplinary proceedings before the Supreme Court of Tennessee as

   referred to in the Complaint and as public records.

                                               III. ANALYSIS

           Defendants assert a variety of abstention and immunity defense as a bar to Plaintiff’s

   claims. Defendants argue: (1) the Younger v. Harris abstention doctrine bars claims arising out of

   the ongoing state disciplinary proceeding; (2) claims for damages in their official capacity are

   barred by sovereign immunity; (3) claims for damages in their individual capacity are barred by

   quasi-judicial immunity; and (4) antitrust claims are barred by Parker immunity. 3

   A. Parker Immunity Bars Plaintiff’s Antitrust Claim

           Plaintiff claims “the BPR, along with individual market-participant defendants, entered

   into an agreement to exclude one of the state’s most competitively successful medical malpractice

   lawyers, Mr. Manookian, from the market.” (Comp., Doc. No. 1, ¶ 132). Plaintiff claims the

   alleged agreement was the decision to “punish” Plaintiff with a temporary suspension of his law

   license, to publicize the suspension to the media, and to “resist all efforts by Mr. Manookian to




   3
           Defendants also raise the Rooker-Feldman Doctrine as a bar to review of state court decisions “[t]o
   the extent the state disciplinary proceedings have been concluded.” As the state disciplinary proceedings
   have not concluded and the Court finds Plaintiff’s claims are otherwise barred, the Court does not reach the
   Rooker-Feldman issue.
                                                            5

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   petition for dissolution of the suspension.” (Id., ¶ 134). Plaintiff seeks treble damages under 15

   U.S.C. § 15 and injunctive relief under 15 U.S.C. § 26. (Id., ¶ 145).

          Defendants urge dismissal of Plaintiff’s Sherman Act claims on the ground that the action

   complained of—the temporary suspension—was an act of the Tennessee Supreme Court and

   entitled to sovereign immunity under the Eleventh Amendment and state-action immunity under

   Parker. Plaintiff argues that the BPR is not entitled to state-action immunity because it did not act

   pursuant to clearly articulated state policy and was not actively supervised by the Supreme Court.

          In Parker v. Brown, 317 U.S. 341 (1943), the Supreme Court, relying on principles of

   federalism and state sovereignty, interpreted the antitrust laws to confer immunity on

   anticompetitive conduct by the States when acting in their sovereign capacity. N.C. State Bd. of

   Dental Examiners, 135 S.Ct. 1101, 1110 (2015). Without Parker immunity, “federal antitrust law

   would impose an impermissible burden on the States’ power” to subordinate market competition

   to “other values a State may deem fundamental.” Id. at 1109. “[A] decision of a state supreme

   court, acting legislatively rather than judicially, is exempt from Sherman Act liability as state

   action.” Hoover v. Ronwin, 466 U.S. 558, 568 (1984) (citing Goldfarb v. Virginia State Bar, 421

   U.S. 773, 790 (1975)); see also, N.C. State Bd. 135 S.Ct. at 1110 (“State legislation and

   ‘decision[s] of a state supreme court, acting legislatively rather than judicially,’ … ‘ipso facto are

   exempt from the operation of the antitrust laws’ because they are an undoubted exercise of state

   sovereign authority.”).

          If the action is not “an exercise of state sovereign authority,” but is instead a non-sovereign

   state agency controlled by active market participants, state-action immunity applies only if the

   actions meets the two-part Midcal 4 test as articulated by the Supreme Court in N.C. State Board.



   4
          California Retail Liquor Dealers Assn. v. Midcal Aluminum, Inc., 445 U.S. 97 (1980).
                                                             6

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   135 S.Ct. at 1112. Under Midcal, “[a] state law or regulatory scheme cannot be the basis for

   antitrust immunity unless, first, the State has articulated a clear … policy to allow the

   anticompetitive conduct, and second, the State provides active supervision of [the] anticompetitive

   conduct.” Id. (quoting F.T.C. v. Ticor Title Ins. Co., 504 U.S. 621, 634 (1992)).

           Here, the conduct complained of is that of the Tennessee Supreme Court. The Tennessee

   Supreme Court issued the Order of Temporary Suspension. “Where the conduct is that of the

   sovereign itself, … the danger of unauthorized restraint of trade does not arise.” Hoover, 466 U.S.

   at 569. The Tennessee Supreme Court Rules specify that the Disciplinary Counsel may petition

   the court for an order of temporary suspension, but only the Tennessee Supreme Court can

   temporarily suspend an attorney. Tenn.Sup. Ct. R. 9, § 12.3. At best, Defendants’ authority under

   the Rules was limited to petitioning for an order of temporary suspension and filing reports and

   recommendations with the Tennessee Supreme Court. 5 Ultimate action on the petition or report

   and recommendation is vested solely with the Tennessee Supreme Court.

           The Supreme Court considered a similar circumstance in Hoover v. Ronwin, 466 U.S. 558

   (1984). In Hoover, the plaintiff alleged anticompetitive conduct with regard to bar admission on

   the part of individual members of Arizona Supreme Court’s Committee on Examinations and

   Admission. The Supreme Court found that although the Arizona Supreme Court had “necessarily

   delegated the administration of the admissions process to the Committee,” because the court itself

   had made the final decision to admit or deny admission to practice, the “conduct [the plaintiff]

   challenges was in reality that of the Arizona Supreme Court” and “is therefore exempt from



   5
           The Rules do not even appear to confer this much authority on the members of the BPR. The Rules
   provide that a petition for temporary suspension may be made by Disciplinary Counsel, who reports to the
   BPR. Tenn. Ct. App. R. 9, §§ 7.1, 12.3. The Board or a panel conducts hearings on a petition for dissolution
   of temporary suspension and files a report and recommendation with the Tennessee Supreme Court. Id. at
   § 12.3(d).
                                                            7

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   Sherman Act liability under the state-action doctrine of Parker v. Brown.” Id. at 573. In Hoover,

   the Supreme Court stated that it did not need to address issues of “clear articulation” and “active

   supervision” when the conduct at issue was in fact that of the Supreme Court. Id. at 569.

          The Court finds that the Midcal test does not apply because the anticompetitive activity

   complained of was that of the Tennessee Supreme Court which is ipso facto exempt from the

   antitrust laws. Plaintiff cannot evade state-action immunity by suing only the members of the BPR

   and not the sovereign entity. “If a government actor is independently responsible for causing the

   alleged antitrust injury, ‘once [it] is determined to be immune …, the immunity should be extended

   to include private parties acting under [its] direction.” Edinboro College Park Apartments v.

   Edinboro Univ., 850 F.3d 567, 574 (3d Cir. 2017) (quoting Zimomra v. Alamo Rent-A-Car, Inc.

   111 F.3d 1495, 1500 (10th Cir. 1997)). “Otherwise, plaintiffs could sue only the private parties

   and by winning antitrust judgments against then, could thwart state policies as if there were no

   state [i]mmunity.” Id. (quoting A.D. Bedell Wholesale Co., Inc. v. Philip Morris Inc., 263 F.3d

   239, 256 (3d Cir. 2001)); see also, Hoover, 466 U.S. 569 (alleged anticompetitive conduct by

   individual members of the bar admissions committee was subject to Parker immunity because the

   actions complained of were taken by the state supreme court, a sovereign entity).

          Although Plaintiff has brought suit against the individual members of the BPR, the

   anticompetitive action complained of—temporary suspension and dissolution of temporary

   suspension—was that of the Tennessee Supreme Court, which is immune from antitrust laws under

   the claims presented in this case.




                                                       8

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   B. Absolute Quasi-Judicial Immunity Bars Claims Against Defendants

           Defendants assert they are absolutely immune to suits for damages under the doctrine of

   quasi-judicial immunity. The Court agrees. 6

           Judges are entitled to absolute judicial immunity from suits for money damages for all

   actions taken in the judge’s official capacity, unless they were taken in the complete absence of

   jurisdiction. Bush v. Rauch, 38 F.3d 842, 847 (6th Cir. 1994). “[S]uch immunity has also been

   extended to non-judicial officers performing ‘quasi-judicial’ duties.” Quatkemeyer v. Kentucky

   Bd. of Med. Licensure, 506 F. App’x 342, 345 (6th Cir. 2012). “Quasi-judicial immunity extends

   to those persons performing tasks so integral or intertwined with the judicial process that these

   persons are considered an arm of the judicial officer who is immune.” Bush, 38 F.3d at 847. Quasi-

   judicial immunity has been extended to members of professional licensing or disciplinary boards

   that perform investigatory, prosecutorial or judicial functions. See Moncier v. Jones, 557 F. App’x

   407, 409 (6th Cir. 2014) (holding that Chief Disciplinary Counsel for the Board was entitled to

   quasi-judicial immunity); Quatkemeyer, 506 F. App’x at 345-49 (members of the Board of Medical

   Licensure, an agency of the state, were entitled to quasi-judicial immunity); Watts v. Burkart, 978

   F.2d 269, 276 (6th Cir. 1992) (members of state medical licensing board entitled to absolute

   immunity).

           In Moncier v. Jones, the Sixth Circuit affirmed dismissal of claims for damages against the

   Chief Disciplinary Counsel of the Tennessee Board of Professional Responsibility, when the

   conduct alleged to have violated the plaintiff’s civil rights occurred when the defendant was



   6
           Plaintiff only seeks damages against Defendants in their individual capacities for the Section 1983
   claims. However, to the extent damages are sought against Defendants in their official capacities, such
   claims are barred by the Eleventh Amendment. See Moncier v. Jones, 557 F. App’x 407, 409 (6th Cir.
   2014) (“[T]he Eleventh Amendment bars official-capacity claims for damages against state officials”)
   (citing Will v. Mich. Dept. of State Police, 491 U.S. 58, 71 (1989)).
                                                           9

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                                                                                                 117


   performing her official role as Chief Disciplinary Counsel. 557 F. App’x 407, 409 (6th Cir. 2014).

   The same conclusion is warranted here. The conduct alleged to have violated Defendant’s civil

   rights—petitioning the Tennessee Supreme Court for temporary suspension of Plaintiff’s law

   license, conducting hearings at the direction of the Court, and drafting reports and

   recommendations—falls squarely within the duties and obligations delegated by the Tennessee

   Supreme Court. See Tenn. R. App. P. 9, § 4. Accordingly, Defendants are entitled to absolute

   quasi-judicial immunity from Plaintiff’s claims for damages against them personally.

   C. The Younger v. Harris Abstention Doctrine Bars Involvement in the Ongoing State
      Disciplinary Proceedings

          Defendants argue the Court should abstain from review of the merits of this case pursuant

   to Younger v. Harris, 401 U.S. 37 (1971). “In Younger, the United States Supreme Court

   counseled federal courts to abstain from enjoining certain pending state court criminal

   proceedings.” Danner v. Bd of Prof’l Responsibility of the Tenn. Sup. Ct, 277 F. App’x 575, 577

   (6th Cir. 2008). “This doctrine is borne out of a ‘proper respect for state functions, a recognition

   of the fact that the entire country is made up of a Union of separate state governments, and a

   continuance of the belief that the National Government will fare best if the States and their

   institutions are left free to perform their separate functions in their separate ways.” Id. (quoting

   Younger, 401 U.S. at 44).     The doctrine has been extended to ongoing civil proceedings and

   ongoing state administrative proceedings. Id. (citing Huffman v. Pursue, Ltd., 420 U.S. 592

   (1975); Middlesex Cty Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423 (1982)). Younger

   counsels that a federal district court should abstain when: “(1) the underlying proceedings

   constitute an ongoing state judicial proceeding; (2) the proceedings implicate important state

   interests; and (3) there is an adequate opportunity to raise constitutional challenges in the course

   of the underlying proceeding.” Danner, 277 F. App’x at 578.

                                                       10

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           Plaintiff does not challenge that the State has an important interest in regulating the practice

   of law or that there is adequate opportunity to raise constitutional challenges in the courts of the

   underlying proceeding. 7 Instead, Plaintiff argues that Younger abstention does not apply because

   the underlying proceedings are not “ongoing judicial proceedings,” and that the claims at issue fall

   within an exception to the application of Younger because the members of the BPR are biased.

           State bar disciplinary proceedings are “judicial proceedings.” See Danner, 277 F. App’x at

   578-79; Fieger v. Thomas, 74 F.3d 740 (6th Cir. 1996) (holding a board was enforcing rules of

   professional conduct was performing an adjudicative function and thus satisfied the first

   requirement for Younger); Berger v. Cuyahoga Bar Ass’n., 983 F.2d 718 (6th Cir. 1993) (ruling

   that when a state supreme court is the ultimate decision maker in attorney discipline proceedings,

   those proceedings are judicial in nature for Younger purposes); Squire v. Coughlan, 469 F.3d 551

   (6th Cir. 2006) (investigations into judicial misconduct are an adjudicative function for Younger

   purposes). In Danner, the Sixth Circuit specifically considered disciplinary proceedings of the

   Tennessee Board of Professional Responsibility and held that “the Tennessee disciplinary

   proceedings at issue are judicial in nature.” 277 F. App’x at 579.

           If the state proceeding was pending at the time of the filing, the matter is considered

   “ongoing.” Id. at 579. The action “remains pending until the litigant has exhausted his state

   appellate remedies.” Id. (quoting Huffman, 520 U.S. at 609). Plaintiff argues that the proceedings

   are not “ongoing” because the Order of Temporary Suspension has already been entered and that

   because the temporary suspension was “not brought in conjunction with any underlying




   7
            During the course of the underlying disciplinary proceedings before the Tennessee Supreme Court,
   Plaintiff raised and the Tennessee Supreme Court rejected the constitutional challenge to Rule 9, § 12.3.
   See Order Reinstating Temp. Suspension, In re Brian Phillip Manookian, BPR #026455, No. M2019-
   00630-SC-BAR-BP (Tenn. Oct. 11, 2019).
                                                          11

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   disciplinary action, the proceedings regarding the now-dissolved suspension are not ongoing now.”

   (Pl. Resp., Doc. No. 28 at 23). This argument is flatly contradicted by the long procedural history

   in the disciplinary proceeding recounted by the Tennessee Supreme Court. See In re Manookian,

   BPR #026455, No. M2019-00630-SC-BAR-BP (Tenn. Oct. 11, 2019). This history shows that

   not only was the disciplinary proceeding pending at the time the complaint was filed, it is still

   pending. Moreover, the October 17, 2019 Order Denying Petition for Dissolution of Order of

   Temporary Suspension clearly indicates that the temporary suspension is part of an underlying

   disciplinary complaint that is unresolved. In re Manookian, BPR #026455, No. M2019-00630-SC-

   BAR-BP (Tenn. Oct. 17, 2019) (ordering the parties to “proceed with all due speed toward ultimate

   resolution of the petition for discipline currently pending before the Board”).

          Even Plaintiff recognizes, in the context of a claim preclusion, that the proceedings are not

   yet final, arguing that “there has simply not been a final state-court judgment for preclusion

   purposes because the underlying disciplinary charges—including those from the original

   suspension have not been heard.” (Pl. Reply, Doc. No. 56 at 1). The Court does not suggest

   Plaintiff is disingenuous in his arguments. Rather, the evolution of Plaintiff’s argument reflects

   the ongoing nature of the disciplinary proceedings at issue and underscores the rationale for

   abstention from those proceedings.

          Plaintiff maintains that even if the prerequisites for Younger abstention have been met, the

   following exceptions to the doctrine allow the case to proceed: bad faith, harassment, and bias.

   Plaintiff alleges the initial temporary suspension was initiated in retaliation for Plaintiff’s filing a

   lawsuit against a state court judge and issuing a subpoena to the BPR and that thereafter

   “Defendants and their agents have engaged in an unprecedented, aggressive pursuit of [Plaintiff]

   since he first sued a state court judge and served a subpoena on the board in the fall of 2018.


                                                         12

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   Specifically they have: (i) pursued a temporary suspension based on protected out-of-court speech;

   (ii) failed to bring or adjudicate underlying disciplinary charges for months, asserted that [Plaintiff]

   had the burden of proof to dissolve the suspension; (iii) engaged in extensive gamesmanship to

   prevent hearings that would actually put them to their proof; (iv) brought new disciplinary petitions

   immediately after a suspension was dissolved; (v) filed a new petition to reinstate the temporary

   suspension based on flagrantly baseless allegations of noncompliance and fabricated misconduct

   complaints; (vi) refused to recuse themselves; and (vii) disregarded evidence that contradicted

   their preordained result.” (Pl. Br. on Mot. for Prelim. Inj., Doc. No. 43 at 13). The allegations of

   bias are directed at the alleged financial incentive for the Board Members to remove Plaintiff as

   competition in the legal market, and the three-member panel that held a hearing on the petition to

   reinstate temporary suspension when two of the members of the panel are defendants in this case.

           “While bias is an exception to Younger abstention, it is an extraordinary one, and the

   petitioner alleging such must offer ‘actual evidence to overcome the presumption of honesty and

   integrity in those serving as adjudicators.’” Danner, 277 F. App’x at 580. Younger “requires more

   than mere allegation and more than a conclusory finding to bring a case within the harassment

   exception. It appears that such a finding must be supported by specific evidence from which it can

   be inferred that state officials have been enforcing the statute against the plaintiffs in bad faith for

   purposes of harassment.” Grandco Corp. v. Rochford, 536 F.2d 197, 203 (7th Cir. 1976)).

   Exceptions to Younger abstention have been interpreted narrowly. Zalman v. Armstrong, 802 F.2d

   199, 205 (6th Cir. 1986).

           Importantly, the body that effected the temporary suspension was not the BPR, but the

   Tennessee Supreme Court. The Rules provide that a petition for temporary suspension is made by

   Disciplinary Counsel to the Tennessee Supreme Court and that “the Court may issue an order …


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   temporarily suspending said attorney.” Tenn. R. App. P. 9, § 12.3. As the temporary suspension

   was not ultimately carried out by the BPR, any alleged bias imputed to the BPR is irrelevant, or,

   at a minimum, would be cured when the Tennessee Supreme Court reviews the petition. Here, the

   Tennessee Supreme Court specifically found on more than one occasion that Plaintiff posed a

   threat of substantial harm to the public that justified the temporary suspension of his law license.

   There is no allegation that the Tennessee Supreme Court reached this conclusion because of its

   bias against Plaintiff.

           The case cited by Plaintiff, Gibson v. Berryhill, 411 U.S. 564 (1973), involved a level of

   institutional bias not established by Plaintiff’s conclusory allegations against individual BPR

   members. Gibson involved a state optometry board on which only independent optometrists were

   eligible to serve.    Plaintiffs were licensed optometrists employed by corporations (i.e. not

   independent optometrists) who sought to enjoin license revocation hearings before the state

   optometry board on charges of unprofessional conduct. The alleged unprofessional conduct was

   employment by a corporation. At the time, almost half of the state’s optometrists were employed

   by corporations. The Supreme Court noted that Younger “presupposes the opportunity to raise and

   have timely decided by a competent state tribunal the federal issues involved” and that the state

   board was “incompetent by reason of bias to adjudicate the issues pending before it.” Id. at 577-

   78. The board, which was composed entirely of independent optometrists, sought to revoke the

   licenses of “all optometrists in the State who were employed by business corporations …, and that

   these optometrists accounted for nearly half of all the optometrists practicing in Alabama.” Id. at

   578. The Supreme Court affirmed that “the pecuniary interest of the members of the Board of

   Optometry had sufficient substance to disqualify them, given the context in which the case arose.”

   Id. at 579.


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          The facts alleged here do not present such an extreme circumstance. First, unlike in the

   Gibson where the Board of Optometry had the authority to suspend licenses, the temporary

   suspensions at issue are made by the Tennessee Supreme Court in the first instance on petition by

   the Disciplinary Counsel and later on report and recommendation by a three-member panel. At no

   point in the proceedings to date did the BPR temporarily suspend Plaintiff’s law license, nor could

   it. More importantly, however, the pecuniary interest of the board in Gibson is not present here.

   In Gibson, the board effectively sought to revoke licenses of half of the optometrists in the state

   when those to be excluded from practice were also categorically excluded from participation on

   the board.

          The BPR does not have a pecuniary interest comparable to that of the board in Gibson that

   would disqualify them from hearing the disciplinary charges. The temporary suspension is

   directed at a single attorney, not an entire category of practitioners; nor is the Rule of Professional

   Conduct on which Plaintiff’s suspension was based a rule that affects Plaintiff but not any of the

   members of the BPR. Nor is there any indication that the members of the BPR have a pecuniary

   interest in Plaintiff’s suspension sufficient to render the BPR incompetent to adjudicate complaints

   against Plaintiff. There are over 18,000 licensed attorneys in Tennessee. 8 It strains credulity to

   conclude that the individual member of the BPR would benefit substantially from the removal of

   a single attorney, no matter how successful he is.

          Moreover, it appears from the record in the disciplinary proceedings before the Tennessee

   Supreme Court, that Plaintiff is able to raise complaints of bias before the Tennessee Supreme

   Court. Indeed, in his objections to the report and recommendation of the panel recommending



   8
            See American Bar Association National Lawyer Population Survey (2019), available at
   https://www.americanbar.org/content/dam/aba/administrative/market_research/national-lawyer-
   population-by-state-2019.pdf
                                                         15

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   reimposition of the temporary suspension, Plaintiff objected to the alleged bias of members of the

   panel. The Tennessee Supreme Court considered and overruled the objection.

            Finally, Plaintiff argues that Younger abstention does not apply to claims for prospective

   equitable relief. Plaintiff claims he “specifically seeks prospective relief unrelated to the

   proceedings that have already occurred.” (Pl. Resp., Doc. No. 28 at 22). He requests: (1) that the

   Court “enjoin defendants from utilizing the ‘good cause’ standard of § 12.3 or otherwise placing

   the burden of proof on Mr. Manookian or others”; (2) “enjoin defendants from violating their own

   procedural rules”; and (3) “enjoin defendants from suspending Mr. Manookian’s law license based

   upon any evidence that it not admissible under the rules of evidence.” Although in some

   circumstances, Younger does not preclude prospective equitable relief, the injunctive relief sought

   here directly and unequivocally applies to the ongoing disciplinary proceedings and is precisely

   the sort of interference in ongoing state proceedings Younger seeks to avoid.

            The case cited by Plaintiff, Wooley v. Maynard, 430 U.S. 705, 710 (1977), involved an

   entirely different procedural posture. In Wooley, the Plaintiff did not seek prospective relief

   regarding an ongoing case, but to enjoin future prosecution under a state statute he argued was

   unconstitutional. The Wooley plaintiff had been convicted of violating the state statute multiple

   times and served time in jail rather than pay a fine, but he did not seek to overturn his previous

   convictions or expunge his criminal record or any other action that would touch upon the

   concluded criminal proceedings. Instead, the plaintiff sought to enjoin the state from prosecuting

   him again. In contrast, the underlying proceeding Plaintiff seeks to affect is still ongoing. As

   Plaintiff stated, “[T]he Rule contemplates that further proceedings should be adjudicated … the

   charges underlying the original suspension have not yet been decided.” (Pl. Reply, Doc. No. 56 at

   1).


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          Based on the foregoing, the Court finds that abstention pursuant to Younger v. Harris is

   warranted.

                                          IV. CONCLUSION

          For the reasons stated, Defendants’ Motion to Dismiss (Doc. No. 23) is GRANTED, in

   part. Plaintiff’s antitrust claim in Court IV is subject to Parker immunity and is DISMISSED

   WITH PREJUDICE. The claims for damages against Defendants under 42 U.S.C. § 1983 in

   Counts I, II, and III are barred by quasi-judicial immunity and are DISMISSED WITH

   PREJUDICE. The remaining claims for injunctive and declaratory relief are STAYED pursuant

   to Younger v. Harris. See Quackenbush, 517 U.S. at 721 (recognizing the court’s power to stay

   cases based on abstention principles where the relief sought is equitable in nature). In light of the

   ruling on Defendants’ Motion to Dismiss, Plaintiff’s Motion for Preliminary Injunction (Doc. No.

   44) is MOOT.




                                                         ____________________________________
                                                         WILLIAM L. CAMPBELL, JR.
                                                         UNITED STATES DISTRICT JUDGE




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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

    BRIAN P. MANOOKIAN,                           )
                                                  )
            Plaintiff,                            )
                                                  )       NO. 3:19-cv-00350
    v.                                            )
                                                  )       JUDGE CAMPBELL
    FLOYD FLIPPIN et al.,                         )
                                                  )
            Defendants.                           )

                                               ORDER

           Pending before the Court is Plaintiff’s Motion for Entry of Judgment on Certain Dismissed

   Claims Under Fed. R. Civ. P. 54(b). (Doc. No. 60). Through the motion, Plaintiff seeks entry of

   judgment under Fed. R. Civ. P. 54(b) to allow for immediate appeal of the Court’s February 28,

   2020 Order (Doc. No. 59). On August 24, 2020, Plaintiff entered a Notice of Appeal. (Doc. No.

   65). Accordingly, the Motion for Entry of Judgment (Doc. No. 60) is MOOT.

           It is so ORDERED.



                                                       ____________________________________
                                                       WILLIAM L. CAMPBELL, JR.
                                                       UNITED STATES DISTRICT JUDGE




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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION


    BRIAN P. MANOOKIAN,
                                                 Civil Action No. 3:19-cv-00350
                          Plaintiff,
                                                 Judge William L. Campbell, Jr.
                vs.

    FLOYD FLIPPIN et al.,

                          Defendants.


                    MOTION FOR ENTRY OF JUDGMENT
          ON CERTAIN DISMISSED CLAIMS UNDER FED. R. CIV. P. 54(b)



         Plaintiff Brian P. Manookian requests that this Court enter an order of

   judgment under Rule 54(b), Federal Rules of Civil Procedure, as to the claims it

   dismissed with prejudice in its February 28, 2020 order.

         1.    On February 28, 2020, this Court entered an order dismissing four

   claims with prejudice and staying the remaining claims under Younger v. Harris:

         For the reasons stated in the accompanying memorandum,
         Defendants’ Motion to Dismiss (Doc. No. 23) is GRANTED, in part.
         Plaintiff’s antitrust claim in Count IV is subject to Parker immunity
         and is DISMISSED WITH PREJUDICE. The claims for damages
         against Defendants under 42 U.S.C. § 1983 in Counts I, II, and III are
         barred by quasi-judicial immunity and are DISMISSED WITH
         PREJUDICE. The remaining claims for injunctive and declaratory
         relief are STAYED pursuant to Younger v. Harris, 401 U.S. 37 (1971).
         In light of the ruling on Defendants’ Motion to Dismiss, Plaintiff’s
         Motion for Preliminary Injunction (Doc. No. 44) is MOOT.

         2.    Since the Court stayed the action under Younger v. Harris, final

   judgment was not entered. Therefore, the order does not qualify as a final decision



                                       1
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   under 28 U.S.C. § 1291, a collateral order, or an interlocutory order under 28 U.S.C.

   § 1292. Summers v. Leis, 368 F.3d 881, 889 (6th Cir. 2004).

         3.     A district court may direct the entry of final judgment as to one or

   more but fewer than all of the claims in a case “only if the court expressly

   determines that there is no just reason for delay.” Fed. R. Civ. P. 54(b). The Court

   should “balance the needs of the parties against the interests of efficient case

   management,” considering the following factors:

         (1) the relationship between the adjudicated and unadjudicated claims;
         (2) the possibility that the need for review might or might not be
         mooted by future developments in the district court; (3) the possibility
         that the reviewing court might be obliged to consider the same issue a
         second time; (4) the presence or absence of a claim or counterclaim
         which could result in set-off against the judgment sought to be made
         final; (5) miscellaneous factors such as delay, economic and solvency
         considerations, shortening the time of trial, frivolity of competing
         claims, expense and the like.

   In re Fifth Third Early Access Cash Advance Litig., 925 F.3d 265, 275 (6th Cir.

   2019) (quoting Gen. Acquisition v. Gencorp, Inc., 23 F.3d 1022, 1027 (6th Cir. 1994)).

         4.     The Court should enter final judgment as to all the dismissed claims

   because the only matter precluding final judgment is an indefinite stay of the only

   claims that were not dismissed.

         5.     The first factor favors entry of final judgment on the dismissed claims

   because there is an insignificant relationship between the adjudicated claims and

   the unadjudicated claims. They are legally distinct (and the antitrust claim is also

   factually distinct): the dismissed claims were dismissed on grounds that do not

   apply to the remaining claims, and the remaining claims were stayed on grounds

   that do not apply to the dismissed claims. State action immunity applies only to


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   antitrust claims, quasi-judicial immunity applies only to damages claims, Younger

   v. Harris abstention applies only to injunctive relief, Wooley v. Maynard, 430 U.S.

   705, 710 (1977) (Younger precludes federal courts from exercising certain “equitable

   jurisdiction to enjoin ongoing state prosecutions”), and Younger v. Harris abstention

   can never apply to federal antitrust claims. See Opp. Mot. Dismiss at 19–20. Put

   another way, reversal by the Court of Appeals would not affect this Court’s decision

   on the remaining claims that it stayed.

         6.     The second factor favors final judgment because future developments

   in this Court would not affect the grounds on which the dismissed claims were

   adjudicated and thus could not be mooted by further proceedings.

         7.     Similarly, the third factor favors entry of final judgment on the

   dismissed claims because their grounds for dismissal do not apply to the remaining

   injunctive and declaratory relief claims, and thus the Court of Appeals will not have

   to decide the same legal issues twice.

         8.     The fourth factor favors final judgment because there are no claims or

   counterclaims that could later require set-off of the dismissed claims for which final

   judgment is sought.

         9.     Finally, other considerations also heavily favor entry of final judgment

   as to the dismissed claims. The case has effectively been terminated but Mr.

   Manookian’s right to appeal on grounds independent from any remaining claims is

   delayed indefinitely. Moreover, as it must in dismissing a complaint under Rule

   12(b)(6), the Court accepted as true that Mr. Manookian has suffered millions of




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   dollars in damages, but that he cannot recover those damages as a matter of law

   under two immunity doctrines. At the same time, he is not allowed to earn a living

   until defendants conclude their proceedings, and this Court has abstained from

   providing relief from those proceedings independent of the merits of the claims

   (which were not even disputed by defendants). Thus, there is a danger that Mr.

   Manookian will suffer economic hardship and injustice through delay of entry of

   final judgment.

         10.    For all these reasons, there is no just reason for delay with respect to

   entry of judgment as to the dismissed claims, as provided in Rule 54(b), Federal

   Rules of Civil Procedure.

         11.    Under Local Rule 7.01, the undersigned submits that he has met and

   conferred with opposing counsel regarding this motion. Opposing counsel indicated

   that defendants object to the relief requested in this motion.

                                      CONCLUSION

         For these reasons, Mr. Manookian respectfully requests that this Court find

   that there is no just reason for delay with respect to entry of judgment as to the

   claims dismissed with prejudice and enter an order of judgment as to those claims.

                                               Respectfully submitted,

    Date: March 30, 2020                       s/ Aaron Gott
                                               AARON GOTT
                                               Jarod Bona (admitted pro hac vice)
                                               David Codell (admitted pro hac vice)
                                               Aaron Gott (admitted pro hac vice)
                                               BONA LAW PC
                                               4275 Executive Square, Suite 200
                                               La Jolla, CA 92037



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                                                                              130
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                                          daniel.a.horwitz@gmail.com

                                          Local Pro Bono1 Counsel for Plaintiff




   1.     Any attorney’s fee awarded to Mr. Manookian and earned by Mr. Horwitz
   shall be donated to the First Amendment Center.



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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and exact copy of the Motion for

   Entry of Judgment on Certain Dismissed Claims Under Rule 54(b) was served on

   the persons listed below by means of this Court’s filing system.


           Talmage M. Watts                        Daniel Horwitz
           Senior Assistant Attorney General       Tennessee Bar No. 032176
           Attorney General’s Office – Tax         1803 Broadway, Suite #531
           Division                                Nashville, TN 37203
           P.O. Box 20207                          (615) 739-2888
           Nashville, TN 37202-0207                daniel.a.horwitz@gmail.com
           (615) 741-6431 telephone
           talmage.watts@ag.tn.gov                 Local Pro Bono Counsel for Plaintiff

           Counsel for Defendants

   on the 30th day of March 2020.




                                                           s/Aaron Gott
                                                          AARON GOTT




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                                                 No. 20-5979
                                                                                                FILED
                                UNITED STATES COURT OF APPEALS                            Sep 10, 2020
                                                                                     DEBORAH S. HUNT, Clerk
                                     FOR THE SIXTH CIRCUIT


   BRIAN MANOOKIAN,                                             )
                                                                )
           Plaintiff-Appellant,                                 )
                                                                )
   v.                                                           )                  ORDER
                                                                )
   FLOYD S. FLIPPIN, in his official and individual             )
   capacities, et al.,                                          )
                                                                )
           Defendants-Appellees.                                )




           Plaintiff Brian Manookian appeals the district court’s order of February 28, 2020, granting in

   part the motion to dismiss—filed by Defendants Floyd S. Flippin, Dana L. Dye, John Daniel Kitch,

   Joe Michael Looney, Odell Horton, Jr., Ruth T. Ellis, Jody Pickens, Bridget J. Willhite, and Jimmie

   Carpenter Miller—and denying as moot his motion for a preliminary injunction. On August 24,

   2020, Manookian filed his notice of appeal. In civil cases, the notice of appeal must be filed within

   thirty days of the order appealed from. Fed. R. App. P. 4(a)(1)(A).

           Manookian is ORDERED to SHOW CAUSE within twenty-one (21) days of the entry of

   this order why his appeal should not be dismissed for lack of jurisdiction. Following receipt of a

   response or the expiration of the response period, whichever occurs first, Defendants shall have ten

   (10) days in which to file a reply. Thereafter, the issue will be referred to the court for disposition.

                                                    ENTERED PURSUANT TO RULE 45(a)
                                                    RULES OF THE SIXTH CIRCUIT




                                                    Deborah S. Hunt, Clerk
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                            UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT


   BRIAN P. MANOOKIAN,
                                                      Case No. 20-5979
                      Plaintiff and Appellant,
                vs.

   FLOYD FLIPPIN et al.,

                      Defendants and Appellees.


          Appellant Brian Manookian’s Response to Order to Show Cause


         Appellant Brian Manookian agrees that this Court does not have jurisdiction

   to decide this protective appeal. The appeal was timely brought under Fed. R. App.

   P. 54 to ensure that Manookian did not forfeit his right to appeal these claims in the

   event this Court were to determine he was precluded from doing so on a later appeal.

   I.    BACKGROUND

         On February 28, 2020, the district court entered an order dismissing four of

   Manookian’s claims with prejudice and staying his remaining claims under Younger

   v. Harris: The district court stated as follows:

         For the reasons stated in the accompanying memorandum, Defendants’
         Motion to Dismiss (Doc. No. 23) is GRANTED, in part. Plaintiff’s
         antitrust claim in Count IV is subject to Parker immunity and is
         DISMISSED WITH PREJUDICE. The claims for damages against
         Defendants under 42 U.S.C. § 1983 in Counts I, II, and III are barred by
         quasi-judicial immunity and are DISMISSED WITH PREJUDICE.
         The remaining claims for injunctive and declaratory relief are STAYED
         pursuant to Younger v. Harris, 401 U.S. 37 (1971). In light of the ruling
         on Defendants’ Motion to Dismiss, Plaintiff’s Motion for Preliminary
         Injunction (Doc. No. 44) is MOOT.

   D. Dkt. 59 at 1.


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         The district court did not enter judgment in light of the stay, and it did not set

   its decision out in a “separate statement” as would be required for a judgment under

   Rule 58(a), Federal Rules of Civil Procedure. Since the order did not qualify as a final

   order under 28 U.S.C. § 1291, Manookian filed a motion for entry of final judgment

   on the dismissed claims under Rule 54(b), Federal Rules of Civil Procedure. D.

   Dkt. 60.

         The district court did not rule on Manookian’s motion by the deadline under

   Rule 4(a)(7)(A)(ii), Federal Rules of Appellate Procedure. He filed this protective

   appeal because the appellees argued—incorrectly—that the order was appealable as

   a final order and Manookian’s deadline had—at the time of their opposition to the

   54(b) motion—passed. See id. Shortly after filing his notice of appeal, the district

   court denied his Rule 54(b) motion as moot. D. Dkt. 67. Thereafter, this Court issued

   an order for Manookian to show cause why the appeal should not be dismissed

   September 10, 2020.

                                       ARGUMENT

         Manookian agrees that this Court does not have jurisdiction to hear this appeal

   because the district court’s order was not a final order, but if it were a final order,

   this appeal would be timely under Rule 4(a)(7)(A)(ii), Federal Rules of Appellate

   Procedure, because the order was not set out in a separate statement for the purposes

   of Rule 58(a), Federal Rules of Civil Procedure. Accordingly, this Court should hold

   that while this protective appeal was timely, it nevertheless lacks jurisdiction to hear

   it because the district court has not entered an appealable final order. Instead,




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   Manookian can appeal the district court’s orders upon entry of either judgment under

   Rule 54(b) on the dismissed claims or upon the entry of final judgment on all claims.

         The District Court’s Order Was Not Immediately Appealable Absent a
 II.     Rule 54(b) Order

         In the district court, defendants argued that the district court’s order was

   appealable as a final order because “the stay order effectively put plaintiff out of

   court,” relying on case law holding that abstention-based stay orders are appealable

   if a concurrent state-court proceeding would operate automatically by res judicata

   effectively to end the federal litigation. See, e.g., RSM Richter, Inc. v. Behr Am., Inc.,

   729 F.3d 553, 556 (6th Cir. 2013); D. Dkt. 61 at 2–3. But that argument required an

   erroneous assumption: that Manookian would either lose in the disciplinary

   proceedings or win in such a way that the federal courts would have nothing to

   adjudicate. That assumption is incorrect. There is a solid possibility that after the

   disciplinary proceedings conclude, plaintiff will have continuing claims in

   federal court.

         First, the state proceedings continue, as the district court’s ruling and

   defendants acknowledge. D. Dkt. 58 at 12 (“[T]he temporary suspension is part of an

   underlying disciplinary complaint that is unresolved.”); D. Dkt. 61 at 6 (noting that

   plaintiff’s “First Amendment rights are presently under consideration by a hearing

   panel” and that “[a]ny other claims . . . for which he seeks injunctive and declaratory

   relief here may be raised in the remaining state disciplinary proceedings”).

         Second, there is a strong possibility that plaintiff will prevail in those

   proceedings. Indeed, less than a year ago, the Tennessee Supreme Court granted a



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   petition by plaintiff to dissolve a temporary suspension of his law license that was

   then in effect, subject to conditions. See D. Dkt. 58 at 2. There are several grounds on

   which plaintiff could prevail. For example, the Tennessee Supreme Court could rule

   that there was no underlying basis for the complaints against him; could rule on other

   state-law grounds in his favor; or could rule in his favor on one of his several

   constitutional claims without reaching his other constitutional claims. If any of those

   outcomes were to occur, there would still be matters for the district court to

   adjudicate—namely, whether he is entitled to additional declaratory or injunctive

   relief based on any constitutional claim that the Tennessee Supreme Court should

   choose not to reach. A victory on one or two of those constitutional grounds or on non-

   constitutional state-law grounds in the state proceedings would not operate

   necessarily (1) to preclude all claims or issues in federal court, (2) to preclude

   consideration of remedies that may differ from what the Tennessee Supreme Court

   may order or have power to order under state law, or (3) to render plaintiff’s

   remaining claims moot. 1 The abstention order does not put plaintiff “out of court.” D.

   Dkt. 61 at 1.

   III.   This Appeal Is Timely Under Rule 4(a)(7)(A)(ii) Because Any Arguable
          Judgment by the District Court Was Not Set Forth in a Separate
          Statement

          Even if the appellees’ opposition to the Rule 54(b) motion were correct—which

   they were not—that the order effectively put plaintiff “out of court,” they were


   1.     Cf. Ne. Fla. Chapter of Associated Gen. Contractors of Am. v. City of
   Jacksonville, 508 U.S. 656, 661–62 (1993) (“[A] defendant’s voluntary cessation of a
   challenged practice does not deprive a federal court of its power to determine the
   legality of the practice.” (citation omitted)).


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   incorrect in contending the order was an order subject to a 30-day appeal deadline

   instead of the 180-day deadline resulting from Rule 4(a)(7)(A)(ii), Federal Rules of

   Appellate Procedure. That rule provides that Rule 58(a)’s requirement that a

   judgment be set out in a “separate statement” applies to orders that are appealable

   (with exceptions not applicable here). If an order is not one that is set forth in a

   “separate statement,” as that term has been construed by the federal courts, then the

   order is not deemed entered until “150 days have run from entry of the judgment or

   order in the civil docket,” and the thirty-day time-limit to notice an appeal runs from

   that later date. Although the district court’s order is a document distinct from its

   lengthier memorandum, it is not set forth in a separate statement for purposes of

   Rule 58.

         For an order to constitute a separate statement, the order “should be as

   minimal as possible to comply with Rule 58’s requirements”—that is, stating who

   prevailed and what relief is ordered—“and should include little more.” In re Cendant

   Corp. Sec. Litig., 454 F.3d 235, 245 (3d Cir. 2006), as amended (Aug. 30, 2006); see

   Otis v. City of Chi., 29 F.3d 1159, 1163 (7th Cir. 1994) (en banc) (“[T]he district court

   should have entered a judgment . . . stating something like: ‘The suit is dismissed

   with prejudice, and plaintiff shall take nothing by her complaint.’ ”). Rule 58 “must

   be mechanically applied in order to avoid . . . uncertainties as to the date on which a

   judgment is entered.” United States v. Indrelunas, 411 U.S. 216, 221–22 (1973).

   Further, Rule 58 “should be interpreted to prevent loss of the right of appeal, not to

   facilitate loss.” Bankers Tr. Co. v. Mallis, 435 U.S. 381, 386 (1978). The order does




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   not resemble a separate statement.

         First, the order begins with a full paragraph that both (1) lists five different

   filings before the Court and (2) recites part of the procedural history of the case:

         Before the Court is Defendants’ Motion to Dismiss. (Doc. No. 23).
         Plaintiff filed a Response (Doc. No. 28), Defendants filed a Reply (Doc.
         No. 31), and Plaintiff filed a Sur-Reply (Doc. No. 37-1). Also pending
         before the Court is Plaintiff’s Motion for Temporary Restraining Order
         and/or Preliminary Injunction. (Doc. No. 44). Defendants filed a
         Response (Doc. No. 49) and Plaintiff filed a Reply (Doc. No. 56). The
         Court previously denied Plaintiff’s motion for a temporary restraining
         order. (Doc. No. 47).

   D. Dkt. 59 at 1. In addition, the second paragraph concludes by reciting another

   ruling not relevant to any judgment that might be entered: “In light of the ruling on

   Defendants’ Motion to Dismiss, Plaintiff’s Motion for Preliminary Injunction (Doc.

   No. 44) is MOOT.” Id. Including such information about the parties’ filings and the

   rulings of the district court on motions not relevant to a final judgment indicates that

   the order is not a separate statement under Rule 58.

         In Hyland v. Liberty Mutual Fire Insurance Co., 885 F.3d 482 (7th Cir. 2018),

   the judgment stated that one party’s summary judgment motion had been

   “GRANTED in full” and that the other party’s motion for partial summary judgment

   was “DENIED.” Id. at 483. Among other criticisms, the Seventh Circuit stressed that

   “[j]udgments must not recite the pleadings and other papers that led to the decision.”

   Id. (emphasis added); id. (“[T]his judgment omits what must be included and includes

   what must be omitted” (emphasis added).). The recitation of filings and other rulings

   are inconsistent with the order being a Rule 58 separate statement.

         Second, the order states the legal bases for the judgment. Rather than simply



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   state who won and what relief was ordered, the order—as is typical for an ordinary

   order, but not for a separate statement—repeatedly states legal bases for its rulings,

   albeit briefly. See D. Dkt. 60 at 1 (reciting that “Count IV is subject to Parker

   immunity”; that the damages claims in “Counts I, II, and III are barred by quasi-

   judicial immunity”; and that “the remaining claims for injunctive and declaratory

   relief are STAYED pursuant to Younger v. Harris” (emphases added)). However,

   “[t]o satisfy the separate-document requirement, a judgment must be a self-contained

   document . . . stating who has won and what relief has been awarded, but omitting

   the reasons for the disposition (which should appear in the court’s opinion).”

   19 Moore’s Federal Practice - Civil § 201.10 (2020) (quoting Otis, 29 F.3d at 1163

   (emphasis added)).

         Third, the final paragraph states “the Clerk is directed to administratively

   close the file, subject to reopening upon motion by either party.” D. Dkt. 59 at 2

   (emphasis added). That type of statement does not appear in a separate statement,

   given that “Rule 58 is designed to produce a distinct indication that the case is at an

   end.” Otis, 29 F.3d at 1163; see also Reid v. White Motor Corp., 886 F.2d 1462, 1466–

   67 (6th Cir. 1989) (“[W]here the failure to comply with the separate document rule

   has created confusion which sabotages appellate jurisdiction, the separate document

   requirement should continue to be mechanically applied.”).

         Manookian thus reasonably and correctly determined that the order is not a

   separate statement under Rule 58 and therefore filed his motion for entry of judgment

   under Rule 54(b) in order to be able to appeal. And when the district court did not




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   rule on that motion, Manookian was forced to file this protective appeal to preserve

   his appellate rights.

                                      CONCLUSION

         For the reasons explained above, Manookian agrees that the Court lacks

   jurisdiction over this appeal. He timely filed it in accordance with Fed. R. App. P.

   4(a)(7)(A)(ii) so that he would not forfeit his right to appeal in light of arguments

   made by appellees in the district court and the district court’s silence on his Rule

   54(b) motion. This Court should therefore hold that no final order has been entered

   and, therefore, that this Court lacks jurisdiction to hear this appeal.

                                                  Respectfully submitted,

   Date: October 1, 2020                       s/ David C. Codell
                                               DAVID C. CODELL

                                               BONA LAW PC
                                               4275 Executive Square, Suite 200
                                               La Jolla, California 92037
                                               (858) 964-4589
                                               david.codell@codell.com

                                               Counsel for Appellant




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                                            No. 20-5979
                                                                                      FILED
                             UNITED STATES COURT OF APPEALS                      Jan 05, 2021
                                                                            DEBORAH S. HUNT, Clerk
                                  FOR THE SIXTH CIRCUIT


   BRIAN MANOOKIAN,                                       )
                                                          )
          Plaintiff-Appellant,                            )
                                                          )
   v.                                                     )               O-
                                                                          - R-
                                                                             D-E-
                                                                                R
                                                          )
   FLOYD S. FLIPPIN, in his official and individual       )
   capacities, et al.,                                    )
                                                          )
          Defendants-Appellees.                           )




          Before: SUHRHEINRICH, GILMAN, and LARSEN, Circuit Judges.


          Plaintiff Brian Manookian appeals the district court’s memorandum opinion of February

   28, 2020, granting in part a motion to dismiss, staying his remaining claims seeking equitable

   relief under Younger v. Harris, 401 U.S. 37 (1971), and denying as moot his motion for a

   preliminary injunction. The clerk ordered Manookian to show cause why his appeal should not

   be dismissed as untimely. Manookian responds that, although his appeal is timely, dismissal is

   appropriate because he appeals a non-final, non-appealable order. Defendants—all attorneys and

   members of the Board of Professional Responsibility of the Tennessee Supreme Court—reply

   that the appeal is untimely and must be dismissed.

          Although Manookian asserts otherwise, the district court’s memorandum opinion was

   final and appealable. A final decision is one “that ends the litigation on the merits and leaves

   nothing for the court to do but execute the judgment.” Firestone Tire & Rubber Co. v. Risjord,
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   449 U.S. 368, 373 (1981) (internal quotation marks and citation omitted). In the absence of a

   final order, we generally lack jurisdiction over an appeal. See Marvin v. City of Taylor, 509 F.3d

   234, 251 (6th Cir. 2007). Although “a stay is not ordinarily a final decision” under § 1291,

   Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 10 n.11 (1983), it may be

   “final for purposes of appellate jurisdiction” if it puts a litigant “effectively out of court.” Id. at

   9−10; see also Idlewild Bon Voyage Liquor Corp. v. Epstein, 370 U.S. 713, 715 n.2 (1962) (per

   curiam). Such is the case where “the district court would be bound, as a matter of res judicata, to

   honor the state court’s judgment” on any stayed claims. RSM Richter, Inc. v. Behr Am., Inc., 729

   F.3d 553, 556 (6th Cir. 2013) (quoting Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 713

   (1996)).

          Here, there is no dispute that Manookian may assert the only remaining claims—

   constitutional claims seeking injunctive and declaratory relief—in the ongoing Tennessee state

   proceedings. See Tenn. Sup. Ct. R. 9, § 1.3; Danner v. Bd. of Prof’l Resp. of the Tenn. Sup. Ct.,

   277 F. App’x 575, 579 (6th Cir. 2008).          Manookian would, therefore, be precluded from

   litigating them in the district court. See Creech v. Addington, 281 S.W.3d 363, 376 (Tenn.

   2009); see also Marrese v. Am. Acad. of Orthopaedic Surgeons, 470 U.S. 373, 380 (1985).

   Accordingly, the district court’s stay under Younger “is effectively a final decision and . . . the

   district court order is final for purposes of appellate review.” Herrera v. City of Palmdale, 918

   F.3d 1037, 1043 (9th Cir. 2019) (citing Moses H. Cone, 460 U.S. at 10 n.11).

          In a civil case, subject to exceptions not applicable here, a notice of appeal must be filed

   within thirty days after entry of the order or judgment appealed from.              Fed. R. App. P.

   4(a)(1)(A). For appeals from the grant of summary judgment, this thirty-day period begins to

   run from the date a separate judgment is entered on the docket or, if a separate judgment is not
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   entered, 150 days after entry of the order or judgment. See Fed. R. App. P. 4(a)(7)(A)(i)−(ii);

   Fed. R. Civ. P. 58(a)(1)−(5).

          The issue in this case thus becomes whether the district court’s order, entered on the same

   day as its memorandum opinion, qualifies as a judgment. “[T]o satisfy the separate document

   requirement, a judgment must, generally speaking, be a self-contained document, saying who has

   won and what relief has been awarded, but omitting the reason for the disposition, which should

   appear in the court’s opinion.” Local Union No. 1992 of Int’l Bhd. Of Elec. Workers v. Okonite

   Co., 358 F.3d 278, 284 (3d Cir. 2004) (internal quotation marks and citation omitted). “[T]he

   separate judgment should be as minimal as possible to comply with Rule 58’s requirements”

   because “minimal judgments make clear when the time to appeal is at hand.” In re Cendant

   Corp. Sec. Litig., 454 F.3d 235, 245 (3d Cir. 2006); Okonite Co., 358 F.3d at 284; see also

   Bankers Tr. Co. v. Mallis, 435 U.S. 381, 386 (1978) (per curiam) (“Technical application of the

   separate-judgment requirement is necessary in that context to avoid the uncertainties that once

   plagued the determination of when an appeal must be brought.”). Further, Rule 58 “should be

   interpreted to prevent the loss of the right of appeal, not to facilitate loss.” Mallis, 435 U.S. at

   386 (citation omitted).

          Here, the district court’s seventeen-page memorandum set out the facts, claims, and legal

   analysis in depth. The accompanying two-page order set out only the motions and responses

   thereto, and brief rulings on each. The order has a separate caption, and it is separately paginated

   from the memorandum opinion. The district court judge separately signed the final page of each,

   each is separately file stamped, and the clerk of court docketed them as separate, discrete

   documents. The district court’s succinct outline of the relief granted omits its reasoning except

   for a brief bit of conclusory analysis and, thus, does not run afoul of the separate-document
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   requirement. See Kidd v. Dist. of Columbia, 206 F.3d 35, 39 (D.C. Cir. 2000). Its denomination

   as an “order” rather than a “judgment” does not upend the separate-document requirement. See

   Okonite Co., 358 F.3d at 285−86; United States v. Johnson, 254 F.3d 279, 285 n.7 (D.C. Cir.

   2001); Beaudry Motor Co. v. Abko Props., Inc., 780 F.2d 751, 754−55 (9th Cir. 1986); see also

   Fed. R. Civ. P. 54(a) (defining a “judgment” as “includ[ing] a decree and any order from which

   an appeal lies”); Fed. R. App. P. 4(a)(7) (providing that a “judgment or order is entered for

   purposes of . . . Rule 4(a)” when it is entered in compliance with Rules 58 and 79(a)). Because

   the district court’s order was sufficient to constitute a separate judgment, the time to file a notice

   of appeal began to run when it was filed. Manookian’s notice of appeal, filed 177 days later on

   August 24, 2020, is untimely.

          The appeal is therefore DISMISSED as untimely.

                                                  ENTERED BY ORDER OF THE COURT




                                                  Deborah S. Hunt, Clerk
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                           Selected docket entries for case 20−5979
                                           Generated: 04/02/2021 16:08:57

   Filed          Document Description               Page                          Docket Text
08/26/2020 1 Case Opening Letter                      3 Civil Case Docketed. Notice filed by Appellant Brian
                                                          Manookian. Transcript needed: y. (SSS)
08/26/2020                                                The case manager for this case is: Sharday Swain (SSS)
09/10/2020   3                                            SHOW CAUSE order filed: Manookian is ORDERED to
             3 Cover Letter                            6 SHOW CAUSE within twenty−one (21) days of the entry
                                                          of this order why his appeal should not be dismissed for
             3 show cause order filed                  7
                                                          lack of jurisdiction. Following receipt of a response or the
                                                          expiration of the response period, whichever occurs first,
                                                          Defendants shall have ten (10) days in which to file a reply.
                                                          Thereafter, the issue will be referred to the court for
                                                          disposition. Response due by 10/01/2020 for Aaron Gott.
                                                          (SSS)
09/17/2020   4 appearance form                         8 APPEARANCE filed for Appellant Brian Manookian by
                                                          David C. Codell. Certificate of Service: 09/17/2020.
                                                          [20−5979] (DCC)
09/17/2020   5 corporate disclosure                    9 CORPORATE DISCLOSURE STATEMENT filed by
                                                          Attorney Mr. David C. Codell for Appellant Brian
                                                          Manookian Certificate of Service: 09/17/2020. [20−5979]
                                                          (DCC)
09/28/2020                                                TRANSCRIPT ORDER filed − no hearings held in District
                                                          Court. Filed by Mr. David C. Codell for Brian Manookian.
                                                          Certificate of Service: 09/27/2020. [20−5979] (DCC)
10/01/2020   7 showcause response                     11 RESPONSE filed to the show cause, [3]. Response filed by
                                                          Attorney Mr. David C. Codell for Appellant Brian
                                                          Manookian. Certificate of Service: 10/01/2020. [20−5979]
                                                          (DCC)
10/05/2020   8 civil appeal statement of parties and 20 CIVIL APPEAL STATEMENT OF PARTIES AND
             issues                                       ISSUES filed by Attorney Mr. David C. Codell for
                                                          Appellant Brian Manookian.. Certificate of Service:
                                                          10/05/2020. [20−5979] (DCC)
10/09/2020   9 reply                                  24 REPLY filed by Mr. Jonathan Neil Wike for Dana L. Dye,
                                                          Ruth T. Ellis, Floyd S. Flippin, Odell Horton, Jr., John
                                                          Daniel Kitch, Joe Michael Looney, Jimmie Carpenter
                                                          Miller, Jody Pickens and Bridget J. Willhite
                                                          regardingCertificate of Service: 10/09/2020. [20−5979]
                                                          (JNW)
10/13/2020   10 appearance form                       34 APPEARANCE filed for Appellees Dana L. Dye, Ruth T.
                                                          Ellis, Floyd S. Flippin, Odell Horton, Jr., John Daniel
                                                          Kitch, Joe Michael Looney, Jimmie Carpenter Miller, Jody
                                                          Pickens and Bridget J. Willhite by Jonathan N. Wike.
                                                          Certificate of Service: 10/13/2020. [20−5979] (JNW)
01/05/2021   11                                           ORDER filed: The appeal is therefore DISMISSED as
                                                          untimely. Richard F. Suhrheinrich, Ronald Lee Gilman and
                                                          Joan L. Larsen, Circuit Judges. (SSS)
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        11 judge order filed        I I
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                                                CASE-ADMINISTRATIVELY-CLOSED
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                 Middle District of Tennessee (Nashville)
              CIVIL DOCKET FOR CASE #: 3:19-cv-00350


Manookian v. Flippin et al                            Date Filed: 04/29/2019
Assigned to: District Judge William L. Campbell, Jr   Date Terminated: 02/28/2020
Case in other court: 6CCA, 20-05979                   Jury Demand: Plaintiff
Cause: 15:25 Clayton Act                              Nature of Suit: 410 Anti-Trust
                                                      Jurisdiction: Federal Question
Plaintiff
Brian Manookian                       represented by Aaron Gott
                                                     Bona Law PC
                                                     4275 Executive Square
                                                     Suite 200
                                                     La Jolla, CA 92037
                                                     (858) 964-4589
                                                     Email:
                                                     aaron.gott@bonalawpc.com
                                                     TERMINATED: 12/09/2020

                                                      Daniel A. Horwitz
                                                      Law Office of Daniel A. Horwitz
                                                      1803 Broadway
                                                      Suite 531
                                                      Nashville, TN 37203
                                                      (615) 739-2888
                                                      Email:
                                                      daniel.a.horwitz@gmail.com
                                                      ATTORNEY TO BE NOTICED

                                                      David C. Codell
                                                      Bona Law PC
                                                      4275 Executive Square
                                                      Suite 200
                                                      La Jolla, CA 92037
                                                      (858) 964-4589
                                                      Email: david@codell.com
                                                       TERMINATED: 12/09/2020
     Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.218 Page 168 of 182
                                                                          148
                                                       Jarod Bona          Ex. 17
                                                       Bona Law PC
                                                       4275 Executive Square
                                                       Suite 200
                                                       La Jolla, CA 92037
                                                       (858) 964-4589
                                                       Email:
                                                       jarod.bona@bonalawpc.com
                                                       TERMINATED: 12/09/2020


V.
Defendant
Floyd Flippin                          represented by Jonathan N. Wike
in his official and individual                        Tennessee Attorney General's
capacities                                            Office
                                                      P O Box 20207
                                                      Nashville, TN 37202
                                                      (615) 741-3491
                                                      Email: Jon.Wike@ag.tn.gov
                                                      ATTORNEY TO BE NOTICED

                                                       Talmage M. Watts
                                                       Tennessee Attorney General's
                                                       Office
                                                       P O Box 20207
                                                       Nashville, TN 37202-0207
                                                       (615) 741-6424
                                                       Fax: (615) 532-2571
                                                       Email: talmage.watts@ag.tn.gov
                                                       TERMINATED: 06/29/2020

Defendant
Dana Dye                               represented by Jonathan N. Wike
in her official and individual                        (See above for address)
capacities                                            ATTORNEY TO BE NOTICED

                                                       Talmage M. Watts
                                                       (See above for address)
                                                       TERMINATED: 06/29/2020
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                                                                       149
Defendant
                                                                              Ex. 17
John Kitch                             represented by Jonathan N. Wike
in his official and individual                        (See above for address)
capacities                                            ATTORNEY TO BE NOTICED

                                                       Talmage M. Watts
                                                       (See above for address)
                                                       TERMINATED: 06/29/2020

Defendant
Joe Looney                             represented by Jonathan N. Wike
in his official and individual                        (See above for address)
capacities                                            ATTORNEY TO BE NOTICED

                                                       Talmage M. Watts
                                                       (See above for address)
                                                       TERMINATED: 06/29/2020

Defendant
Odell Horton, Jr.                      represented by Jonathan N. Wike
in his official and individual                        (See above for address)
capacities                                            ATTORNEY TO BE NOTICED

                                                       Talmage M. Watts
                                                       (See above for address)
                                                       TERMINATED: 06/29/2020

Defendant
Ruth Ellis                             represented by Jonathan N. Wike
in her official and individual                        (See above for address)
capacities                                            ATTORNEY TO BE NOTICED

                                                       Talmage M. Watts
                                                       (See above for address)
                                                       TERMINATED: 06/29/2020


Defendant
Jody Pickens                           represented by Jonathan N. Wike
in her official and individual                          (See above for address)
     Case 3:21-cv-00562-WQH-BLM   Document 5-2 Filed 06/14/21 PageID.220 Page 170 of 182
capacities                                                                  150
                                                        ATTORNEY TO BE NOTICED
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                                                        Talmage M. Watts
                                                        (See above for address)
                                                        TERMINATED: 06/29/2020

Defendant
Bridget J. Willhite                     represented by Jonathan N. Wike
in her official and individual                         (See above for address)
capacities                                             ATTORNEY TO BE NOTICED

                                                        Talmage M. Watts
                                                        (See above for address)
                                                        TERMINATED: 06/29/2020

Defendant
Jimmie Miller                           represented by Jonathan N. Wike
in her official and individual                         (See above for address)
capacities                                             ATTORNEY TO BE NOTICED

                                                        Talmage M. Watts
                                                        (See above for address)
                                                        TERMINATED: 06/29/2020


Date Filed        #   Docket Text
01/05/2021       70 ORDER of USCA as to 65 Notice of Appeal filed by Brian
                    Manookian.The appeal is therefore DISMISSED as untimely.
                    Richard F. Suhrheinrich, Ronald Lee Gilman and Joan L. Larsen,
                    Circuit Judges. (SSS) (bs) (Entered: 01/05/2021)
12/09/2020       69 ORDER granting 68 Motion to Withdraw as Attorney. Attorney
                    Aaron Gott; Jarod Bona and David C. Codell terminated. Signed
                    by District Judge William L. Campbell, Jr on 12/9/2020.
                    (DOCKET TEXT SUMMARY ONLY-ATTORNEYS MUST
                    OPEN THE PDF AND READ THE ORDER.)(kc) (Entered:
                    12/09/2020)

12/08/2020       68 MOTION to Withdraw as Attorney by Brian Manookian.
                    (Attachments: # 1 Attachment Declaration of Jarod Bona, # 2
                  Attachment [Proposed] Order)(Gott, Aaron) (Entered: 12/08/2020)
   Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.221 Page 171 of 182
                                                                        151
09/04/2020     67 ORDER: Pending before the Court is Plaintiff's Motion for Entry
                  of Judgment on Certain Dismissed Claims Under Fed. R. Civ. P.
                  54(b). (Doc. No. 60 ). Through the motion, Plaintiff seeks entry of
                  judgment under Fed. R. Civ. P. 54 (b) to allow for immediate
                  appeal of the Court's February 28, 2020 Order (Doc. No. 59 ). On
                  August 24, 2020, Plaintiff entered a Notice of Appeal. (Doc. No.
                  65 ). Accordingly, the Motion for Entry of Judgment (Doc. No. 60
                  ) is MOOT. Signed by District Judge William L. Campbell, Jr on
                  9/4/2020. (vh) (Entered: 09/04/2020)
08/26/2020     66 USCA Case Number 20-5979 for 65 Notice of Appeal filed by
                  Brian Manookian. (Sharday S. Swain - Case Manager) (bs)
                  (Entered: 08/26/2020)
08/24/2020     65 NOTICE OF APPEAL as to 59 Order Administratively Closing
                  Case,,,, by Brian Manookian. Filing fee $ 505, receipt number
                  0650-3201452. (Gott, Aaron) (Entered: 08/24/2020)
06/29/2020     64 NOTICE by Dana Dye, Ruth Ellis, Floyd Flippin, Odell Horton,
                  Jr., John Kitch, Joe Looney, Jimmie Miller, Jody Pickens, Bridget
                  J. Willhite Notice of Withdrawal of Counsel (Watts, Talmage)
                  (Entered: 06/29/2020)
06/23/2020          TN State Bar status verified as active for Jonathan N. Wike. (vh)
                    (Entered: 06/23/2020)
06/23/2020          NOTICE TO FILER re DE# 63 : This document has been scanned.
                    Documents generated from a word processor (Word or
                    WordPerfect) should NOT be scanned, but rather printed directly
                    to PDF via a PDF writer. Document must be text searchable. You
                    do not have to refile this document, however, future scanned
                    pleadings of this nature may require refiling. (vh) (Entered:
                    06/23/2020)
06/22/2020     63 NOTICE of Appearance by Jonathan N. Wike on behalf of All
                  Defendants (Wike, Jonathan) (Entered: 06/22/2020)
04/20/2020     62 REPLY MEMORANDUM re 60 MOTION to Enforce Judgment
                  on Certain Dismissed Claims Under Fed. R. Civ. P. 54(b) filed by
                  Brian Manookian. (Gott, Aaron) Modified on 4/21/2020 (vh).
                  (Entered: 04/20/2020)
04/13/2020     61 RESPONSE in Opposition re 60 MOTION to Enforce Judgment
                  on Certain Dismissed Claims Under Fed. R. Civ. P. 54(b) filed by
                    Dana Dye, Ruth Ellis, Floyd Flippin, Odell Horton, Jr., John Kitch,
   Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.222 Page 172 of 182
                                                                         152
                    Joe Looney, Jimmie Miller, Jody Pickens, Bridget J. Willhite.
                    (Attachments: # 1 Exhibit 1 Respondent's Pretrial Brief in state
                    proceedings)(Watts, Talmage) (Entered: 04/13/2020)
03/30/2020     60 MOTION to Enforce Judgment on Certain Dismissed Claims
                  Under Fed. R. Civ. P. 54(b) by Brian Manookian. (Attachments: #
                  1 Attachment Proposed Order)(Gott, Aaron) (Entered: 03/30/2020)
02/28/2020     59 ORDER: For the reasons stated in the accompanying
                  memorandum, Defendants' Motion to Dismiss (Doc. No. 23 ) is
                  GRANTED, in part. Plaintiff's antitrust claim in Court IV is
                  subject to Parker immunity and is DISMISSED WITH
                  PREJUDICE. The claims for damages against Defendants under
                  42 U.S.C. § 1983 in Counts I, II, and III are barred by quasi-
                  judicial immunity and are DISMISSED WITH PREJUDICE. The
                  remaining claims for injunctive and declaratory relief are
                  STAYED. Defendants' Motion to Dismiss, Plaintiff's Motion for
                  Preliminary Injunction (Doc. No. 44 ) is MOOT. All claims having
                  been stayed or dismissed, the Clerk is directed to administratively
                  close the file, subject to reopening upon motion by either party.
                  The parties shall notify the Court within 30 days of the conclusion
                  of the state proceedings. Signed by District Judge William L.
                  Campbell, Jr on 2/28/2020. (DOCKET TEXT SUMMARY
                  ONLY-ATTORNEYS MUST OPEN THE PDF AND READ
                  THE ORDER.)(vh) (Entered: 02/28/2020)
02/28/2020     58 MEMORANDUM OPINION OF THE COURT. Signed by District
                  Judge William L. Campbell, Jr on 2/28/2020. (DOCKET TEXT
                  SUMMARY ONLY-ATTORNEYS MUST OPEN THE PDF
                  AND READ THE ORDER.)(vh) (Entered: 02/28/2020)
11/20/2019     57 ORDER: Pending before the Court is Plaintiff's Motion for
                  Extension of Time to File a Reply (Doc. No. 54 ), in which
                  Plaintiff requests an extension to November 20, 2019, to file his
                  Reply regarding the pending Motion for a preliminary injunction
                  (Doc. No. 44 ). Plaintiff represents that Defendant does not object
                  to the request. The Motion is GRANTED. Signed by District Judge
                  William L. Campbell, Jr on 11/20/2019. (DOCKET TEXT
                  SUMMARY ONLY-ATTORNEYS MUST OPEN THE PDF
                  AND READ THE ORDER.)(jm) (Entered: 11/20/2019)
11/18/2019     56 REPLY to Response to Motion re 44 MOTION for Temporary
                  Restraining Order MOTION for Preliminary Injunction [Corrected
                    Version] filed by Brian Manookian. (Gott, Aaron) (Entered:
   Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.223 Page 173 of 182
                    11/18/2019)                                         153
11/18/2019     55 CERTIFICATE OF SERVICE by Brian Manookian re 53 Reply to
                  Response to Motion [Corrected] (Gott, Aaron) (Entered:
                  11/18/2019)
11/18/2019     54 Consent MOTION for Extension of Time to File Reply, MOTION
                  for Extension of Time to File Response/Reply as to 44 MOTION
                  for Temporary Restraining Order MOTION for Preliminary
                  Injunction by Brian Manookian. (Attachments: # 1 Attachment
                  Stipulated Order)(Gott, Aaron) (Entered: 11/18/2019)
11/18/2019          NOTICE TO FILER re DE# 53 : Pursuant to Local Rule 5.01,
                    Certificates of Service shall identify by name the person served,
                    what was served, the method of service, and date of service.
                    Counsel did not include all Counsel on the certificate of service.
                    Please FILE a conformed Certificate of Service for this document.
                    (jm) (Entered: 11/18/2019)
11/17/2019     53 REPLY to Response to Motion re 44 MOTION for Temporary
                  Restraining Order MOTION for Preliminary Injunction filed by
                  Brian Manookian. (Gott, Aaron) (Entered: 11/17/2019)
11/13/2019     52 ORDER granting 51 Motion for Leave to File Oversized Reply
                  Memorandum. Signed by District Judge William L. Campbell, Jr
                  on 11/13/2019. (jm) (Entered: 11/13/2019)
11/12/2019     51 MOTION for Leave to File Oversized Reply Memorandum re 49
                  Response in Opposition to Motion,, (unopposed application) by
                  Brian Manookian. (Attachments: # 1 Attachment [Proposed]
                  Order)(Gott, Aaron) (Entered: 11/12/2019)
11/08/2019     50 ORDER: I hereby RECUSE myself from all matters in this civil
                  action. Signed by Magistrate Judge Barbara D. Holmes on
                  11/8/2019. (jm) (Entered: 11/12/2019)
11/08/2019     49 RESPONSE in Opposition re 44 MOTION for Temporary
                  Restraining Order MOTION for Preliminary Injunction filed by
                  Dana Dye, Ruth Ellis, Floyd Flippin, Odell Horton, Jr., John Kitch,
                  Joe Looney, Jimmie Miller, Jody Pickens, Bridget J. Willhite.
                  (Attachments: # 1 Exhibit 1 Supp Motion to Dismiss Pet to
                  Reinstate, # 2 Exhibit 2 Petition for Dissolution, # 3 Exhibit 3
                  Response of BPR to Pet for Diss, # 4 Exhibit 4 Order Denying
                  Petition for Dissolution)(Watts, Talmage) (Entered: 11/08/2019)
10/30/2019       48 ORDER: On
    Case 3:21-cv-00562-WQH-BLM      October
                                  Document 5-229,Filed
                                                   2019,  the Court
                                                       06/14/21     issued an
                                                                PageID.224    Order,
                                                                           Page 174 ofdenying
                                                                                       182
                                                                               154
                      Plaintiff's motion for a temporary restraining order and ordering
                      Defendants to respond to the motion for preliminary injunction.
                      (Doc. No. 47 ). In the Order, the Court mistakenly stated that
                      Plaintiff omitted to mention that the Tennessee Supreme Court
                      reinstated the temporary suspension of his law license on October
                      11, 2019. The Plaintiff did include that fact in his memorandum of
                      law. (Doc. No. 44-1 at 9). The Court apologizes for the mistake.
                      The result of the Order remains unchanged. Signed by District
                      Judge William L. Campbell, Jr on 10/30/2019. (jm) (Entered:
                      10/30/2019)
10/30/2019            Magistrate Judge Barbara D. Holmes added. Magistrate Judge
                      Alistair Newbern no longer assigned to case. (jm) (Entered:
                      10/30/2019)
10/29/2019       47 ORDER: The Plaintiff has not shown he will suffer immediate,
                    irreparable harm such that it would be improper to wait until after
                    a preliminary injunction hearing to consider the requested
                    injunctive relief. Defendants shall respond to Plaintiff's motion for
                    a preliminary injunction within the time allowed by the Local
                    Rules. The hearing on Plaintiff's request for a preliminary
                    injunction will be set by separate order. Signed by District Judge
                    William L. Campbell, Jr on 10/29/2019. (DOCKET TEXT
                    SUMMARY ONLY-ATTORNEYS MUST OPEN THE PDF
                    AND READ THE ORDER.)(jm) (Entered: 10/29/2019)
10/29/2019       46 ORDER granting in part 42 Motion for Leave to File Document
                    Under Seal. Plaintiff shall refile Exhibit B not under seal. Signed
                    by District Judge William L. Campbell, Jr on 10/29/2019.
                    (DOCKET TEXT SUMMARY ONLY-ATTORNEYS MUST
                    OPEN THE PDF AND READ THE ORDER.)(jm) (Entered:
                    10/29/2019)

10/28/2019       45 ORDER OF RECUSAL: I recuse myself from all further
                    proceedings in this matter. The Clerk's Office is DIRECTED to
                    assign the case to a different Magistrate Judge through random
                    selection. Signed by Magistrate Judge Alistair Newbern on
                    October 28, 2019. (AN) (Entered: 10/28/2019)
10/26/2019       44 MOTION for Temporary Restraining Order , MOTION for
                    Preliminary Injunction by Brian Manookian. (Attachments: # 1
                    Attachment Plaintiffs Memorandum in Support of Motion for
                    Temporary Restraining Order and/or Preliminary Injunction
   Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.225 Page 175 of 182
                    (Redacted Version), # 2 Attachment Declaration of Aaron155 Gott, # 3
                    Exhibit A (under seal), # 4 Exhibit B (under seal), # 5 Exhibit C
                    (under seal), # 6 Exhibit D (under seal), # 7 Exhibit E (under seal),
                    # 8 Exhibit F (under seal), # 9 Exhibit G (under seal), # 10
                    Attachment Proposed Order)(Gott, Aaron) (Entered: 10/26/2019)
10/26/2019     43 Sealed Document filed by Brian Manookian. (Attachments: # 1
                  Attachment Declaration of Aaron Gott, # 2 Exhibit A-Report and
                  Recommendation, # 3 Exhibit B-Order, # 4 Exhibit C-Second
                  Supplemental Petition, # 5 Exhibit D-Petition to Reinstate, # 6
                  Exhibit E-Excerpts of Transcript Proceedings, # 7 Exhibit F-
                  Report and Recommendation, # 8 Exhibit G-Order)(Gott, Aaron)
                  (Entered: 10/26/2019)
10/25/2019     42 MOTION for Leave to File Document Under Seal by Brian
                  Manookian. (Attachments: # 1 Attachment Proposed Order)(Gott,
                  Aaron) (Entered: 10/26/2019)
10/25/2019     41 REPLY to Response to Motion re 39 MOTION postponement of
                  production of insurance agreements filed by Dana Dye, Ruth Ellis,
                  Floyd Flippin, Odell Horton, Jr., John Kitch, Joe Looney, Jimmie
                  Miller, Jody Pickens, Bridget J. Willhite. (Watts, Talmage)
                  (Entered: 10/25/2019)
10/18/2019     40 RESPONSE in Opposition re 39 MOTION postponement of
                  production of insurance agreements filed by Brian Manookian.
                  (Attachments: # 1 Exhibit Defendants' Initial Disclosures, # 2
                  Exhibit Email From Defendants' Counsel)(Horwitz, Daniel)
                  (Entered: 10/18/2019)
10/16/2019     39 MOTION postponement of production of insurance agreements by
                  Dana Dye, Ruth Ellis, Floyd Flippin, Odell Horton, Jr., John Kitch,
                  Joe Looney, Jimmie Miller, Jody Pickens, Bridget J. Willhite.
                  (Watts, Talmage) (Entered: 10/16/2019)
09/30/2019     38 ORDER granting 36 Motion for Leave to File Sur-reply. Signed by
                  District Judge William L. Campbell, Jr on 9/30/19. (DOCKET
                  TEXT SUMMARY ONLY-ATTORNEYS MUST OPEN THE
                  PDF AND READ THE ORDER.)(dt) (Entered: 09/30/2019)
09/20/2019     37 MEMORANDUM in Support of 36 MOTION for Leave to to File
                  Sur-Reply in Opposition to Motion of All Defendants to Dismiss
                  Complaint filed by Brian Manookian . (Attachments: # 1
                  Attachment Surreply in Opposition to Motion of All Defendants to
                  Dismiss Complaint)(Gott, Aaron) (Entered: 09/20/2019)
   Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.226 Page 176 of 182
                                                                    156
09/20/2019     36 MOTION for Leave to to File Sur-Reply in Opposition to Motion
                  of All Defendants to Dismiss Complaint by Brian Manookian.
                  (Gott, Aaron) (Entered: 09/20/2019)
08/01/2019     35 ORDER granting 34 Motion for David C. Codell to Appear Pro
                  Hac Vice. Signed by Kirk L. Davies on 8/1/19. (DOCKET TEXT
                  SUMMARY ONLY-ATTORNEYS MUST OPEN THE PDF
                  AND READ THE ORDER.)(Davies, Kirk) (Entered: 08/01/2019)
07/26/2019     34 MOTION for attorney David C. Codell to Appear Pro Hac Vice
                  (paid $100 PHV fee; receipt number 0650-2960304) by Brian
                  Manookian. (Attachments: # 1 Attachment David Codell
                  Certificate of Good Standing)(Horwitz, Daniel) (Entered:
                  07/26/2019)
07/17/2019     33 NOTICE by Dana Dye, Ruth Ellis, Floyd Flippin, Odell Horton,
                  Jr., John Kitch, Joe Looney, Jimmie Miller, Jody Pickens, Bridget
                  J. Willhite re 31 Reply to Response to Motion (Watts, Talmage)
                  (Entered: 07/17/2019)
07/16/2019     32 INITIAL CASE MANAGEMENT ORDER. Signed by Magistrate
                  Judge Alistair Newbern on 7/16/2019. (DOCKET TEXT
                  SUMMARY ONLY-ATTORNEYS MUST OPEN THE PDF
                  AND READ THE ORDER.)(jm) (Entered: 07/16/2019)
07/16/2019          Minute Entry for proceedings held before Magistrate Judge
                    Alistair Newbern: Initial Case Management Conference held on
                    7/16/2019. (Hearing lasted :19)(tm) (Entered: 07/16/2019)
07/12/2019     31 REPLY to Response to Motion re 23 MOTION to Dismiss filed by
                  Dana Dye, Ruth Ellis, Floyd Flippin, Odell Horton, Jr., John Kitch,
                  Joe Looney, Jimmie Miller, Jody Pickens, Bridget J. Willhite.
                  (Watts, Talmage) (Entered: 07/12/2019)
07/11/2019     30 PROPOSED CASE MANAGEMENT ORDER (JOINT) filed by
                  Brian Manookian. (Gott, Aaron) (Entered: 07/11/2019)
07/08/2019     29 CERTIFICATE OF SERVICE by Brian Manookian re Annotation
                  - Deficiency Notice, 28 Response in Opposition to Motion to
                  Dismiss (Gott, Aaron) (Entered: 07/08/2019)
07/08/2019          NOTICE TO FILER re DE# 28 : Pursuant to Local Rule 5.01,
                    Certificates of Service shall identify by name the person served,
                    what was served, the method of service, and date of service.
   Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.227 Page 177 of 182
                    Counsel did not include all Counsel on the certificate 157
                                                                           of service.
                    Please FILE a conformed Certificate of Service for this document.
                    (jm) (Entered: 07/08/2019)
07/08/2019          NOTICE TO COUNSEL David C. Codell: WITHIN 21 DAYS,
                    counsel shall file a Motion to Appear Pro Hac Vice, a Certificate of
                    Good Standing signed by the Clerk of a United States District
                    Court or a U. S. appellate court where admitted, and pay a fee of
                    $100.00 (LR 83.01(b)). PHV due by 7/29/2019. (jm) (Entered:
                    07/08/2019)
07/08/2019          CA State Bar status verified as active for David C. Codell. (jm)
                    (Entered: 07/08/2019)
07/05/2019     28 RESPONSE in Opposition re 23 MOTION to Dismiss filed by
                  Brian Manookian. (Gott, Aaron) (Entered: 07/05/2019)
06/25/2019     27 ORDER granting 26 Motion for Extension of Time to File
                  Response as to 23 MOTION to Dismiss. Signed by District Judge
                  William L. Campbell, Jr on 6/25/2019. (jm) (Entered: 06/25/2019)
06/24/2019     26 Consent MOTION for Extension of Time to File Response/Reply
                  as to 23 MOTION to Dismiss by Brian Manookian. (Attachments:
                  # 1 Attachment Stipulated Order)(Gott, Aaron) (Entered:
                  06/24/2019)
06/12/2019     25 ORDER: On June 11, 2019, Defendants filed a motion to dismiss.
                  (Doc. No. 23 .) Pursuant to Local Rule 7.01(a)(3), any response is
                  to be filed within 14 days after service of the motion. M.D. Tenn.
                  R. 7.01(a)(3) (response). A reply memorandum not to exceed five
                  pages may be filed within 7 days after service of the response. Id. §
                  7.01(a)(4) (reply). Any filings made related to the motion to
                  dismiss, including motions for extensions of time or to exceed
                  page limits, shall be decided by Judge Campbell unless referred to
                  the undersigned magistrate judge. Signed by Magistrate Judge
                  Alistair Newbern on 6/12/2019. (jm) (Entered: 06/13/2019)
06/11/2019     24 MEMORANDUM in Support of 23 MOTION to Dismiss filed by
                  Dana Dye, Ruth Ellis, Floyd Flippin, Odell Horton, Jr., John Kitch,
                  Joe Looney, Jimmie Miller, Jody Pickens, Bridget J. Willhite .
                  (Attachments: # 1 Exhibit 1 Order Temp Suspension, # 2 Exhibit 2
                  Pet for Temp Suspension, # 3 Exhibit 3 First Pet Dissolve Temp
                  Suspension, # 4 Exhibit 4 First Report and Recommendation, # 5
                  Exhibit 5 First Order Denying Pet to Dissolve Temp Sus, # 6
                    Exhibit 6 Second Pet Dissolve Temp Sus, # 7 Exhibit 7 Second R
   Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.228 Page 178 of 182
                                                                           158 Temp
                    and R, # 8 Exhibit 8 Second Order Denying Pet to Dissolve
                    Sus, # 9 Exhibit 9 Third Pet Dissolve Temp Sus, # 10 Exhibit 10
                    Third R and R, # 11 Exhibit 11 Order Dissolving Temp Sus, # 12
                    Exhibit 12 Bailey Order, # 13 Exhibit 13 Daniel Order, # 14
                    Exhibit 14 Lockett Order, # 15 Exhibit 15 Kelley Order, # 16
                    Exhibit 16 Hall Order, # 17 Exhibit 17 Board Policy 12.3, # 18
                    Exhibit 18 Petition for Discipline, # 19 Exhibit 19 First Supp Pet
                    for Discipline, # 20 Exhibit 20 Second Supp Pet for Discipline)
                    (Watts, Talmage) (Entered: 06/11/2019)
06/11/2019     23 MOTION to Dismiss by Dana Dye, Ruth Ellis, Floyd Flippin,
                  Odell Horton, Jr., John Kitch, Joe Looney, Jimmie Miller, Jody
                  Pickens, Bridget J. Willhite. (Watts, Talmage) (Entered:
                  06/11/2019)
05/23/2019     22 SUMMONS returned executed by Brian Manookian. Ruth Ellis
                  served on 5/1/2019. (Horwitz, Daniel) (Entered: 05/23/2019)
05/23/2019     21 SUMMONS returned executed by Brian Manookian. Odell
                  Horton, Jr. served on 5/1/2019. (Horwitz, Daniel) (Entered:
                  05/23/2019)
05/23/2019     20 SUMMONS returned executed by Brian Manookian. John Kitch
                  served on 5/1/2019. (Horwitz, Daniel) (Entered: 05/23/2019)
05/23/2019     19 SUMMONS returned executed by Brian Manookian. Joe Looney
                  served on 5/1/2019. (Horwitz, Daniel) (Entered: 05/23/2019)
05/23/2019     18 SUMMONS returned executed by Brian Manookian. Jody Pickens
                  served on 5/1/2019. (Horwitz, Daniel) (Entered: 05/23/2019)
05/23/2019     17 SUMMONS returned executed by Brian Manookian. Jimmie
                  Miller served on 5/1/2019. (Horwitz, Daniel) (Entered:
                  05/23/2019)
05/23/2019     16 SUMMONS returned executed by Brian Manookian. Floyd Flippin
                  served on 5/1/2019. (Horwitz, Daniel) (Entered: 05/23/2019)
05/23/2019     15 SUMMONS returned executed by Brian Manookian. Dana Dye
                  served on 5/1/2019. (Horwitz, Daniel) (Entered: 05/23/2019)
05/23/2019     14 SUMMONS returned executed by Brian Manookian. Bridget J.
                  Willhite served on 5/1/2019. (Horwitz, Daniel) (Entered:
                  05/23/2019)
05/23/2019            TN State Bar
    Case 3:21-cv-00562-WQH-BLM      status verified
                                 Document  5-2 Filedas active for
                                                     06/14/21     TalmagePage
                                                              PageID.229  M. Watts.   (jm)
                                                                              179 of 182
                      (Entered: 05/23/2019)                                  159
05/22/2019       13 ORDER: Having satisfied the requirements of Local Rule
                    83.01(b), the motions to appear pro hac vice (Doc. Nos. 10 and 11
                    ) of Jarod Michael Bona and Aaron Gott are GRANTED. Signed
                    by Vicki R. Kinkade, Chief Deputy Clerk on 5/22/2019. (jm)
                    (Entered: 05/23/2019)
05/21/2019       12 NOTICE of Appearance by Talmage M. Watts on behalf of All
                    Defendants (Watts, Talmage) (Entered: 05/21/2019)
05/20/2019            CA State Bar status verified as active for Jarod Bona and Aaron
                      Gott. (jm) (Entered: 05/20/2019)
05/17/2019       11 MOTION for attorney Aaron Gott to Appear Pro Hac Vice (paid
                    $100 PHV fee; receipt number 0650-2915312) by Brian
                    Manookian. (Attachments: # 1 Attachment Gott Certificate of
                    Good Standing)(Horwitz, Daniel) (Entered: 05/17/2019)
05/17/2019       10 MOTION for attorney Jarod Michael Bona to Appear Pro Hac
                    Vice (paid $100 PHV fee; receipt number 0650-2915300) by Brian
                    Manookian. (Attachments: # 1 Attachment Bona Certificate of
                    Good Standing)(Horwitz, Daniel) (Entered: 05/17/2019)
05/09/2019        9 ORDER: By Order entered May 8, 2019, this case has been
                    reassigned to the undersigned for management of the case (Doc
                    No. 8 .) An initial case management conference is set for Tuesday,
                    July 16, 2019, at 1:00 p.m. in Courtroom 774, U.S. Courthouse
                    801 Broadway, Nashville, Tennessee. The parties shall submit a
                    proposed case management order three business days prior to the
                    conference. Signed by Magistrate Judge Alistair Newbern on
                    5/9/2019. (jm) (Entered: 05/09/2019)
05/08/2019        8 ORDER: I hereby recuse myself in the above-styled action. This
                    case shall be returned to the Clerk for reassignment of another
                    magistrate judge. The Initial Case Management Conference set for
                    July 9, 2019, at 10:00 a.m. is hereby CANCELLED, to be reset by
                    the Magistrate Judge to whom the case is reassigned. Case
                    reassigned to Magistrate Judge Alistair Newbern for all further
                    proceedings. Signed by Magistrate Judge Jeffery S. Frensley on
                    5/8/2019. (jm) (Entered: 05/08/2019)
05/07/2019        7 ORDER: This case is REFERRED to the Magistrate Judge for
                    customized case management in accordance with Local Rule 16.01
                    and 28 U.S.C. § 636(b)(1)(A). Lead counsel for the parties shall
   Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.230 Page 180 of 182
                    attend the initial case management conference. Signed160
                                                                          by District
                    Judge William L. Campbell, Jr on 5/7/2019. (DOCKET TEXT
                    SUMMARY ONLY-ATTORNEYS MUST OPEN THE PDF
                    AND READ THE ORDER.)(jm) (Entered: 05/07/2019)
05/07/2019      6 (***DISREGARD PER 8 ORDER***) NOTICE of Initial Case
                  Management Conference set for 7/9/2019 at 10:00 AM in
                  Courtroom 783 before Magistrate Judge Jeffery S. Frensley. (jm)
                  Modified on 5/8/2019 (jm). (Entered: 05/07/2019)
05/06/2019      5 ORDER: I hereby recuse myself in this case. The file shall be
                  returned to the Clerk for reassignment to another judge. Case
                  reassigned to District Judge William L. Campbell, Jr for all further
                  proceedings. Signed by District Judge Aleta A. Trauger on
                  5/6/2019. (jm) (Entered: 05/07/2019)
05/01/2019      4 (***DISREGARD PER 5 ORDER***) NOTICE of Initial Case
                  Management Conference set for 7/1/2019 at 01:30 PM in
                  Chambers 825 before District Judge Aleta A. Trauger. (jm)
                  Modified on 5/7/2019 (jm). (Entered: 05/01/2019)
05/01/2019      3 Summons issued as to Dana Dye, Ruth Ellis, Floyd Flippin, Odell
                  Horton, Jr., John Kitch, Joe Looney, Jimmie Miller, Jody Pickens,
                  and Bridget J. Willhite. (Service copies will be picked up by
                  counsel.) (jm) (Entered: 05/01/2019)
05/01/2019          NOTICE TO COUNSEL Jarod Bona and Aaron Gott: WITHIN 21
                    DAYS, counsel shall file a Motion to Appear Pro Hac Vice, a
                    Certificate of Good Standing signed by the Clerk of a United
                    States District Court or a U. S. appellate court where admitted, and
                    pay a fee of $100.00 (LR 83.01(b)). PHV due by 5/22/2019. (jm)
                    (Entered: 05/01/2019)
05/01/2019          TN State Bar status verified as active for Daniel A. Horwitz; CA
                    State Bar status verified as active for Jarod Bona and Aaron Gott.
                    (jm) (Entered: 05/01/2019)
05/01/2019      2 NOTICE/INFORMATION regarding Consent of the Parties to the
                  Magistrate Judge. (jm) (Entered: 05/01/2019)
04/29/2019      1 COMPLAINT against All Defendants (Filing fee $400, Receipt
                  number 0650- 2902667), filed by Brian Manookian. (Attachments:
                  # 1 Attachment Civil Cover Sheet) (jm) (Entered: 04/30/2019)
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         I                   PACER Service Center                             161
                                                                              I
         I                      Transaction Receipt                           I     Ex. 17

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            Case 3:21-cv-00562-WQH-BLM Document 5-2 Filed 06/14/21 PageID.232 Page 182 of 182




                    1                        CERTIFICATION OF ELECTRONIC SERVICE
                    2                                 Manookian v. Bona Law, et al.
                                           USDC, Southern District Case No. 21CV0562 WQH BLM
                    3 STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
                    4       At the time of service, I was over 18 years of age and not a party to the action.
                      My  business  address is 550 West C Street, Suite 1700, San Diego, CA 92101. I am
                    5 employed in the  office of a member of the bar of this Court at whose direction the
                    6 service was  made.
                            On June 14, 2021, I served the following document(s): REQUEST FOR
                    7 JUDICIAL     NOTICE IN SUPPORT OF DEFENDANTS’ MOTION TO
                    8 DISMISS    - FED  RULES CIV. P. R. 12(b)(6)
                            I served the documents on the following persons at the following addresses
                    9 (including fax numbers and e-mail addresses, if applicable):
                   10
                       Frank J. Johnson, Esq.                     John Spragens, Esq.
                   11 FrankJ@johnsonfistel.com                    john@spragenslaw.com
                       Kristen O’Connor, Esq.                     SPRAGENS LAW PLC
                   12
                       KristenO@johnsonfistel.com                 311 22nd Ave. No.
                   13 JOHNSON FISTEL, LLP                         Nashville, TN 37203
                   14 655 West Broadway, Suite 1400               Telephone: (615) 983-8900
                       San Diego, CA 92101                        Facsimile: (615) 682-8533
                   15 Telephone: (619) 230-0063
                                                                  Lead Counsel for Plaintiff
                   16 Facsimile: (619) 255-1856
                   17 Local Counsel for Plaintiff                 (Pro Hac Vice forthcoming)

                   18
                   19
                                 The documents were served by the following means:
                   20
                                (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically
                   21            filed the documents with the Clerk of the Court using the CM/ECF system,
                                 which sent notification of that filing to the persons listed above.
                   22
                           I declare under penalty of perjury under the laws of the United States of
                   23 America and the State of California that the foregoing is true and correct.
                   24      Executed on June 14, 2021, at San Diego, California.
                   25
                   26
                   27
                                                                    Jennifer Cannone
LEWIS              28   4824-7373-1310.1
BRISBOIS
BISGAARD                                                           4                   Case No. 21CV0562 WQH BLM
& SMITH LLP                                                 PROOF OF SERVICE
ATTORNEYS AT LAW
